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 1     DAVID B. GOLUBCHIK (State Bar No. 185520)
       TODD M. ARNOLD (State Bar No. 221868)
 2     LEVENE, NEALE, BENDER, YOO & GOLUBCHIK L.L.P.
 3     2818 La Cienega Avenue
       Los Angeles, California 90034
 4     Telephone: (310) 229-1234
       Facsimile: (310) 229-1244
 5     Email: dbg@lnbyg.com; tma@lnbyg.com
 6     Attorneys for Debtor and Debtor in Possession
 7
                                 UNITED STATES BANKRUPTCY COURT
 8
                                  CENTRAL DISTRICT OF CALIFORNIA
 9
                                          LOS ANGELES DIVISION
10

11     In re:                                      Case No.: 2:21-bk-18205-DS
12     CRESTLLOYD, LLC,                            Chapter 11 Case
13
                Debtor and Debtor in Possession.   DEBTOR’S MOTION FOR AN ORDER:
14                                                 (1)   APPROVING THE SALE OF THE
                                                   DEBTOR’S REAL PROPERTY FREE AND
15                                                 CLEAR OF ALL LIENS, CLAIMS,
                                                   ENCUMBRANCES, AND INTERESTS, WITH
16                                                 THE EXCEPTION OF ENUMERATED
                                                   EXCLUSIONS;
17
                                                   (2)   FINDING THAT THE BUYER IS A
18                                                 GOOD FAITH PURCHASER;
                                                   (3)   AUTHORIZING AND APPROVING THE
19                                                 PAYMENT OF CERTAIN CLAIMS FROM SALE
                                                   PROCEEDS;
20                                                 (4)   WAIVING THE FOURTEEN-DAY STAY
                                                   PERIOD SET FORTH IN BANKRUPTCY RULE
21
                                                   6004(h); AND
22                                                 (5)   PROVIDING RELATED RELIEF;
                                                   MEMORANDUM OF POINTS AND
23                                                 AUTHORITIES AND DECLARATIONS IN
                                                   SUPPORT THEREOF
24
                                                   Hearing:
25
                                                    Date:   March 18, 2022
26                                                  Time: 11:00 a.m.
                                                    Place: Courtroom 1639
27                                                          255 E. Temple St.
                                                            Los Angeles, CA 90012
28                                                          VIA ZOOMGOV ONLY

                                                        1
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 1                  Crestlloyd, LLC, the Chapter 11 debtor and debtor in possession herein (the “Debtor”),
 2     hereby moves, pursuant to this motion (the “Sale Motion”), for the entry of an order (the “Sale
 3     Order”):
 4                            (1)      pursuant to 11 U.S.C. §§ 363(b) and (f), approving the sale of the Debtor’s
 5     real property located at 944 Airole Way, Los Angeles, CA 90077 (APN 4369-026-021) (the
 6     “Property”) to (a) Richard Saghian or his approved assignee (the “Buyer”), who was the winning
 7     Bidder1 at the Auction conducted pursuant to the Bid Procedures approved by the Court, free and
 8     clear of any and all liens, claims, encumbrances, and interests, with the exception of Items 1-6, 8-12,
 9     and 17 (the “Excepted Items”) set forth in the preliminary title report for the Property (the “Title
10     Report”), a true and correct copy of which is attached hereto as Exhibit “1,” provided that the claims
11     of any taxing authorities or governmental units (as defined in 11 U.S.C. § 101(27) apportioned to the
12     Debtor prior to the close of the sale that are secured by liens included in the non-Excepted Items shall
13     be paid in full upon the close of escrow, for a purchase price of $126 million (the “Purchase Price”),2
14     pursuant to the California Residential Purchase Agreement and Joint Escrow Instructions and related
15     sale documents (the “Purchase Agreement”), a true and correct copy of which is attached hereto as
16     Exhibit “2,”3 or (b) any bidder that makes a higher and better offer for the Property that is approved
17     by the Court (an “Overbidder”),4 with any such sale also being free and clear of any and all liens,
18     claims, encumbrances, and interests other than the Excepted Items set forth in the Title Report for the
19     Property, provided that the claims of any taxing authorities or governmental units (as defined in 11
20     U.S.C. § 101(27) apportioned to the Debtor prior to the close of the sale that are secured by liens
21
      1
        Any capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Debtor’s Motion To:
22    (1) Approve Auction And Bid Procedures Regarding The Sale Of Real Property And (2) Set Scheduling For A Motion To
      Approve The Sale Of Real Property (the “Bid Procedures Motion”) [Dkt. 88], which was granted by an order of the Court
23    [Dkt. 105] with the scheduling regarding the Auction, Sale Motion and closing of the sale of the Property amended by a
      further order of the Court [Dkt. 115] (the “Bid Procedures Orders”).
24    2
        As discussed below, prior to the payment of taxes, commissions, and escrow expenses paid out of escrow, the Debtor will
      receive a total of $137.97 million in consideration comprised of the Purchase Price of $126 million, plus a $11.970 million
25    Rebate from the Auctioneer (both as defined and discussed herein).
      3
        The attached Purchase Agreement includes the form of the Supplemental Addendum approved by the Court signed by the
26    Debtor but not the Buyer.
      4
        The Bid Procedures do not contemplate an overbid process at the Hearing. However, the Debtor has been contacted by
27    numerous parties and advised of interest in purchasing the Property, with at least one interested party asserting that the
      party was not able to register for the Auction due to technical issues and, therefore, unable to bid. As of the filing of this
28    Notice and accompanying Motion, the Debtor has not received any other offers which, if received, will not be accepted by
      the Debtor in advance but rather filed with the Court to allow review by parties and consideration by the Court.

                                                                       2
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 1     included in the non-Excepted Items shall be paid in full upon the close of escrow;
 2                        (2)     pursuant to 11 U.S.C. § 363(m) finding that the Buyer or any Overbidder
 3    is a “good faith” purchaser entitled to the protections afforded under 11 U.S.C. § 363(m);
 4                        (3)     authorizing the Debtor to pay from the proceeds of the sale of the Property
 5    out of escrow on closing (a) the outstanding balance of the debtor in possession loan (the “DIP
 6    Loan”) provided by Hankey Capital, LLC (“Hankey”), which is secured by a first priority lien and
 7    which DIP Loan and first priority lien were approved by a prior order of the Court, (b) Hankey’s
 8    senior receivership certificate loan, which was an advance of funds on a senior secured basis to the
 9    pre-petition receivership estate, as evidenced by Hankey’s Proof of Claim No 19 in the asserted
10    amount of $848,511, (c) Hankey’s first priority pre-petition loan in the principal amount of $82.5
11    million, subject to accounting to be received from Hankey, as described in Hankey’s Proof of Claim
12    No. 20, (d) the claims of any taxing authorities or governmental units (as defined in 11 U.S.C. §
13    101(27) apportioned to the Debtor prior to the close of the sale that are secured by liens included in
14    the non-Excepted Items, (e) a commission equal to two percent (2%) of the Purchase Price to be paid
15    to and split equally between (i) The Beverly Hills Estates (“TBHE”) and Compass (“Compass” and,
16    with TBHE the “Debtor’s Brokers”), whose employment and one percent (1%) commission were
17    previously approved by the Court, and (ii) TBHE and Hilton & Hyland (the “Buyer’s Brokers”), with
18    any split between the Debtor’s Brokers and the Buyer’s Brokers to be determined by them, and (f)
19    any other customary escrow closing fees and charges allocated to the Debtor;
20                        (4)     waiving the 14-day stay period set forth in Rule 6004(h) of the Federal
21    Rules of Bankruptcy Procedure (“FRBP”) to enable the sale of the Property to close as quickly as
22    possible; and
23                        (5)     providing such other relief as is appropriate under the circumstances.
24                 The Court has not scheduled an overbid or auction process for the hearing on the Sale
25    Motion since an online auction was recently completed through Concierge Auctions. As of the date
26    of filing this Sale Motion and the accompanying Notice, the Debtor does not have any other bids or
27    offers to present to the Court. As a result, the Debtor is proceeding with seeking approval of the sale
28    to Buyer. In an overabundance of caution, to the extent that the Debtor receives any credible bids

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 1    prior to the hearing on the Sale Motion, the Debtor will not accept such bids based on the current
 2    posture of the case, but will submit the bids to the Court in order to disclose the existence thereof and
 3    allow the Court to consider such interest. As a result, although the Notice and Sale Motion refer to
 4    “Overbidders,” there is no scheduled auction or overbid process in place or ordered by the Court in
 5    connection with the hearing on the Sale Motion.
 6                WHEREFORE, the Debtor respectfully requests that this Court enter a Sale Order
 7    granting the Sale Motion and providing the relief requested in paragraphs (1) through (5) of the above
 8    Sale Motion and grant such further and additional relief as the Court deems just and proper.
 9
       Dated: March 8, 2022                              CRESTLLOYD, LLC
10

11                                                       /s/ David B. Golubchik
                                                         DAVID B. GOLUBCHIK
12                                                       TODD M. ARNOLD
                                                         LEVENE, NEALE, BENDER, YOO
13                                                           & GOLUBCHIK L.L.P.
                                                         Attorneys for Debtor and Debtor in Possession
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 1                            MEMORANDUM OF POINTS AND AUTHORITIES5
 2                                                             I.
 3                                             STATEMENT OF FACTS
 4     A.            GENERAL BACKGROUND.

 5                   On October 26, 2021 (the “Petition Date”), the Debtor commenced its bankruptcy case by

 6        filing a voluntary petition under Chapter 11 of the Bankruptcy Code.6 The Debtor is operating its

 7        estate and managing its financial affairs as a debtor in possession pursuant to Sections 1107 and

 8        1108.
       B.            THE DEBTOR’S REAL PROPERTY.
 9
                     The Debtor’s primary asset is the residential Property that it developed, which is located
10
          at 944 Airole Way, Los Angeles, CA 90077.7 The Property is one of the finest pieces of real
11
          property in America. The Property is situated on an approximately four-acre Bel Air promontory,
12
          featuring the best views of Los Angeles. A moat that encompasses the Property gives the impression
13
          that it’s floating on water. The approximately 105,000-square-foot glass and marble compound
14
          holds 21 bedrooms, each with sweeping views of Los Angeles and the ocean, and 42 full and 7 half
15
          bathrooms, as well as every amenity in the world. It features a 30-car garage, five swimming pools,
16
          a two-story waterfall, and numerous other water features, as well as two restaurant-grade kitchens,
17
          an indoor/outdoor entertainment center with its own VIP room, a movie theater, charitable
18
          organization rooms, a four-lane bowling alley, a library with floor-to-ceiling windows, a full beauty
19
          salon, a spa with a steam room and jacuzzi, a cigar lounge, and a gym. Three smaller villas also sit
20
          on the property, spread across the four acres. The 5,000-square-foot master suite is an oasis within
21
          the mansion. Designed with its own separate office and walk-in closet, the suite also has its own
22
          pool and kitchen. To guarantee privacy, it’s isolated from the rest of the house. The mansion
23
          includes five elevators and LED ceilings that display images of moving clouds. The Property
24

25

26
      5
        Unless otherwise stated, capitalized terms in this Memorandum have the same meanings ascribed to them in the
27    preceding Sale Motion Motion.
      6
        Unless otherwise stated, all Section references herein are to title 11 of the United States Code, §§ 101, et seq.
28    7
        Additional information about the Property can be obtained at https://www.conciergeauctions.com/auctions/944-airole-
      way-los-angeles-california.
                                                               5
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 1     features state-of-the-art technology, with a full security center. The design encompasses secondary
 2     corridors for staff to use.
 3     C.          ALLEGED CLAIMS PURPORTEDLY SECURED BY THE PROPERTY AND
                   OTHER CLAIMS.
 4
                   The Debtor’s Schedules of Assets and Liabilities (the “Schedules”) listed $176.6 million
 5
       in claims allegedly secured by the Property, $0 in priority unsecured claims, and $3.4 million in
 6
       general unsecured claims. The Court set a claims bar date of January 14, 2022 (the “Bar Date”)
 7
       [Dkt. 60] and 26 proofs of claim (the “POCs”) were filed asserting $183.6 million in claims
 8
       allegedly secured by the Property, $2,666 in priority unsecured claims, and $59.2 million in general
 9
       unsecured claims. There is substantial overlap between the claims included in the Schedules and
10
       asserted by the POCs. The main reason for the large difference between general unsecured claims in
11
       the Schedules and asserted by the POCs is a $44.4 million claim asserted by the beneficial owner of
12
       the Debtor (Nile Niami) that was not listed in the Schedules.
13
                   In addition, after the Petition Date, the Debtor filed a motion (the “DIP Motion”) [Dkt.
14
       66] seeking Court approval to obtain a $12 million DIP Loan from Hankey secured by a first
15
       position lien on the Property and, with limited exceptions, all of the Debtor’s personal property,
16
       pursuant to the loan documents for the DIP Loan. One of the purposes of the DIP Loan was to allow
17
       the Debtor to make certain repairs to the Property and to market and sell the Property on an
18
       expedited basis with a sale to close on March 21, 2022 (the “Closing Date”). On January 27, 2022,
19
       the Court entered its final order granting the DIP Motion. [Dkt. 122] Thereafter, the Debtor drew
20
       down the entire DIP Loan, less fees and expenses payable to Hankey as the lender. After identifying
21
       the highest of a creditors scheduled and POC claim amounts, as of the Petition Date, plus the DIP
22
       Loan, the Debtor had approximately $195.771 million in claims allegedly secured by liens on
23
       Debtor’s Property.
24
                   Based on the foregoing, information received from certain alleged secured creditors, and
25
       other information available to the Debtor, including calculations of post-Petition Date interest for
26
       certain senior alleged secured claims, the Debtor is informed and believes that, as of the projected
27
       Closing Date, the Debtor’s alleged secured creditors will be asserting claims totaling approximately
28

                                                         6
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 1        $203.69 million (the “Secured Claims”), which amount may be higher to the extent secured creditors
 2        have attorneys’ fees and costs allowed as part of their claims. However, as set forth below, the
 3        Debtor believes that there are numerous bases to object to and eliminate or reduce portions of the
 4        Secured Claims.         The creditors asserting secured claims against the Debtor (the “Secured
 5        Creditors”), together with the estimated amount of the alleged Secured Claims as of the Closing Date
 6        (not including any additional allowed attorneys’ fees and costs), the priority thereof according to the
 7        Title Report, and certain bases to object to some of the Secured Claims are summarized below (the
 8        “Secured Claims Summary Chart”):8
 9
                          Secured Claim Per                                                            Notes
10                       Higher of Schedules of
                                 POC

11
       Creditor          POC        Secured        Estimated        Total Claim        Estimated
                                                   Additional                            Claim
12                                                 Interest to                          Based on
                                                  Closing Date                          Potential
                                                                                        Objection
13     Hankey Capital,           $12,000,000.00      $59,500.00     $12,059,500.00    $12,059,500.00   DIP Loan
       LLC
14     Los Angeles        5       $3,190,280.76   Not Calculated     $3,190,280.76     $2,488,815.00   Property Taxes
       County Tax
       Collector
                                                                                                       The County its POC on 12/7/21.
15                                                                                                     The Debtor paid $701,465.73 on
                                                                                                       1/6/22 as the first installment of the
16                                                                                                     2021-2022 tax bill. Thus, the claim
                                                                                                       is $2,488,815.
17     County of Los                      $0.00   Not Calculated             $0.00             $0.00   Special Assessment
       Angeles
       County of Los                      $0.00   Not Calculated             $0.00             $0.00   Special Assessment
18     Angeles
       County of Los                      $0.00   Not Calculated             $0.00             $0.00   Special Assessment
19     Angeles
       Hankey Capital,   20     $122,638,623.41   $6,839,418.99    $129,478,042.40   $104,541,764.62   Per the POC and the attachments
       LLC
20                                                                                                     thereto:
                                                                                                       (1) Hankey Made these loans to the
                                                                                                       Debtor:
21
                                                                                                       o Oct 25th, 2018: $82,500,000
                                                                                                       o Dec 12th, 2019: $91,000,000
22                                                                                                     (incremental 8.5mm on original)
                                                                                                       o Aug 20th, 2020: $106,000,000
23                                                                                                     (incremental $15mm)
24                                                                                                     (2) Hankey recorded these Deeds of
                                                                                                       Trust (each a "DOT")
25                                                                                                     o Oct 25th, 2018 DOT: secured
                                                                                                       $82.5mm (Recording No:
26                                                                                                     20181122917)

27
      8
       This is a summary only and is not an admission as to the validity of any claim or lien, the priority of any claim or lien, the
28    amount of accrued post-petition interest (or the entitlement thereto), or the waiver of any bases to object to any alleged
      Secured Claim.
                                                                         7
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 1                 Secured Claim Per                                                Notes
                  Higher of Schedules of
                          POC
 2
       Creditor   POC        Secured        Estimated     Total Claim   Estimated
 3                                          Additional                    Claim
                                            Interest to                 Based on
                                           Closing Date                 Potential
 4                                                                      Objection
                                                                                    o Aug 31st, 2020 amendment to Oct
 5                                                                                  25th, 2018 DOT: secured amended
                                                                                    $106mm note (Recording No:
 6                                                                                  20201030024)

 7                                                                                  (3) The $106 million loan had a
                                                                                    maturity date of Oct. 31, 2020 and
 8                                                                                  the Debtor did not pay the loan by
                                                                                    the maturity date so Hankey called a
 9                                                                                  default.

10                                                                                  The Debtor believes that there may
                                                                                    be bases to object to the secured
11                                                                                  status of the subsequent Dec 12th,
                                                                                    2019 loan and/or the subsequent
12                                                                                  Aug 20th, 2020 loan (and any
                                                                                    related interest and attorneys' fees)
13                                                                                  on the grounds that there was no
                                                                                    stand-alone security agreement and
14                                                                                  recorded DOT for this increased
                                                                                    obligation.
15                                                                                  The Debtor believes that there may
                                                                                    be a basis to object to the priority of
16                                                                                  Hankey’s DOT to secure anything
                                                                                    other than the Oct 25th, 2018 loan
17                                                                                  for $82,500,00 (and any related
                                                                                    attorneys’ fees and interest),
18                                                                                  because, (1) prior to the Oct 25th,
                                                                                    2018 loan and related DOT, Inferno
19                                                                                  had a senior DOT and (2) pursuant
                                                                                    to the Subordination Agreement
20                                                                                  entered into by the Debtor, Hankey,
                                                                                    and Inferno, Inferno only agreed to
21                                                                                  subordinate its DOT to Hankey’s
                                                                                    Oct 25th, 2018 DOT to secure the
22                                                                                  obligations under the Oct 25th,
                                                                                    2018 loan for $82,500,00 (and any
23                                                                                  related attorneys’ fees and interest),
                                                                                    not for any further loans.
24
                                                                                    The Debtor believes that there may
25                                                                                  be a basis to object to the secured
                                                                                    status of the subsequent Dec 12th,
                                                                                    2019 loan as a constructively
26
                                                                                    fraudulent transfer, because it is
                                                                                    allegedly secured by the Aug 31st,
27                                                                                  2020 amendment to Oct 25th, 2018
                                                                                    DOT and the Debtor did not get any
28                                                                                  additional consideration for

                                                              8
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 1                        Secured Claim Per                                                      Notes
                         Higher of Schedules of
                                 POC
 2
       Creditor          POC        Secured        Estimated     Total Claim     Estimated
 3                                                 Additional                      Claim
                                                   Interest to                   Based on
                                                  Closing Date                   Potential
 4                                                                               Objection
                                                                                                 providing security on the Dec 12th,
 5                                                                                               2019 loan over 8 months after it
                                                                                                 was made.
 6

 7     Hankey Capital,   18       $5,000,000.00            NA    $5,000,000.00   $1,300,000.00   Per 8/20/20 Profit Participation
       LLC
                                                                                                 Agreement (“PPA”) attached to
 8                                                                                               POC: “If, at any time, during the
                                                                                                 term of the Loan or subsequent to
 9                                                                                               Borrower’s repayment of the Loan,
                                                                                                 the Property is sold by the
10                                                                                               Borrower, or by any affiliate of the
                                                                                                 Borrower, for a purchase price in
11                                                                                               excess of One Hundred Million and
                                                                                                 No/100 Dollars ($100,000,000),
12                                                                                               Lender shall be entitled to receive,
                                                                                                 from the sale proceeds, a Lender
13                                                                                               Profit Participation Payment in the
                                                                                                 amount equal to the lesser of (a)
14                                                                                               five percent (5.0%) of the gross
                                                                                                 sales price for the Property which
                                                                                                 exceeds $100,000,000, or (b) Five
15
                                                                                                 Million and Noll 00 Dollars
                                                                                                 ($5,000,000.00).
16
                                                                                                 The Debtor believes that there may
17                                                                                               be bases to object to the secured
                                                                                                 status of this POC, because (a) the
18                                                                                               Loan matured on October 31, 2020
                                                                                                 and the Debtor did not sell the
19                                                                                               property prior to the expiration of
                                                                                                 the term of the Loan nor did the
20                                                                                               Debtor sell the Property after the
                                                                                                 repayment of the Loan; therefore,
21                                                                                               the conditions to payment under the
                                                                                                 8/20/20 PPA were not satisfied, (b)
22                                                                                               the claim can be re-characterized
                                                                                                 from debt to equity since it involves
23                                                                                               and is based on sharing in profit and
                                                                                                 the obligation could remain even
24                                                                                               after repayment of the Hankey loans
                                                                                                 and (one would imagine) re-
25                                                                                               conveyance of the Hankey DOT’s
                                                                                                 to the Debtor; see In re Fitness
26                                                                                               Holdings Int'l, Inc., 714 F.3d 1141,
                                                                                                 1148 (9th Cir. 2013) ("In
                                                                                                 concluding that the Bankruptcy
27                                                                                               Code gives courts the authority to
                                                                                                 recharacterize claims in bankruptcy
28                                                                                               proceedings, we join our sister

                                                                     9
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 1                 Secured Claim Per                                                Notes
                  Higher of Schedules of
                          POC
 2
       Creditor   POC        Secured        Estimated     Total Claim   Estimated
 3                                          Additional                    Claim
                                            Interest to                 Based on
                                           Closing Date                 Potential
 4                                                                      Objection
                                                                                    circuits, which have reached the
 5                                                                                  same conclusion."); In re Daewoo
                                                                                    Motor Am., Inc., 471 B.R. 721, 729
 6                                                                                  (C.D. Cal. 2012), aff'd, 554 F.
                                                                                    App'x 638 (9th Cir. 2014) ("Every
 7                                                                                  Circuit Court of Appeal that has
                                                                                    addressed this issue, however, has
 8                                                                                  held that a bankruptcy court may
                                                                                    properly order the characterization
 9                                                                                  of debt to equity under the broad
                                                                                    authority afforded by 11 U.S.C. §
10                                                                                  105(a). ... [T]he question of whether
                                                                                    an advance to a corporation is debt
11                                                                                  or equity is “primarily directed at
                                                                                    ascertaining the intent of the parties.
12                                                                                  ... "In defining the
                                                                                    recharacterization inquiry, courts
13                                                                                  have adopted a variety of multi-
                                                                                    factor tests borrowed from non-
14                                                                                  bankruptcy caselaw. While these
                                                                                    tests undoubtedly include pertinent
                                                                                    factors, they devolve to an
15                                                                                  overarching inquiry: the
                                                                                    characterization as debt or equity is
16                                                                                  a court's attempt to discern whether
                                                                                    the parties called an instrument one
17                                                                                  thing when in fact they intended it
                                                                                    as something else. That intent may
18                                                                                  be inferred from what the parties
                                                                                    say in their contracts, from what
19                                                                                  they do through their actions, and
                                                                                    from the economic reality of the
20                                                                                  surrounding circumstances.
                                                                                    Answers lie in facts that confer
21                                                                                  context case-by-case. ...
                                                                                    [B]bankruptcy courts look to the
22                                                                                  following eleven factors to
                                                                                    determine whether
23                                                                                  recharacterization is warranted: (1)
                                                                                    the names given to the instruments,
24                                                                                  if any, evidencing the indebtedness;
                                                                                    (2) the presence or absence of a
25                                                                                  fixed maturity date and schedule of
                                                                                    payments; (3) the presence or
                                                                                    absence of a fixed rate of interest
26
                                                                                    and interest payments; (4) the
                                                                                    source of repayments; (5) the
27                                                                                  adequacy or inadequacy of
                                                                                    capitalization; (6) the identity of
28                                                                                  interest between the creditor and the

                                                             10
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 1                        Secured Claim Per                                                      Notes
                         Higher of Schedules of
                                 POC
 2
       Creditor          POC        Secured        Estimated      Total Claim     Estimated
 3                                                 Additional                       Claim
                                                   Interest to                    Based on
                                                  Closing Date                    Potential
 4                                                                                Objection
                                                                                                 stockholder; (7) the security, if any,
 5                                                                                               for the advances; (8) the
                                                                                                 corporation's ability to obtain
 6                                                                                               financing from outside lending
                                                                                                 institutions; (9) the extent to which
 7                                                                                               the advances were subordinated to
                                                                                                 the claims of outside creditors; (10)
 8                                                                                               the extent to which the advances
                                                                                                 were used to acquire capital assets;
 9                                                                                               (11) the presence or absence of a
                                                                                                 sinking fund to provide
10                                                                                               repayments.") (internal cites
                                                                                                 omitted); In re L. Scott Apparel,
11                                                                                               Inc., 615 B.R. 881, 888 (C.D. Cal.
                                                                                                 2020), appeal dismissed, No. 20-
12                                                                                               55507, 2020 WL 6482082 (9th Cir.
                                                                                                 Aug. 12, 2020) (“The parties agree
13                                                                                               that a bankruptcy court may
                                                                                                 recharacterize debt as equity.”); (c)
14                                                                                               the PPA does not clearly specify
                                                                                                 that it is secured by the Property,
                                                                                                 and (d) Hankey, in addition to its
15                                                                                               DOTs, recorded a Memorandum of
                                                                                                 Agreement regarding the PPA,
16                                                                                               which also does not clearly state
                                                                                                 that the obligations thereunder are
17                                                                                               secured by the Property.
       Hankey Capital,   17       $3,500,000.00            NA     $3,500,000.00          $0.00   Per 10/25/18 PPA attached to POC:
18     LLC
                                                                                                 “If, at any time, during the term of
                                                                                                 the Loan or following repayment of
19                                                                                               the Loan, the Property is sold by the
                                                                                                 Borrower, or by any affiliate of the
20                                                                                               Borrower, for a purchase price in
                                                                                                 excess of $200,000,000), Lender
21                                                                                               shall be entitled to receive, from the
                                                                                                 sale proceeds, a Lender Profit
22                                                                                               Participation Payment in the amount
                                                                                                 of $3,500,000.” The Purchase Price
23                                                                                               is under $200 million. Thus, in
                                                                                                 addition to the arguments above
24                                                                                               regarding the 8/20/20 PPA, the
                                                                                                 condition to trigger this PPA will
25                                                                                               not be satisfied by the proposed sale
                                                                                                 under the Sale Motion.
26     Hankey Capital,   19         $845,811.04      $33,569.66     $879,380.70    $879,380.70   Receiver's Certificate 1 and 2.
       LLC
27

28

                                                                     11
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 1                        Secured Claim Per                                                         Notes
                         Higher of Schedules of
                                 POC
 2
       Creditor          POC        Secured        Estimated      Total Claim       Estimated
 3                                                 Additional                         Claim
                                                   Interest to                       Based on
                                                  Closing Date                       Potential
 4                                                                                   Objection
       Inferno           11      $20,902,106.12     $354,473.24   $21,256,579.36   $18,256,000.00   Per the POC and the attachments
 5     Investment Inc.
                                                                                                    thereto:
                                                                                                    Note 1 dated 3/13/13 for
 6                                                                                                  $3,925,545 provides as follows:
                                                                                                    "Due to the fact that the security for
 7                                                                                                  this Note is a deed of trust third in
                                                                                                    priority to a first and second deed of
 8                                                                                                  trust on the Property, thereby
                                                                                                    making this loan a "high risk loan",
 9                                                                                                  Borrower agrees to pay Lender
                                                                                                    additional consideration and not as
10                                                                                                  additional interest as follows: Fifty
                                                                                                    percent (50%) of the net profits
11                                                                                                  derived from the sale of each of the
                                                                                                    residences located at 271 S.
12                                                                                                  Mapleton Drive, Los Angeles, CA
                                                                                                    and 1175 Hillcrest, Beverly Hills,
13                                                                                                  CA and Fifteen percent (15%) of
                                                                                                    the net profits derived from the sale
14                                                                                                  of the residence at 944 Airole, Los
                                                                                                    Angeles, CA"
                                                                                                    Note 2 dated 3/13/13 for
15                                                                                                  $14,000,040 was later modified to
                                                                                                    $7 million in October 2015 for
16                                                                                                  reasons that are unknown to the
                                                                                                    Debtor's current management.
17                                                                                                  DOTs - The DOT recorded on
                                                                                                    3/13/13 only secured the second
18                                                                                                  note for $14,000,040, as the first
                                                                                                    note for $3,925,545 is not
19                                                                                                  referenced until a Modification and
                                                                                                    Supplement to Deed of Trust
20                                                                                                  recorded on 11/10/15.The Debtor
                                                                                                    believes that there may be bases to
21                                                                                                  object to a material amount of the
                                                                                                    claim, because (1) (a) the language
22                                                                                                  of the first note appears to indicate
                                                                                                    that such loan was related to the
23                                                                                                  Debtor's Property and two
                                                                                                    properties (271 S. Mapleton and
24                                                                                                  1175 Hillcrest) that were not owned
                                                                                                    by the Debtor and the first note
25                                                                                                  includes a profit sharing provision,
                                                                                                    and (b) the second note for
                                                                                                    $14,000,040 was later modified to
26
                                                                                                    $7 million, both of which call into
                                                                                                    question the amount that was
27                                                                                                  actually loaned to the Debtor, (2)
                                                                                                    books and records currently
28                                                                                                  available to the Debtor do not

                                                                      12
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 1                 Secured Claim Per                                                Notes
                  Higher of Schedules of
                          POC
 2
       Creditor   POC        Secured        Estimated     Total Claim   Estimated
 3                                          Additional                    Claim
                                            Interest to                 Based on
                                           Closing Date                 Potential
 4                                                                      Objection
                                                                                    indicate that Inferno loaned
 5                                                                                  $17,925,585 to the Debtor, (3)
                                                                                    despite the reduction of the second
 6                                                                                  note for $14,000,040 down to $7
                                                                                    million, the interest calculation
 7                                                                                  attached to the POC includes 31
                                                                                    months of interest totaling $2.901
 8                                                                                  million on the basis of a loan in the
                                                                                    amount of $14,000,040, and (4) to
 9                                                                                  the extent any portion of the first
                                                                                    note was for profit sharing, such
10                                                                                  portion would be subject to
                                                                                    recharacterization for the reasons
11                                                                                  discussed above.The Debtor also
                                                                                    believes that there may be bases to
12                                                                                  object to the secured status of the
                                                                                    first note for $3,925,5453 because,
13                                                                                  (1) as noted, the DOT recorded on
                                                                                    3/13/13 only secured the second
14                                                                                  note for $14,000,040, as the first
                                                                                    note for $3,925,5453 is not
                                                                                    referenced until a Modification and
15                                                                                  Supplement to Deed of Trust
                                                                                    recorded on 11/10/15 and the
16                                                                                  Debtor did not get any additional
                                                                                    consideration for allegedly
17                                                                                  providing security for the first note
                                                                                    over two and a half years after the
18                                                                                  loan thereunder was purportedly
                                                                                    made and (2) the DOT does not
19                                                                                  cover any alleged claim to profit
                                                                                    sharing under the first note.
20
                                                                                    In addition, the Debtor and Inferno
21                                                                                  entered into a “Memorandum of
                                                                                    Agreement” dated January 1, 2016
22                                                                                  pursuant to which that parties
                                                                                    (including Inferno) agreed that,
23                                                                                  prior to Inferno receiving any
                                                                                    payment, Inferno agrees that
24                                                                                  payments must first be made to all
                                                                                    outstanding loans and construction
25                                                                                  costs for the Property. As a result,
                                                                                    Inferno has contractually
                                                                                    subordinated itself to all other loans
26
                                                                                    and construct costs for the Property.
                                                                                    See Exhibit “6” hereto, which is a
27                                                                                  true and correct copy of the
                                                                                    foregoing Memorandum of
28                                                                                  Agreement.

                                                             13
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 1                        Secured Claim Per                                                         Notes
                         Higher of Schedules of
                                 POC
 2
       Creditor          POC        Secured        Estimated      Total Claim       Estimated
 3                                                 Additional                         Claim
                                                   Interest to                      Based on
                                                  Closing Date                      Potential
 4                                                                                  Objection

 5                                                                                                  Weeks ago the Debtor’s counsel
                                                                                                    requested that Inferno’s counsel
 6                                                                                                  send documentation regarding the
                                                                                                    funding of the purported loans.
 7                                                                                                  Despite the foregoing, it was not
                                                                                                    until March 7, 2022 (i.e., a mere
 8                                                                                                  day before the deadline to file the
                                                                                                    Sale Motion) that Inferno’s counsel
 9                                                                                                  sent such documentation, so the
                                                                                                    Debtor has not had time to analyze
10                                                                                                  it. However, it is notable that in the
                                                                                                    email transmittal of the
11                                                                                                  documentation, Inferno’s counsel
                                                                                                    admitted that Inferno had not yet
12                                                                                                  found documentation regarding
                                                                                                    funding of $7 million of the alleged
13                                                                                                  loan from Inferno. See 3/7/22 email
                                                                                                    from Inferno’s counsel to Debtor’s
14                                                                                                  counsel, a true and correct copy of
                                                                                                    which is attached hereto as Exhibit
                                                                                                    “4” without exhibits.
15     YOGI Securities   15      $21,943,053.75     $632,134.92   $22,575,188.67   $18,000,000.00   Per the POC and the attachments
       Holdings, LLC
                                                                                                    thereto:Note dated 10/16/18 for
16                                                                                                  $30,188,235 provides, inter alia,
                                                                                                    that (1) the loan was to be paid in
17                                                                                                  full upon the sale of the Debtor's
                                                                                                    property or the Hillcrest Property
18                                                                                                  and that payments would also be
                                                                                                    due as the Londonderry Property,
19                                                                                                  Bellagio Property, Carcassonne
                                                                                                    Property, and Stone Ridge Property
20                                                                                                  were sold (with the Hillcrest
                                                                                                    Property, Londonderry Property,
21                                                                                                  Bellagio Property, Carcassonne
                                                                                                    Property, and Stone Ridge Property
22                                                                                                  as defined in the note and
                                                                                                    collectively referred to here as the
23                                                                                                  "Other Properties"), (2) at least in
                                                                                                    regard to the Londonderry Property,
24                                                                                                  Bellagio Property, Carcassonne
                                                                                                    Property, and Stone Ridge Property,
25                                                                                                  the DOT's for those properties were
                                                                                                    provided by entities other than the
26                                                                                                  Debtor. The Debtor believes that
                                                                                                    there may be bases to object to a
                                                                                                    material amount of the claim,
27                                                                                                  because (1) the language of the note
                                                                                                    appears to indicate that such loan
28                                                                                                  was related to the Debtor's Property

                                                                      14
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 1                 Secured Claim Per                                                Notes
                  Higher of Schedules of
                          POC
 2
       Creditor   POC        Secured        Estimated     Total Claim   Estimated
 3                                          Additional                    Claim
                                            Interest to                 Based on
                                           Closing Date                 Potential
 4                                                                      Objection
                                                                                    and at least four properties (the
 5                                                                                  Londonderry Property, Bellagio
                                                                                    Property, Carcassonne Property,
 6                                                                                  and Stone Ridge Property) owned
                                                                                    by entities other than the Debtor
 7                                                                                  which calls into question the
                                                                                    amount that was actually loaned to
 8                                                                                  the Debtor, (2) $5.2 million of the
                                                                                    loan was to be advanced upon
 9                                                                                  request by the Debtor and only if
                                                                                    there were no defaults and there is
10                                                                                  no indication in the books and
                                                                                    records currently available to the
11                                                                                  Debtor that this occurred, (3) books
                                                                                    and records currently available to
12                                                                                  the Debtor do not indicate that
                                                                                    YOGI loaned $30,188,235 to the
13                                                                                  Debtor, (4) four of the Other
                                                                                    Properties (the Hillcrest Property,
14                                                                                  Bellagio Property, Carcassonne
                                                                                    Property, and Londonderry
                                                                                    Property) providing for a pay down
15                                                                                  on the note sold, yet YOGI did not
                                                                                    collect the required pay down
16                                                                                  amounts per the note (a) Hillcrest
                                                                                    Property sold for $38.3 million,
17                                                                                  note required payment in full, only
                                                                                    $2.917 million received and applied
18                                                                                  to loan balance by YOGI), (b)
                                                                                    Bellagio Property sold for $36
19                                                                                  million, note required payment of
                                                                                    $10 million, only $2.5 million
20                                                                                  received and applied to loan balance
                                                                                    by YOGI), (c) Carcassonne
21                                                                                  Property sold for $36 million, note
                                                                                    required payment of $15 million,
22                                                                                  only $4.310 million received and
                                                                                    applied to loan balance by YOGI),
23                                                                                  and (d) Londonderry Property sold
                                                                                    for $26 million, note required
24                                                                                  payment of $10 million, only
                                                                                    $6.013 million received and applied
25                                                                                  to loan balance by YOGI), and (5)
                                                                                    one of the Other Properties (the
                                                                                    Stone Ridge Property) providing for
26
                                                                                    a pay down on the note sold for
                                                                                    $9.95 million, yet YOGI did not
27                                                                                  collect any payment upon the close
                                                                                    of that sale (at least the attachment
28                                                                                  to the POC does not show any pay

                                                             15
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 1                         Secured Claim Per                                                       Notes
                          Higher of Schedules of
                                  POC
 2
       Creditor           POC        Secured        Estimated       Total Claim     Estimated
 3                                                  Additional                        Claim
                                                    Interest to                     Based on
                                                   Closing Date                     Potential
 4                                                                                  Objection
                                                                                                   down) (property sold for $9.95
 5                                                                                                 million, note required a $5 million
                                                                                                   pay down, $0 received and applied
 6                                                                                                 to loan balance by YOGI). The
                                                                                                   Debtor understands that it is
 7                                                                                                 possible that the pay downs were
                                                                                                   less than required by the note based
 8                                                                                                 on the sale price for the Other
                                                                                                   Properties and the position of
 9                                                                                                 YOGI's liens on the Other
                                                                                                   Properties. However, additional
10                                                                                                 information is needed and the fact
                                                                                                   that the pay down from the Bellagio
11                                                                                                 Property was exactly $2.5 million
                                                                                                   calls into question whether YOGI
12                                                                                                 was maximizing recoveries from the
                                                                                                   Other Properties, which may be a
13                                                                                                 basis for equitable subordination
                                                                                                   under 11 U.S.C. § 510(c). The
14                                                                                                 Debtor believes that there may be a
                                                                                                   basis to object to the secured status
                                                                                                   of a portion of the loan as a
15                                                                                                 constructively fraudulent transfer to
                                                                                                   the extent the loan rolled up prior
16                                                                                                 loans that were not made to the
                                                                                                   Debtor and/or and secured them
17                                                                                                 with the Property.
       American Truck     14         $188,087.09   Not Calculated     $188,087.09    $188,087.09   Mechanic's Lien
18     & Tool Rentals
       Inc.
       J&E Texture,       13         $284,086.99   Not Calculated     $284,086.99    $284,086.99   Mechanic's Lien
19     Inc.
       Hilldun             9       $5,000,000.00             NA     $5,000,000.00          $0.00   On March 7, 2022, the Debtor and
20     Corporation
                                                                                                   Hilldun filed their stipulation
                                                                                                   providing that Hilldun’s claim was
21                                                                                                 subject to bona fide dispute for the
                                                                                                   purposes of Section 363(f)(4).
22     JMS Air                        $51,290.00   Not Calculated      $51,290.00     $51,290.00   Mechanic's Lien
       Conditioning
       Calgrove Rentals                    $0.00   Not Calculated           $0.00          $0.00   Mechanic's Lien
23     Inc.
       BMC West LLC                    $2,399.00   Not Calculated       $2,399.00      $2,399.00   Mechanic's Lien
24     City of Los                         $0.00   Not Calculated           $0.00          $0.00
       Angeles
25     Parquet by Dian                $40,846.00   Not Calculated      $40,846.00     $40,846.00   Mechanic's Lien
       Powertek           16          $40,480.00   Not Calculated      $40,480.00     $40,480.00   Mechanic's Lien
       Electric Inc.
26     Kennco              6          $85,560.17   Not Calculated      $85,560.17     $85,560.17   Mechanic's Lien
       Plumbing, Inc.
27     Kazemi &           24          $59,173.34   Not Calculated      $59,173.34     $59,173.34   Mechanic's Lien Not Attached to
       Associates
       Constructors
                                                                                                   POC
28                                                                                                 Ledger attached to POC makes it

                                                                       16
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 1                       Secured Claim Per                                                          Notes
                        Higher of Schedules of
                                POC
 2
       Creditor         POC        Secured        Estimated      Total Claim        Estimated
 3                                                Additional                          Claim
                                                  Interest to                       Based on
                                                 Closing Date                       Potential
 4                                                                                  Objection
                                                                                                    look like creditor was paid in full or
 5                                                                                                  over paid.
             TOTALS            $195,771,797.67                  $203,690,894.48   $158,277,382.91
 6

 7
       D.             THE REASON FOR FILING BANKRUPTCY AND EXIT STRATEGY.
 8                    Unfortunately, before the Property could be fully completed and sold (either as a fully
 9     completed or nearly completed project), the Debtor’s primary secured lender, Hankey, as well as a
10     number of other junior secured lenders and mechanic’s lien holders initiated a multitude of state
11     court actions against the Debtor seeking, among other things, to recover amounts allegedly owed and
12     to foreclose on the Property.             In connection with its action, Hankey sought and obtained the
13     appointment of a receiver for the Property (the “Receiver”). In addition, Hankey had a foreclosure
14     sale of the Property set for October 27, 2021.
15                    In order to protect its substantial equity in the Property and address myriad litigation and
16     other claims against it, the Debtor filed its bankruptcy case on the Petition Date of October 26, 2021,
17     which stayed the foreclosure sale. It was imperative for the Debtor regain possession and control
18     over the Property from the Receiver, and to obtain the breathing spell afforded by the automatic stay,
19     not only to stop the foreclosure and protect the equity in the Property, but also to provide time and a
20     means for the Debtor to sell the Property.
21                    As a precursor to selling the Property, the Debtor had to regain possession and control of
22     the Property from the Receiver. To that end, immediately after the Petition Date, pursuant to Section
23     543, the Debtor’s counsel demanded that the Receiver, among other things, (1) turnover the Property
24     and other property of the estate and (2) to cease exercising control over such estate property. As can
25     be seen from the docket, soon after the Petition Date, the Debtor, with the assistance of its counsel
26     and manager, quickly negotiated an interim stipulation with Hankey and the Receiver regarding
27     access to the Property to facilitate efforts to employ brokers and market and sell the Property. Based
28

                                                                     17
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 1     on the efforts of the Debtor’s counsel and manager, the Receiver voluntarily turned over the Property
 2     and all other estate property to the Debtor as of December 1, 2021.
 3                The Debtor’s intent before and after the Petition Date was to market and sell the Property
 4     for the highest price possible under the circumstances in order to maximize the distribution to
 5     creditors and exit bankruptcy through a plan or structured dismissal.
 6     E.         EFFORTS IN FURTHERANCE OF THE DEBTOR’S EXIT STRATEGY.
 7
                  1.      APPROVAL OF THE EMPLOYMENT OF THE DEBTOR BROKERS AND
 8                        AUCTIONEER AND THE PAYMENT OF THEIR COMPENSATION ON
                          THE CLOSE OF ESCROW.
 9
                  On December 12, 2021, the Debtor filed an application (the “Employment Application”)
10
       [Dkts. 74, 78, and 81] to (1) employ the Debtor Brokers as real estate brokers pursuant to 11 U.S.C §
11
       327(a), with compensation determined pursuant to 11 U.S.C. § 328, pursuant to the terms of the
12
       Residential Listing Agreement (the “Listing Agreement”) between the Debtor and the Brokers that
13
       was attached to the Employment Application, (2) employ Concierge Auctions, LLC (“Concierge” or
14
       the “Auctioneer”) as auctioneer pursuant to 11 U.S.C § 327(a), with compensation determined
15
       pursuant to 11 U.S.C. § 328, pursuant to the terms of the Auction Agreement (the “Auction
16
       Agreement”) between the Debtor and the Auctioneer, which is attached to the Employment
17
       Application, and (3) approve the payment of compensation to the Brokers and the Auctioneer from
18
       escrow upon closing.
19
                  As set forth in the Employment Application and relevant here, (1) pursuant to the Listing
20
       Agreement, on a sale price up to $175 million, the Debtor Brokers are entitled to a commission of
21
       1% of the sale price (plus 1% payable to any Buyer Broker) and (2) pursuant to the Auction
22
       Agreement, the Auctioneer is entitled to a fee of 12% of the sale price (the “Buyer’s Premium”) to
23
       be paid by the Buyer (not the Debtor) separately from the sale price, provided that, on a sale equal to
24
       or less than $225 million, the Auctioneer would rebate 9.5% of the 12% Buyer’s Premium to the
25
       Debtor’s estate and retain only 2.5% of the Buyer’s Premium.
26

27

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                                                         18
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 1                On January 1, 2022, the Court entered an order (the “Employment Order”) [Dkt. 104]
 2     approving the Employment Application, the compensation provided for thereunder, and payment of
 3     such compensation from escrow on closing.
 4                2.      APPROVAL OF THE BID PROCEDURES.
 5                On December 29, 2021, the Debtor filed its Bid Procedures Motion to approve the Bid
 6     Procedures for an Auction of the Property [Dkt. 88]. On January 10, 2022, the Court entered its
 7     order granting the Bid Procedures Motion [Dkt. 105], which Bid Procedures were amended by a
 8     further order of the Court entered on January 14, 2022 [Dkt. 115] (the foregoing orders are referred
 9     to as the Bid Procedures Orders herein). Pursuant to the Bid Procedures Orders, the scheduling for
10     the Auction and the instant Sale Motion were/are as follows:
11
       February 28, 2022 through March 3, 2022         Online Auction for the Property to be conducted by
12                                                     the Auctioneer.
       March 8, 2022                                   Deadline for the Debtor to file and serve the Sale
13                                                     Motion.
       March 15, 2022, at 12:00 p.m. (Pacific)         Deadline for any parties in interest to file and serve
14                                                     any oppositions to the Sale Motion.
15     March 16, 2022                                  Deadline for any parties in interest to file and serve
                                                       any replies to any oppositions to the Sale Motion.
16     March 18, 2022, at 11:00 a.m. (Pacific)         Hearing on the Sale Motion
       March 21, 2022 (unless extended by              Closing Date
17     agreement between the Debtor and the buyer)
18

19     F.         THE MARKETING OF THE PROPERTY AND THE AUCTION.
20                As set forth in the Exposure Report (the “Exposure Report”) attached hereto as Exhibit
21    “3” (which can also be accessed here with hyperlinks to various publications and documents
22    referenced in the Exposure Report) and the annexed declarations of Chad Roffers and Branden
23    Williams, the Property was extensively marketed through, among other things, (1) the Property being
24    exposed in 171 countries, (2) 83,740 property views, 197,602 web page views, and 16,800 film views
25    on the Auctioneer’s website, (3) numerous email blasts to the Auctioneer’s private client group, select
26    billionaires, targeted owners of high value properties, and subscriber lists as large as 160,000
27    members, which email blasts included access to a high-quality catalogue for the Property, (4)
28    numerous publications by media outlets regarding the Property, (5) listings on the MLS,

                                                        19
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 1    Luxuryrealestate.com, Juwai.com, Zillow.com, Realtor.com, Sothebys.com, (6) a feature commercial
 2    shown in the lead up to the Super Bowl, and (7) social media campaigns on Facebook, Google,
 3    Instagram.9
 4                  The foregoing marketing efforts, as well as the pre-Petition Date marketing efforts by the
 5    Debtor’s Brokers, resulted in 40 qualified showings of the Property by the Auctioneer, 20 showings of
 6    the Property by the Debtor’s Brokers (8 by Compass and 12 by TBHE), and five Bidders that qualified
 7    for bidding at the Auction by submitting the documents and $250,000 Bidder Deposit required by the
 8    Bid Procedures.
 9                  The extensive marketing of the Property achieved results. Consistent with the Court-
10    approved Bid Procedures, the Auctioneer conducted the Auction of the Property starting on February
11    28, 2022 and ending on March 3, 2022. The bidding on the Property was as follows:
12
                    PADDLE #          BID AMOUNT                 TIME BID PLACED
13
                    7 #618043         $126,000,000               (WINNING BID by the Buyer) 6:10PM 03.03.2022
14
                    6 #618043         $120,000,000               6:02PM 03.03.2022
15
                    5 #463985         $100,000,000               6:02PM 03.03.2022
16                  4 #618043          $90,000,000               5:58PM 03.03.2022
17                  3 #463985         $70,000,000                2:43PM 03.03.2022

18                  2 #423367         $60,000,000                4:12PM 03.01.2022
                    1 #222270         $50,000,000                (STARTING BID) 02.28.2022)
19

20     G.           THE PROPOSED SALE.

21                  After the Auction, the Debtor and the Buyer executed the Purchase Agreement, a true and

22     correct copy of which is attached hereto as Exhibit “2.”10 The form of the Purchase Agreement,

23     other than the Purchase Price and identity of the Buyer, which was required to be used by all Bidders,

24     was prepared and approved by the Court before the Auction pursuant to the Bid Procedures Order.

25     Further, the Property was sold pursuant to an Auction conducted in accordance with the Court-

26     approved Bid Procedures. Thus, the terms of the Purchase Agreement are the result of more than

27    9
        In addition, as required by LBR 6004-1, concurrently with the filing hereof, the Debtor will submit an additional copy of
      the Notice of the Motion in case there are other parties interested in seeking to make a bid for the Property.
28    10
         The attached Purchase Agreement includes the form of the Supplemental Addendum approved by the Court signed by
      the Debtor but not the Buyer.
                                                                  20
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 1     arms-length negotiations between the Debtor and the Buyer. Further, the Debtor is informed and
 2     believes that, other than in connection with the proposed sale of the Property (which, again, was
 3     conducted by the Auctioneer pursuant to the Court-approved Bid Procedures), the Buyer has no prior
 4     connections with the Debtor or its current non-Member manager, SierraConstellation Partners LLC.
 5     Also, the Debtor has no basis to believe that the Auction and resulting winning bid by the Buyer were
 6     the product of any collusion. A summary of the terms of the proposed sale of the Property under the
 7     Purchase Agreement is as follows:11
 8                                           Name of Buyer: Richard Saghian or his approved assignee (i.e.,
 9                          the Buyer) or any Overbidder that is approved by the Court.
10                                           Asset to Be Sold: The Property.
11                                           Terms and Conditions of the Proposed Sale:
12                                            o       Purchase Price: $126 million, plus a $11.97 million Rebate
13                                   from the Auctioneer for a total of $137.97 million (both as defined and
14                                   discussed herein).
15                                            o       Deposit: $250,000 prior to the Auction, plus an additional
16                                   amount to bring the Deposit to 12% of the Purchase Price within two
17                                   business days of the conclusion of the Auction, which amount was funded
18                                   by the Buyer.
19                                            o       Contingencies: None, other than (1) approval of the sale
20                                   pursuant to an order of the Court that is not subject to a stay pending
21                                   appeal and (2) delivery of good and marketable title to the Property to the
22                                   Buyer.
23                                           Condition of Asset/Property: “As-is” without warranty of any
24                         kind.
25

26

27

28    11
        This is a summary for informational purposes only. To the extent that there is any inconsistency between this summary
      and the terms of the Purchase Agreement, the terms of the Purchase Agreement shall govern.
                                                                21
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 1                                  Free and Clear: As discussed above, the Property will be sold free
 2                    and clear of any and all liens, claims, encumbrances, and interests, with the
 3                    exception of the Excepted Items.
 4                                  Closing: March 21, 2022.
 5                                  Estimated Costs of Sale: The Debtor estimates that the total costs
 6                    of sale incurred by the estate will total approximately 2.5% of the sale price,
 7                    comprised of (1) a 1% commission to be paid to the Debtor’s Brokers, (2) a 1%
 8                    commission to be paid to the Buyer’s Brokers, and (3) the balance for any closing
 9                    costs.
10                                  Potential Tax Consequences: Given the Purchase Price for the
11                    Property, the amount invested into the Property for land acquisition, permitting,
12                    management, and construction, and the large claims allegedly secured by the
13                    Property, the Debtor believes no capital gains taxes will be owing.
14                                  Addendum to Purchase Agreement:         The Buyer requested that
15                    Debtor execute an Supplemental Addendum to the Purchase Agreement that was
16                    different from the Court-approved Supplemental Addendum, because it was
17                    amended by the Buyer to provide that the Buyer’s remedies will not be limited to
18                    those in the Court-approved Bid Procedures if the Debtor sells the Property to any
19                    party other than the Buyer. Because the sale is subject to approval of this Court
20                    and, in the event that the Court may theoretically order a sale to another party if
21                    another offer is presented and viewed as more beneficial to the estate by the
22                    Court, the Debtor was unwilling to execute such amended Supplemental
23                    Addendum and takes the position that the amendments are material changes to the
24                    Court-approved Supplemental Addendum.
25

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 1                                                      II.
                                                 LEGAL ARGUMENT
 2

 3    A.            THE COURT SHOULD APPROVE THE SALE OF THE PROPERTY TO THE
                    BUYER OR TO OVERBIDDER APPROVED BY THE COURT.
 4
                    1.       THE DEBTOR HAS OR WILL HAVE COMPLIED WITH ALL
 5                           APPLICABLE NOTICE REQUIREMENTS.
 6                  Section 363(b)(1) provides that the Debtor, “after notice and a hearing, may use, sell or

 7    lease, other than in the ordinary course of business, property of the estate.” 11 U.S.C. § 363(b)(1).

 8    Section 102(1) defines “after notice and a hearing” as after such notice as is appropriate in the

 9    particular circumstances, and such opportunity for hearing as is appropriate in the particular

10    circumstances. 11 U.S.C. § 102(1)(A).

11                  FRBP 6004(a) provides, in pertinent part, that notice of a proposed sale not in the

12    ordinary course of business must be given pursuant to FRBP 2002(a)(2), (c)(1), (i) and (k), and, if

13    applicable, in accordance with Section 363(b)(2).       Fed.R.Bankr.P. 6004(a).       FRBP 2002(a)(2)

14    requires at least 21 days’ notice by mail of a proposed sale of property of the estate other than in the

15    ordinary course of business, unless the Court for cause shown shortens the time or directs another

16    method of giving notice. Fed.R.Bankr.P. 2002(a)(2). Here, the Court shortened the notice period

17    pursuant to the Bid Procedures Orders, and the Debtor complied with the Bid procedures by filing

18    and serving the Notice of the Sale Motion and the Sale Motion on Mach 8, 2022. FRBP 2002(c)(1)

19    requires that the notice of a proposed sale include the date, time and place of any public sale, the

20    terms and conditions of any private sale, and the time fixed for filing objections. It also provides that

21    the notice of sale or property is sufficient if it generally describes the property. Fed. R. Bankr. P.

22    2002(c)(1).        FRBP 2002(k) requires that the notice be given to the United States Trustee.

23    Fed.R.Bankr.P. 2002(k).

24                  In addition, LBR 6004-1 requires that the notice contain the information specified in

25    LBR 6004-1(c)(3) and that an additional copy of the notice be submitted to the Clerk of the

26    Bankruptcy Court together with a Form F 6004-2.NOTICE.SALE at the time of filing for purposes of

27    publication. LBR 6004-1(c)(3) and (f).

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 1                The Debtor has or will have complied with all of the above provisions of the Bankruptcy
 2    Code, the FRBP and the LBR, as modified by the Bid Procedures Orders. The Debtor has complied
 3    with FRBP 6004(a) and 2002(a)(2), (c)(1), (i) and (k), as well as LBR 6004-1(c)(3), as far as
 4    practicable under the circumstances, because the Notice of the Sale Motion includes all of the
 5    required information set forth above, including, without limitation, the date, time and place of the
 6    hearing on the Sale Motion to approve the proposed sale of the Property to the Buyer or an
 7    Overbidder approved by the Court, the deadline for objecting to the Sale Motion, and related
 8    deadlines, and the Notice of the Sale Motion has been served on the Office of the United States
 9    Trustee, the Debtor, all of the Debtor’s known creditors, all alleged secured creditors appearing on
10    the Title Report, and all parties requesting special notice. Further, this Sale Motion and its annexed
11    Memorandum, Declarations, and Exhibits will be served on the Office of the United States Trustee,
12    the Debtor, all alleged secured creditors appearing on the Title Report, and all parties requesting
13    special notice. Additionally, the Notice of the Sale Motion advises parties in interest how and where
14    to obtain a full copy of this Motion and its annexed Memorandum, Declarations, and Exhibits.
15                Further, as required by LBR 6004-1(f), concurrently with the filing hereof, the Debtor
16    submitted an additional copy of the Notice of the Sale Motion, which includes required information
17    about the proposed sale of the Property, with the Clerk of the Bankruptcy Court together with a Form
18    F 6004-2.NOTICE.SALE for purposes of publication.
19                Based on the foregoing, all applicable notice requirements have been satisfied.
20                2.     THE SALE OF THE PROPERTY TO THE BUYER OR TO ANY
21                       WINNING OVERBIDDER APPROVED BY THE COURT SHOULD BE
                         APPROVED, BECAUSE GOOD BUSINESS REASONS FOR THE SALE
22                       EXIST, THE PURCHASE PRICE FOR THE PROPERTY IS FAIR AND
                         REASONABLE, AND THE PROPOSED SALE IS IN THE BEST
23                       INTERESTS OF THE ESTATE AND ITS CREDITORS.
24                As a general matter, a court considering a motion to approve a sale under Section 363(b)
25    should determine from the evidence presented before it that a “good business reason” exists to grant
26    such a motion. In re Lionel Corp., 722 F.2d 1063, 1071 (2d Cir. 1983). In addition, the court must
27    further find that the sale is in the best interest of the estate. To make this determination, the Court
28    should consider whether:

                                                        24
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 1
                         (1)     the sale is fair and reasonable, i.e., the price to be paid is adequate;
 2                       (2)     the property has been given adequate marketing;
 3                       (3)     the sale is in good faith, i.e., there is an absence of any lucrative deals with
                                 insiders, and
 4                       (4)     adequate notice has been provided to creditors.

 5
      In re Wilde Horse Enterprises, Inc., 136 B.R. 830, 841-2 (Bankr. C.D. Cal. 1991); In re The Landing,
 6
      156 B.R. 246, 249 (Bankr. E.D. Mo. 1993); In re Mama’s Original Foods, Inc., 234 B.R. 500, 502-
 7
      505 (C.D. Cal. 1999). Here, the proposed sale of the Property to the Buyer pursuant to the terms of
 8
      the Purchase Agreement or to successful Overbidder approved by the Court satisfies each of these
 9
      requirements.
10
                         a.      Sound Business Purpose.
11
                  The Ninth Circuit Bankruptcy Appellate Panel in Walter v. Sunwest Bank (In re Walter),
12
      83 B.R. 14, 19 (B.A.P. 9th Cir. 1988) has adopted a flexible case-by-case test to determine whether
13
      the business purpose for a proposed sale justifies disposition of property of the estate under Section
14
      363(b). The facts pertaining to the sale at issue here amply substantiate the Debtor’s business
15
      decision that the contemplated sale of the Real to the Buyer pursuant to the terms of the Purchase
16
      Agreement or to successful Overbidder approved by the Court serves the best interests of the estate
17
      and merits the approval of this Court.
18
                  As noted above, the Debtor’s exit strategy is based on the sale of the Property to generate
19
      funds to pay creditors. After substantial marketing of the Property and an Auction conducted
20
      pursuant to the Bid Procedures, the Purchase Price offered by the Buyer is the highest and best
21
      binding offer received by the Debtor. The Debtor believes that the already limited pool of buyers
22
      with the means to purchase the Property may have been further reduced due to the conflict in Ukraine
23
      and related sanctions against Russia, which may have taken potential Russian, Ukrainian, Chinese
24
      and other international buyers out of the market. It is unfortunate that the Purchase Price will not
25
      generate sufficient funds to pay all allowed claims in full and likely not to pay allowed Secured
26
      Claims in full. However, in the absence of the approval of the proposed sale, the distribution on
27
      allowed claims would likely be much lower, because, among other things, (1) the Debtor would
28

                                                         25
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 1    continue to incur huge per deim interest in the approximate amount of $50,000 on the senior Secured
 2    Claims asserted by Hankey, (2) the Debtor would have to pay an extension fee of $126,000 on the
 3    DIP Loan, (3) the Debtor would continue to incur large administrative claims arising from the costs
 4    associated with securing, insuring, and maintaining the Property, as well as for material ongoing
 5    services provided by estate professionals, and (4) the Debtor would continue to incur bi-yearly
 6    property taxes in the approximate amount of $700,000. There is also the possibility that the Debtor
 7    never gets an offer as high as the Purchase Price offered by the Buyer. The proposed sale provides an
 8    assured result and allows the debtor to curtail substantial secured and administrative claims.
 9                Based on the foregoing, the proposed sale furthers the Debtor’s exit strategy and is in the
10    best interests of the estate and its creditors and, therefore, represents a sound exercise of the Debtor’s
11    business judgment.
12                         b.     Fair and Reasonable Price.
13                In order for a sale to be approved under Section 363(b), the purchase price must be fair
14    and reasonable. See generally, In re Canyon Partnership, 55 B.R. 520 (Bankr. S.D. Cal. 1985). The
15    trustee is given substantial discretion in this regard. Id. In addition, Courts have broad discretion
16    with respect to matters under section 363(b). See Big Shanty Land Corp. v. Comer Properties, Inc.,
17    61 B.R. 272, 278 (Bankr. N.D. Ga. 1985). In any sale of estate assets, the ultimate purpose is to
18    obtain the highest price for the property sold. Wilde Horse Enterprises, Inc., 136 B.R. at 841 (citing
19    In re Chung King, Inc., 753 F.2d 547 (7th Cir. 1985)), In re Alpha Industries, Inc., 84 B.R. 703, 705
20    (Bankr. Mont. 1988).
21                As noted above, the Debtor’s Brokers and the Auctioneer engaged in expansive
22    marketing efforts regarding the sale of the Property. Those efforts resulted in the current $126
23    million offer for the Property, which will result in gross sale proceed in the amount of $137.97
24    million after the payment of the $11.97 million Rebate from the Auctioneer. That offer was obtained
25    after a three day Auction conducted pursuant to the Bid Procedures approved by the Court, which
26    were designed and approved as a means to ensure that the highest price possible was obtained for
27    Property under the circumstances.
28

                                                          26
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 1                Based on the foregoing, the Debtor submits that the Purchase Price represents fair and
 2    reasonable value for the Property in today’s marketplace.
 3                       c.      Adequate Marketing.
 4                The intensive marketing efforts undertaken by the Debtor’s Former Brokers and Current
 5    Brokers Broker after the Petition Date are set forth in detail above and are not repeated here. In
 6    consideration of the foregoing marketing efforts, the Property has been, and will be, adequately
 7    marketed.
 8                       d.      Good Faith.
 9                When a Bankruptcy Court authorizes a sale of assets pursuant to Section 363(b)(1), it is
10    required to make a finding with respect to the “good faith” of the purchaser. In re Abbotts Dairies,
11    788 F.2d at 149. Such a procedure ensures that Section 363(b)(1) will not be employed to circumvent
12    creditor protections. Id. at 150. With respect to the Debtor’s conduct in conjunction with the
13    proposed sale of the Property, the good faith requirement focuses principally on whether there is any
14    evidence of “fraud, collusion between the purchaser and other bidders or the trustee, or an attempt to
15    take grossly unfair advantage of other bidders.” Abbotts Dairies, 788 F.2d at 147; Wilde Horse
16    Enterprises, 136 B.R. at 842.
17                Here, as discussed above, the form of the Purchase Agreement, which was required to be
18    used by all Bidders, was prepared and approved by the Court before the Auction pursuant to the Bid
19    Procedures Order. Also, the property was sold pursuant to an Auction conducted in accordance with
20    the Court-approved Bid Procedures. Therefore, the Debtor submits that the terms of the Purchase
21    Agreement are the result of more than arms-length negotiations. As also discussed above, the Debtor
22    is informed and believes that, other than in connection with the proposed sale of the Property, the
23    Buyer has no prior connections with the Debtor or its current non-Member manager,
24    SierraConstellation Partners LLC, and the Debtor has no basis to believe that the Auction and
25    resulting winning bid by the Buyer were the product of any collusion.
26                Based on the foregoing, and because the Buyer has no affiliation with the Debtor other
27    than as set forth above and is not an “insider” of the Debtor, as that term is defined in Section
28    101(31), the Debtor submits that there has been no fraud or collusion in connection with the proposed

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 1    sale of the Property. Therefore, the good faith requirement has been satisfied, and the Buyer (or a
 2    successful Overbidder approved by the Court) should be deemed a “good faith” purchaser under
 3    Section 363(m) and entitled to the benefits under Section 363(m).
 4                        e.      Accurate and Reasonable Notice.
 5                The purpose of the notice is to provide an opportunity for objections and hearing before
 6    the Court if there are objections. In re Karpe, 84 B.R. 926, 930 (Bankr. M.D.Pa. 1988). A notice is
 7    sufficient if it includes the terms and conditions of the sale and if it states the time for filing
 8    objections. Id.
 9                As set forth in detail in Paragraph II.A.1 above, the Debtor has or will have complied
10    with all of the applicable notice provisions of the Bankruptcy Code, the FRBP and the LBR. Thus,
11    the Notice of the Sale Motion (and proposed sale of the Property) should be deemed adequate,
12    accurate, and reasonable by the Court.
13        B.      THE COURT SHOULD APPROVE THE SALE OF THE PROPERTY FREE AND
                  CLEAR OF ALL LIENS, CLAIMS, ENCUMBRANCES, AND INTERESTS,
14                OTHER THAN THE EXCEPTED ITEMS, TO THE BUYER OR ANY WINNING
                  OVERBIDDER APPROVED BY THE COURT.
15
                  1.      APPLICABLE STANDARDS.
16
                  The Court has the power to authorize the sale of property free and clear of liens, claims,
17
      or interests. See 11 U.S.C. § 363(f); In re Gerwer, 898 F.2d 730, 733 (9th Cir. 1990).
18
                  Section 363(f) permits a sale of property “free and clear of any interest in such property
19
      of an entity other than the estate” if any one of the following five conditions is met:
20
                          (1)     applicable nonbankruptcy law permits sale of such
21
                                  property free and clear of such interest;
22
                          (2)     such entity consents;
23
                          (3)     such interest is a lien and the price at which such
24                                property is to be sold is greater than the aggregate value
25                                of all liens on such property;

26                        (4)     such interest is in bona fide dispute; or

27                        (5)     such entity could be compelled, in a legal or equitable
                                  proceeding, to accept a money satisfaction of such
28                                interest.
                                                          28
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 1
      11 U.S.C. § 363(f). Section 363(f) is written in the disjunctive; thus, satisfaction of any one of the
 2
      five conditions is sufficient to sell property free and clear of liens. See e.g., Citicorp Homeowners
 3
      Services, Inc. v. Elliot (In re Elliot), 94 B.R. 343, 345 (Bankr. E.D. Pa. 1988); Mutual Life Ins. Co. of
 4
      New York v. Red Oak Farms, Inc. (In re Red Oak Farms, Inc.), 36 B.R. 856, 858 (Bankr. W.D. Mo.
 5
      1984).
 6

 7                  2.     THE COURT SHOULD APPROVE THE SALE OF THE PROPERTY
                           FREE AND CLEAR OF THE NON-EXCEPTED ITEMS IN THE TITLE
 8                         REPORT TO THE BUYER OR ANY WINNING OVERBIDDER
                           APPROVED BY THE COURT.
 9
                    Here, the sale of the Property to the Buyer can be free and clear of all liens, claims,
10
      encumbrances, and interests, other than the Excepted Items, because one or more provisions of
11
      Section 363(f) has been or will be satisfied as to each alleged Secured Claim.
12
                           a.     Section 363(f)(2).
13
                    In regard to Section 363(f)(2), the “consent” of an entity asserting an interest in the
14
      property sought to be sold, as referenced in Section 363(f)(2), can be implied if such entity fails to
15
      make a timely objection to the sale after receiving notice of the sale. In re Eliot, 94 B.R. 343, 345
16
      (E.D. Pa. 1988); see also, In re Ex-Cel Concrete Company, Inc., 178 B.R. 198, 203 (B.A.P. 9th Cir.
17
      1995) (“The issue here is whether there was consent or non-opposition by Citicorp.”); In re
18
      Paddlewheels, Inc., 2007 WL 1035151 (Bankr. E.D.La. April 2, 2007) (“The Sale Motion complies
19
      with section 363(f) of the Bankruptcy Code, in that the Trustee either obtained the consent of
20
      Whitney to the sale of the Vessel to Purchaser or Whitney had no objection to the Sale.”); In re
21
      Gabel, 61 B.R. 661 (Bankr. W.D. La. 1985) (implied consent is sufficient to authorize a sale under §
22
      363(f)(2)).
23
                    The Debtor reached out to the alleged lenders asserting Secured Claims – Hankey,
24
      Inferno, Yogi, and Hilldun (the “Lenders”) – to inquire as to whether each would consent to the
25
      proposed sale to the Buyer. The Debtor believes that some or all of the Lenders will consent, either
26
      affirmatively or via non-opposition to the Sale Motion. In addition, since the secured claim of the
27
      Los Angeles County Tax Collector will be paid in full, the Debtor also expects it will consent to the
28

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 1    proposed sale by one of the foregoing means. The Debtor has not reached out to the numerous
 2    mechanics’ lien creditors listed in the Secured Claims Summary – American Truck & Tool Rental,
 3    J&E Texture, Inc., JMS Air, Calgrove Rentals, BMC West, Parquet by Dan, Powertek Electric,
 4    Kennco Plumbing, and Kazemi & Associates (the “Construction Creditors”), but some or all of them
 5    may also consent to the proposed sale or not oppose the Motion.
 6                 To the extent that any of the Lenders, Construction Creditors, or other alleged Secured
 7    Creditors consents by one of the two means discussed above, the Court should approve the sale of the
 8    Property free and clear of such alleged Secured Creditors’ liens pursuant to Section 363(f)(2),
 9    provided that all alleged liens shall attach to the proceeds of the sale with the same extent, validity,
10    and priority as the alleged pre-petition liens held by the Secured Creditors.
11                         b.      Section 363(f)(4).
12           To satisfy Section 363(f)(4), there need only be an objective basis for a factual or legal dispute
13    as to the validity of the interest. In re Kellogg-Taxe, 2014 WL 1016045, at *6 (Bankr. C.D. Cal.
14    Mar.17, 2014) (citing In re Gaylord Grain L.L.C., 306 B.R. 624, 627 (B.A.P. 8th Cir. 2004)); In re
15    Daufuskie Island Props., LLC, 431 B.R. 626, 645 (Bankr. D.S.C. 2010); see also Higgins v. Vortex
16    Fishing Systems, Inc. (In re Vortex Fishing Sys., Inc.), 277 F.3d 1057, 1062 (9th Cir. 2002) (adopting
17    objective test for determining whether claim supporting involuntary petition is subject to bona fide
18    dispute). “[T]he moving party must ‘provide some factual grounds to show some objective basis for
19    the dispute.” SEC v. Capital Cove Bancorp LLC, 2015 WL 9701154, at *7 (C.D. Cal. Oct.13, 2015)
20    (emphasis added). The court “‘need not determine the probable outcome of the dispute, but merely
21    whether one exists.’” Capital Cove Bancorp, 2015 WL 9701154, at *7 (citing and quoting Kellogg-
22    Taxe, 2014 WL 1016045, at *6 (emphasis added). Notably, there is no requirement that a complaint
23    be filed to establish a bona fide dispute as to a lien or claim.
24                 Here, since many alleged Secured Creditors may consent to the proposed sale and/or be
25    “out of the money,” the Debtor has not expended additional estate resources to prepare formal
26    complaints and initiate litigation in regard to various the alleged Secured Claims. However, as set
27    forth in the Secured Claims Summary Chart there are factual grounds establishing a bona fide dispute
28    as to the Secured Claims asserted by Hankey (other than its claim for the DIP Loan), Inferno, and

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 1    YOGI, which assert approximately $142 million in alleged Secured Claims. The Debtor and Hilldun
 2    filed a stipulation providing that Hilldun’s claim was subject to a bona fide dispute such that Section
 3    363(f)(4) is satisfied as to its claim.
 4           In addition to the foregoing specific disputes, the priority of all of the Secured Claims (other
 5    than the secured claim of Hankey for the DIP Loan and the Los Angeles County Tax Collector) vis-à-
 6    vis one another are likely subject to bona fide dispute. The reason for the foregoing is that there are
 7    nine Construction Creditors. As set forth in the Title Report and Secured Claims Summary Chart, the
 8    liens of the Construction Creditors are generally recorded later in time from the liens of the Lenders.
 9    However, Cal. Civ. Code § 8450 provides that a mechanic’s lien priority relates back to the time of
10    commencement of work, not the date of the recordation of the lien. Construction Creditor J&E
11    Texture, Inc. has already asserted that its mechanic’s lien has priority over all other secured claims
12    other than Hankey’s claim for the DIP Loan. See 3/7/22 letter from J&E Texture, Inc.’s counsel to
13    Debtor’s counsel, a true and correct copy of which is attached hereto as Exhibit “4.” Based on the
14    foregoing, all of the Secured Claims (other than the secured claim of Hankey for the DIP Loan and
15    the Los Angeles County Tax Collector) are subject to bona fide dispute as to priority and possibly the
16    extent to which certain claims are undersecured.
17                         c. Section 363(f)(5).
18                 Under Section 363(f)(5), a debtor in possession may sell property free and clear of any
19    interest if the holder of that interest “could be compelled, in a legal or equitable proceeding, to accept
20    a money satisfaction of such interest.” 11 U.S.C. § 363(f)(5) (emphasis added). Section 363(f)(5) has
21    generally been interpreted to mean that if, under applicable law, the holder of the lien or interest
22    could be compelled to accept payment in exchange for its interest, the debtor in possession may take
23    advantage of that right by replacing the holder’s lien or interest with a payment or other adequate
24    protection. COLLIER ON BANKRUPTCY, ¶ 363.06 [6] (15th ed. rev. 2003).
25                 In Clear Channel Out-door, Inc. v. Knupfer (In re PW, LLC), 391 B.R. 25 (B.A.P. 9th
26    Cir. 2008) (“PW”), the BAP reversed the Bankruptcy Court’s approval of a sale to a senior lender
27    free and clear of the liens of the junior lienholder under § 363(f)(5). In reversing the Bankruptcy
28    Court’s decision, the BAP found that Section 363(f)(5) requires that “(1) a proceeding exists or could

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 1    be brought, in which (2) the nondebtor could be compelled to accept a money satisfaction of (3) its
 2    interest.” Id. at 41 (emphasis added). Analyzing the aforementioned factors in reverse order, the
 3    BAP concluded that a lien constitutes an “interest” for purposes of Section 363(f)(5). Id. With
 4    respect to the second factor, the BAP ruled that Section 363(f)(5) refers to those proceedings in which
 5    the creditor “could be compelled to take less than the value of the claim secured by the interest.” Id.
 6    (emphasis added). In order to approve a sale free and clear under Section 363(f)(5), the Court must
 7    “make a finding of the existence of … a mechanism [to address extinguishing the lien or interest
 8    without paying such interest in full] and the [debtor in possession] must demonstrate how satisfaction
 9    of the lien ‘could be compelled.’” Id. at 45. Finally, the BAP held that Section 363(f)(5) requires that
10    there be, “or that there be the possibility of, some proceeding, either at law or at equity, in which the
11    nondebtor could be forced to accept money in satisfaction of its interest.” Id.
12                Here, all of the factors set forth in PW for a sale free and clear of the liens of all alleged
13    Secured Creditors junior to Hankey’s first priority lien for the DIP loan (the “Junior Liens”) are
14    satisfied. First, as discussed in PW, all of the liens asserted by the alleged Secured Creditors
15    constitute an interest in property for the purposes of Section 363(f)(5). PW, 391 B.R. at 41.
16                Second, in regard to the combined other elements – that a proceeding exists or could be
17    brought, in which the alleged Secured Creditors holding the Junior Liens could be compelled to
18    accept a money satisfaction of their Junior Liens – as set forth above, Hankey has a senior lien on the
19    Property securing the DIP Loan. Hankey could conduct a judicial or non-judicial foreclosure on its
20    lien. In the event of foreclosure by Hankey, the Secured Creditors’ alleged Junior Liens (and
21    therefore their ability to foreclose on the Property in order to recover on their alleged Secured
22    Claims) could be eliminated and/or Secured Creditors could be compelled to accept money
23    satisfaction of their alleged Junior Liens securing their alleged Secured Claims against the Debtor.
24    See, e.g., FPCI RE-HAB 01 v. E & G Investments, Ltd., 207 Cal. App. 3d 1018, 1023, 255 Cal. Rptr.
25    157, 161 (Ct. App. 1989) (“‘The statutory scheme concerning nonjudicial foreclosure contemplates
26    that in order to protect its interest, a junior lienor must pay the trustor’s obligation to the senior
27    lienor.” (Arnolds Management Corp. v. Eischen, supra, 158 Cal.App.3d at p. 579, 205 Cal.Rptr. 15;
28    Civ.Code, §§ 2904, 2876, 2924c, sub. (a)(1).) If a junior lienor does not cure the default in the senior

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 1    obligation or redeem at the senior foreclosure, its lien will be extinguished at the foreclosure sale
 2    unless the successful bidder purchases at a price high enough to pay off the senior indebtedness and
 3    the junior indebtedness as well. (See, e.g., Bank of Hemet v. United States, (9th Cir.1981) 643 F.2d
 4    661.)”); Bank of Am. v. Graves, 51 Cal. App. 4th 607, 611–12, 59 Cal. Rptr. 2d 288, 291 (1996) (“A
 5    senior foreclosure sale conveys the property free of all junior liens.... Thus, the junior no longer
 6    has a lien on the property, and the security has been entirely destroyed. A sold-out junior thus holds
 7    security that has ‘become valueless' and is permitted to sue directly on the note.” (Bernhardt, Cal.
 8    Mortgage and Deed of Trust Practice (Cont.Ed.Bar 2d ed. 1990) § 4.8, pp. 193–194.)”); Cal.Civ.Code
 9    § 2924k (noting that when a senior trust deed holder forecloses, the funds from the sale are first used
10    to pay certain costs of sale, then second used to pay the obligations of the senior foreclosing lender
11    secured by the deed of trust that is the subject of the foreclosure sale, then third to pay the
12    outstanding balance of obligations secured by any junior liens in the order of their priority).
13                In addition to foreclosure serving as a “legal proceeding” by which an entity may be
14    compelled to accept less than full money satisfaction if its interest, courts have held that chapter 11
15    cramdown is also a “legal proceeding” by which an entity may be compelled to accept less than full
16    money satisfaction and which will permit the sale of creditor’s collateral free and clear of a lien under
17    Section 363(f)(5). 11 U.S.C. § 1129(b)(2)(A); In re Gulf States Steel, Inc. of Alabama, 285 B.R. 497,
18    508 (Bankr. N.D. Ala. 2002) (holding that the liens or interests identified in the sale motion could be
19    compelled to accept a money satisfaction in a cram down plan of reorganization in a chapter 11 case);
20    Scherer v. Federal National Mortgage Association (In re Terrace Chalet Apartments, LTD.), 159
21    B.R. at 829 (finding that Section 1129(b)(2) cram down is such a provision); In re Perroncello, 170
22    B.R. 189 (Bankr. D. Mass. 1994); In re Grand Slam, U.S.A. Inc., 178 B.R. 460, 462 (E.D. Mich.
23    1995); Collier ¶ 363.06[6][a]. Thus, the Debtor can sell property free and clear of a creditor’s lien it
24    if demonstrates it can cram down the creditor’s interest pursuant to § 1129(b)(2).
25                Section 1129(b)(2)(A) allows cram-down of a secured creditor, provided that it receives
26    “the indubitable equivalent” of its claim.       A debtor can cram down a secured creditor if it
27    demonstrates (1) the debtor is not unfairly discriminating against the secured creditor, 11 U.S.C. §
28    1129(b)(1), (2) it is acting in good faith, 11 U.S.C. § 1129(a)(3), (b)(1), (3) the secured creditor will

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 1    retain its lien to the extent of its allowed claim, 11 U.S.C. § 1129(b)(2)(A)(i)(I), and (4) the secured
 2    creditor is receiving the actual value of its claim, 11 U.S.C. § 1129(b)(2)(A)(i)(II). See also In re
 3    Sandy Ridge Dev. Corp., 881 F.2d 1346, 1350 (5th Cir.1989) (holding that "indubitable equivalent"
 4    of a secured creditor's interest is the actual value of the claim). In In re Hunt Energy Co., Inc., 48
 5    B.R. 472, 485 (Bankr. N.D. Ohio, 1985), the court found that a lien which attaches to the proceeds of
 6    a sale would necessarily be reduced by subsequent valuation at a hearing under Section 506(a) to
 7    meet the “indubitable equivalence” requirements of Section 1129(b)(2)(A).                 Once Section
 8    1129(b)(2)(A) is satisfied, the lienholder would be compelled through the cram-down process to
 9    accept such money satisfaction as dictated by the cram-down provisions. Id.
10                All of the above requirements for cram down are met in this case. The sale of the
11    Property is being conducted in good faith, and, as indicated above, the Debtor believes that the
12    Purchase Price to be paid by the Buyer, or a successful Overbidder approved by the Court, is the
13    highest and best price that can be obtained for the Property under the circumstances. Further, all of
14    the Junior Liens shall attach to the proceeds of the sale with the same extent, validity, and priority as
15    the alleged pre-petition liens held by the Secured Creditors. Under these circumstances, to the extent
16    it is allowed, the alleged Secured Creditors with Junior Liens will receive the actual value of their
17    alleged Secured Claims as measured by Section 506(a), and the Secured Creditors with Junior Liens
18    are being treated fairly and in accordance with the priority of their alleged Junior Liens, so there is no
19    unfair discrimination present in the proposed sale.
20                Based on the foregoing, the Debtor can sell free and clear of the alleged Junior Liens
21    pursuant to Section 363(f)(5) (as well as well as Section 363(f)(1)).
22    C.          THE COURT SHOULD APPROVE THE PAYMENT OF CERTAIN CLAIMS
                  FROM SALE PROCEEDS UPON THE CLOSE OF THE SALE OF THE
23                PROPERTY AND ANY SALE OF THE FURNITURE.
24                LBR 6004-1(h) provides as follows:
25                        A disbursement of proceeds [from a sale of estate property] must
26                        not be made without a specific order of the court authorizing the
                          disbursement, except for payment to secured creditors, payment to a
27                        debtor of exempt proceeds, and payment for expenses of sale.
                          Proceeds may be disbursed to pay auctioneer’s fees and brokers’
28                        commissions without additional order of the court if payment is

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 1                        consistent with the terms of the order approving the sale or
                          authorizing the employment of the auctioneer or broker.
 2
           LBR 6004-1(h).
 3
                  Here, pursuant to the Sale Motion, the Debtor is requesting authority to pay from the
 4
      proceeds of the sale of the Property out of escrow on closing: (1) the outstanding balance of the DIP
 5
      Loan provided by Hankey, which is secured by a first priority lien and which DIP Loan and first
 6
      priority lien were approved by a prior order of the Court (approximately $12,059,500), (2) Hankey’s
 7
      senior receivership certificate loan, which was an advance of funds on a senior secured basis to the
 8
      pre-petition receivership estate, as evidenced by Hankey’s Proof of Claim No 19 in the asserted
 9
      amount of $848,511, (3) Hankey’s first priority pre-petition loan in the principal amount of $82.5
10
      million, subject to accounting to be received from Hankey, as described in Hankey’s Proof of Claim
11
      No. 20, (4) the claims of any taxing authorities or governmental units (as defined in 11 U.S.C. §
12
      101(27) apportioned to the Debtor prior to the close of the sale that are secured by liens included in
13
      the non-Excepted Items (approximately $2.488 million), (5) a commission equal to two percent (2%)
14
      of the Purchase Price to be paid to and split equally between (a) the Debtor’s Brokers, whose
15
      employment and one percent (1%) commission were previously approved by the Court’s
16
      Employment Order, and (b) the Buyer’s Brokers, whose one percent (1%) commission was
17
      previously approved by the Court’s Employment Order, with any split between the Debtor’s Brokers
18
      and the Buyer’s Brokers to be determined by them ($2.520 million), and (6) any other customary
19
      escrow closing fees and charges allocated to the Debtor (approximately $630,000). All of the
20
      foregoing payments are consistent with allowed disbursements of sale proceeds under LBR 6004-
21
      1(h).
22
      D.          THE COURT SHOULD WAIVE THE 14-DAY STAY PERIOD SET FORTH IN
23                BANKRUPTCY RULES 6004(h).
24                FRBP 6004(h) provides, among other things, that an “order authorizing the … sale … of
25    property . . . is stayed until the expiration of 14 days after entry of the court order, unless the court
26    orders otherwise.” Fed.R.Bankr.P. 6004(h).
27                Here, the hearing on the Sale Motion is scheduled for March 18, 2022. Under the
28    Purchase Agreement and the Court approved Bid Procedures, the Buyer is required to close by March

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 1    21, 2022. It is important that the sale close as soon as possible (1) to avoid a breach of the Purchase
 2    Agreement, (2) to reduce the chances that the Buyer (or successful Overbidder approved by the
 3    Court) fails to close due to the passage of time, (3) to limit the accrual of additional interest, taxes,
 4    and upkeep expenses that have to be paid by the estate, and (4) to avoid the need for the Debtor to
 5    exercise the term extension option under the DIP Loan, which would result in the estate incurring an
 6    extension fee of $126,000.
 7        Based on the foregoing, the Debtor requests that the Court waive the stay under FRBP 6004(h)
 8    and that the Sale Order be effective immediately upon entry.
 9                                                         III.
10                                                  CONCLUSION
11                WHEREFORE, the Debtor respectfully requests that this Court enter a Sale Order
12    granting the Sale Motion and providing the relief requested in paragraphs (1) through (5) of the above
13    Sale Motion and granting such further and additional relief as the Court deems just and proper.
14
       Dated: March 8, 2022                              CRESTLLOYD, LLC
15

16                                                       /s/ David B. Golubchik
                                                         DAVID B. GOLUBCHIK
17                                                       TODD M. ARNOLD
                                                         LEVENE, NEALE, BENDER, YOO
18                                                           & GOLUBCHIK L.L.P.
                                                         Attorneys for Debtor and Debtor in Possession
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 1                               DECLARATION OF LAWRENCE R. PERKINS
 2                I, LAWRENCE R. PERKINS, hereby declare as follows:

 3                1.      I am over 18 years of age. I have personal knowledge of the facts set forth below

 4     and, if called to testify, would and could competently testify thereto.

 5                2.      I am the Founder and Chief Executive Officer of SierraConstellation Partners LLC

 6     (“SCP”) and have nearly 20 years of management consulting and advisory experience with

 7     companies undergoing transition. I have enhanced business performance for numerous companies on

 8     projects ranging from interim management, profit improvement and working capital management to

 9     strategic planning and transaction execution.

10                3.      I have served in a variety of senior level positions including Financial Advisor,

11     Strategic Consultant, Investment Banker, Financial Executive, and Crisis Manager to numerous

12     middle market companies and believe that I am particularly skilled at assisting clients through

13     challenging situations.

14                4.      Prior to founding SCP, I was a Senior Managing Director and Regional Leader of

15     a national consulting firm where he was responsible for business development, marketing, staffing,

16     and general management of the firm’s western region. I joined the firm in 2010 when it acquired El

17     Molino Advisors, a company I founded in January 2007 and led as the CEO.

18                5.      I began my career in the strategic consulting group of Arthur Andersen after

19     graduating from the University of Southern California Marshall School of Business. I am currently on

20     the board of several non-profits, and two corporate boards, and am a member of the Young Presidents

21     Organization.

22                6.      SCP became the Non-Member Manager of the Debtor in October 2021 and is the

23     current Non-Member Manager of the Debtor. I have access to the Debtor’s books and records.

24                7.      I make this Declaration in support of the Sale Motion to which this Declaration is

25     attached. Unless otherwise stated, all capitalized terms herein have the same meaning as in the Sale

26     Motion.

27                8.      On October 26, 2021 (the “Petition Date”), the Debtor commenced its bankruptcy

28     case by filing a voluntary petition under Chapter 11 of the Bankruptcy Code. The Debtor is operating

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 1     its estate and managing its financial affairs as a debtor in possession pursuant to Sections 1107 and
 2     1108.
 3                9.      The Debtor’s primary asset is the residential Property that it developed, which is
 4     located at 944 Airole Way, Los Angeles, CA 90077. I believe that the Property is one of the finest
 5     pieces of property in America. The Property is situated on an approximately four-acre Bel Air
 6     promontory, featuring the best views of Los Angeles. A moat that encompasses the Property gives
 7     the impression that it’s floating on water. The approximately 105,000-square-foot glass and marble
 8     compound holds 21 bedrooms, each with sweeping views of Los Angeles and the ocean, and 42 full
 9     and 7 half bathrooms, as well as numerous amenities. It features a 30-car garage, five swimming
10     pools, a two-story waterfall, and numerous other water features, as well as two restaurant-grade
11     kitchens, an indoor/outdoor entertainment center with its own VIP room, a movie theater, charitable
12     organization rooms, a four-lane bowling alley, a library with floor-to-ceiling windows, a full beauty
13     salon, a spa with a steam room and jacuzzi, a cigar lounge, and a gym. Three smaller villas also sit
14     on the property, spread across the four acres. The 5,000-square-foot master suite is an oasis within
15     the mansion. Designed with its own separate office and walk-in closet, the suite also has its own pool
16     and kitchen. To guarantee privacy, it’s isolated from the rest of the house. The mansion includes
17     five elevators and LED ceilings that display images of moving clouds. The Property features state-of-
18     the-art technology, with a full security center. The design encompasses secondary corridors for staff
19     to use.
20                10.     The Debtor’s Schedules of Assets and Liabilities (the “Schedules”) listed $176.6
21     million in claims allegedly secured by the Property, $0 in priority unsecured claims, and $3.4 million
22     in general unsecured claims. The Court set a claims bar date of January 14, 2022 (the “Bar Date”)
23     [Dkt. 60] and 26 proofs of claim (the “POCs”) were filed asserting $183.6 million in claims allegedly
24     secured by the Property, $2,666 in priority unsecured claims, and $59.2 million in general unsecured
25     claims. There is substantial overlap between the claims included in the Schedules and asserted by the
26     POCs. The main reason for the large difference between general unsecured claims in the Schedules
27     and asserted by the POCs is a $44.4 million claim asserted by the beneficial owner of the Debtor
28     (Nile Niami) that was not listed in the Schedules.

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 1                 11.    In addition, after the Petition Date, the Debtor filed a motion (the “DIP Motion”)
 2     [Dkt. 66] seeking Court approval to obtain a $12 million DIP Loan from Hankey secured by a first
 3     position lien on the Property and, with limited exceptions, all of the Debtor’s personal property,
 4     pursuant to the loan documents for the DIP Loan. One of the purposes of the DIP Loan was to allow
 5     the Debtor to make certain repairs to the Property and to market and sell the Property on an expedited
 6     basis with a sale to close on March 21, 2022 (the “Closing Date”). On January 27, 2022, the Court
 7     entered its final order granting the DIP Motion. [Dkt. 122] Thereafter, the Debtor drew down the
 8     entire DIP Loan, less fees and expenses payable to Hankey as the lender. After identifying the
 9     highest of a creditors scheduled and POC claim amounts, as of the Petition Date, plus the DIP Loan,
10     the Debtor had approximately $195.771 million in claims allegedly secured by liens on Debtor’s
11     Property.
12                 12.    Based on the foregoing, information received from certain alleged secured
13     creditors, and other information available to the Debtor, including calculations of post-Petition Date
14     interest for certain senior alleged secured claims, I am informed and believe that, as of the projected
15     Closing Date, the Debtor’s alleged secured creditors will be asserting claims totaling approximately
16     $203.69 million (the “Secured Claims”), which amount may be higher to the extent secured creditors
17     have attorneys’ fees and costs allowed as part of their claims. However, as set forth below, the
18     Debtor believes that there are numerous bases to object to and eliminate or reduce portions of the
19     Secured Claims. The creditors asserting secured claims against the Debtor (the “Secured Creditors”),
20     together with the estimated amount of the alleged Secured Claims as of the Closing Date (not
21     including any additional allowed attorneys’ fees and costs), the priority thereof according to the Title
22     Report, and certain bases to object to some of the Secured Claims are summarized below (the
23     “Secured Claims Summary Chart”), which is a summary only and is not an admission as to the
24     validity of any claim or lien, the priority of any claim or lien, the amount of accrued post-petition
25     interest (or the entitlement thereto), or the waiver of any bases to object to any alleged Secured
26     Claim. The Secured Claims Summary is based on the Debtor’s books and records, information
27     received from certain alleged Secured Creditors, including the attachments to the POCs filed by the
28     Secured Creditors and referenced below, and other information available to the Debtor.

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 1
                          Secured Claim Per                                                            Notes
 2                       Higher of Schedules of
                                 POC

 3
       Creditor          POC        Secured        Estimated        Total Claim        Estimated
                                                   Additional                            Claim
 4                                                 Interest to                          Based on
                                                  Closing Date                          Potential
                                                                                        Objection
 5     Hankey Capital,           $12,000,000.00      $59,500.00     $12,059,500.00    $12,059,500.00   DIP Loan
       LLC
 6     Los Angeles        5       $3,190,280.76   Not Calculated     $3,190,280.76     $2,488,815.00   Property Taxes
       County Tax
       Collector
                                                                                                       The County its POC on 12/7/21.
 7                                                                                                     The Debtor paid $701,465.73 on
                                                                                                       1/6/22 as the first installment of the
 8                                                                                                     2021-2022 tax bill. Thus, the claim
                                                                                                       is $2,488,815.
 9     County of Los                      $0.00   Not Calculated             $0.00             $0.00   Special Assessment
       Angeles
       County of Los                      $0.00   Not Calculated             $0.00             $0.00   Special Assessment
10     Angeles
       County of Los                      $0.00   Not Calculated             $0.00             $0.00   Special Assessment
11     Angeles
       Hankey Capital,   20     $122,638,623.41   $6,839,418.99    $129,478,042.40   $104,541,764.62   Per the POC and the attachments
       LLC
12                                                                                                     thereto:
                                                                                                       (1) Hankey Made these loans to the
                                                                                                       Debtor:
13
                                                                                                       o Oct 25th, 2018: $82,500,000
                                                                                                       o Dec 12th, 2019: $91,000,000
14                                                                                                     (incremental 8.5mm on original)
                                                                                                       o Aug 20th, 2020: $106,000,000
15                                                                                                     (incremental $15mm)
16                                                                                                     (2) Hankey recorded these Deeds of
                                                                                                       Trust (each a "DOT")
17                                                                                                     o Oct 25th, 2018 DOT: secured
                                                                                                       $82.5mm (Recording No:
18                                                                                                     20181122917)
                                                                                                       o Aug 31st, 2020 amendment to Oct
19                                                                                                     25th, 2018 DOT: secured amended
                                                                                                       $106mm note (Recording No:
20                                                                                                     20201030024)

21                                                                                                     (3) The $106 million loan had a
                                                                                                       maturity date of Oct. 31, 2020 and
22                                                                                                     the Debtor did not pay the loan by
                                                                                                       the maturity date so Hankey called a
23                                                                                                     default.

24                                                                                                     The Debtor believes that there may
                                                                                                       be bases to object to the secured
                                                                                                       status of the subsequent Dec 12th,
25                                                                                                     2019 loan and/or the subsequent
                                                                                                       Aug 20th, 2020 loan (and any
26                                                                                                     related interest and attorneys' fees)
                                                                                                       on the grounds that there was no
27                                                                                                     stand-alone security agreement and
                                                                                                       recorded DOT for this increased
28                                                                                                     obligation.

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 1                 Secured Claim Per                                                Notes
                  Higher of Schedules of
                          POC
 2
       Creditor   POC        Secured        Estimated     Total Claim   Estimated
 3                                          Additional                    Claim
                                            Interest to                 Based on
                                           Closing Date                 Potential
 4                                                                      Objection

 5                                                                                  The Debtor believes that there may
                                                                                    be a basis to object to the priority of
 6                                                                                  Hankey’s DOT to secure anything
                                                                                    other than the Oct 25th, 2018 loan
 7                                                                                  for $82,500,00 (and any related
                                                                                    attorneys’ fees and interest),
 8                                                                                  because, (1) prior to the Oct 25th,
                                                                                    2018 loan and related DOT, Inferno
 9                                                                                  had a senior DOT and (2) pursuant
                                                                                    to the Subordination Agreement
10                                                                                  entered into by the Debtor, Hankey,
                                                                                    and Inferno, Inferno only agreed to
11                                                                                  subordinate its DOT to Hankey’s
                                                                                    Oct 25th, 2018 DOT to secure the
12                                                                                  obligations under the Oct 25th,
                                                                                    2018 loan for $82,500,00 (and any
13                                                                                  related attorneys’ fees and interest),
                                                                                    not for any further loans.
14
                                                                                    The Debtor believes that there may
                                                                                    be a basis to object to the secured
15                                                                                  status of the subsequent Dec 12th,
                                                                                    2019 loan as a constructively
16                                                                                  fraudulent transfer, because it is
                                                                                    allegedly secured by the Aug 31st,
17                                                                                  2020 amendment to Oct 25th, 2018
                                                                                    DOT and the Debtor did not get any
18                                                                                  additional consideration for
                                                                                    providing security on the Dec 12th,
19                                                                                  2019 loan over 8 months after it
                                                                                    was made.
20

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 1                        Secured Claim Per                                                      Notes
                         Higher of Schedules of
                                 POC
 2
       Creditor          POC        Secured        Estimated     Total Claim     Estimated
 3                                                 Additional                      Claim
                                                   Interest to                    Based on
                                                  Closing Date                    Potential
 4                                                                                Objection
       Hankey Capital,   18       $5,000,000.00            NA    $5,000,000.00   $1,300,000.00   Per 8/20/20 Profit Participation
 5     LLC
                                                                                                 Agreement (“PPA”) attached to
                                                                                                 POC: “If, at any time, during the
 6                                                                                               term of the Loan or subsequent to
                                                                                                 Borrower’s repayment of the Loan,
 7                                                                                               the Property is sold by the
                                                                                                 Borrower, or by any affiliate of the
 8                                                                                               Borrower, for a purchase price in
                                                                                                 excess of One Hundred Million and
 9                                                                                               No/100 Dollars ($100,000,000),
                                                                                                 Lender shall be entitled to receive,
10                                                                                               from the sale proceeds, a Lender
                                                                                                 Profit Participation Payment in the
11                                                                                               amount equal to the lesser of (a)
                                                                                                 five percent (5.0%) of the gross
12                                                                                               sales price for the Property which
                                                                                                 exceeds $100,000,000, or (b) Five
13                                                                                               Million and Noll 00 Dollars
                                                                                                 ($5,000,000.00).
14
                                                                                                 The Debtor believes that there may
                                                                                                 be bases to object to the secured
15                                                                                               status of this POC, because (a) the
                                                                                                 Loan matured on October 31, 2020
16                                                                                               and the Debtor did not sell the
                                                                                                 property prior to the expiration of
17                                                                                               the term of the Loan nor did the
                                                                                                 Debtor sell the Property after the
18                                                                                               repayment of the Loan; therefore,
                                                                                                 the conditions to payment under the
19                                                                                               8/20/20 PPA were not satisfied, (b)
                                                                                                 the claim can be re-characterized
20                                                                                               from debt to equity since it involves
                                                                                                 and is based on sharing in profit and
21                                                                                               the obligation could remain even
                                                                                                 after repayment of the Hankey loans
22                                                                                               and (one would imagine) re-
                                                                                                 conveyance of the Hankey DOT’s
23                                                                                               to the Debtor, (c) the PPA does not
                                                                                                 clearly specify that it is secured by
24                                                                                               the Property, and (d) Hankey, in
                                                                                                 addition to its DOTs, recorded a
25                                                                                               Memorandum of Agreement
                                                                                                 regarding the PPA, which also does
                                                                                                 not clearly state that the obligations
26
                                                                                                 thereunder are secured by the
                                                                                                 Property.
27

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 1                        Secured Claim Per                                                         Notes
                         Higher of Schedules of
                                 POC
 2
       Creditor          POC        Secured        Estimated      Total Claim       Estimated
 3                                                 Additional                         Claim
                                                   Interest to                      Based on
                                                  Closing Date                      Potential
 4                                                                                  Objection
       Hankey Capital,   17       $3,500,000.00            NA      $3,500,000.00           $0.00    Per 10/25/18 PPA attached to POC:
 5     LLC
                                                                                                    “If, at any time, during the term of
                                                                                                    the Loan or following repayment of
 6                                                                                                  the Loan, the Property is sold by the
                                                                                                    Borrower, or by any affiliate of the
 7                                                                                                  Borrower, for a purchase price in
                                                                                                    excess of $200,000,000), Lender
 8                                                                                                  shall be entitled to receive, from the
                                                                                                    sale proceeds, a Lender Profit
 9                                                                                                  Participation Payment in the amount
                                                                                                    of $3,500,000.” The Purchase Price
10                                                                                                  is under $200 million. Thus, in
                                                                                                    addition to the arguments above
11                                                                                                  regarding the 8/20/20 PPA, the
                                                                                                    condition to trigger this PPA will
12                                                                                                  not be satisfied by the proposed sale
                                                                                                    under the Sale Motion.
13
       Hankey Capital,   19         $845,811.04      $33,569.66     $879,380.70      $879,380.70    Receiver's Certificate 1 and 2.
14     LLC
       Inferno           11      $20,902,106.12     $354,473.24   $21,256,579.36   $18,256,000.00   Per the POC and the attachments
15     Investment Inc.
                                                                                                    thereto:

16                                                                                                  Note 1 dated 3/13/13 for
                                                                                                    $3,925,545 provides as follows:
17                                                                                                  "Due to the fact that the security for
                                                                                                    this Note is a deed of trust third in
18                                                                                                  priority to a first and second deed of
                                                                                                    trust on the Property, thereby
19                                                                                                  making this loan a "high risk loan",
                                                                                                    Borrower agrees to pay Lender
20                                                                                                  additional consideration and not as
                                                                                                    additional interest as follows: Fifty
21                                                                                                  percent (50%) of the net profits
                                                                                                    derived from the sale of each of the
22                                                                                                  residences located at 271 S.
                                                                                                    Mapleton Drive, Los Angeles, CA
                                                                                                    and 1175 Hillcrest, Beverly Hills,
23                                                                                                  CA and Fifteen percent (15%) of
                                                                                                    the net profits derived from the sale
24                                                                                                  of the residence at 944 Airole, Los
                                                                                                    Angeles, CA"
25
                                                                                                    Note 2 dated 3/13/13 for
26                                                                                                  $14,000,040 was later modified to
                                                                                                    $7 million in October 2015 for
27                                                                                                  reasons that are unknown to the
                                                                                                    Debtor's current management.
28

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 1                 Secured Claim Per                                                Notes
                  Higher of Schedules of
                          POC
 2
       Creditor   POC        Secured        Estimated     Total Claim   Estimated
 3                                          Additional                    Claim
                                            Interest to                 Based on
                                           Closing Date                 Potential
 4                                                                      Objection
                                                                                    DOTs - The DOT recorded on
 5                                                                                  3/13/13 only secured the second
                                                                                    note for $14,000,040, as the first
 6                                                                                  note for $3,925,545 is not
                                                                                    referenced until a Modification and
 7                                                                                  Supplement to Deed of Trust
                                                                                    recorded on 11/10/15.The Debtor
 8                                                                                  believes that there may be bases to
                                                                                    object to a material amount of the
 9                                                                                  claim, because (1) (a) the language
                                                                                    of the first note appears to indicate
10                                                                                  that such loan was related to the
                                                                                    Debtor's Property and two
11                                                                                  properties (271 S. Mapleton and
                                                                                    1175 Hillcrest) that, to my
12                                                                                  knowledge, were not owned by the
                                                                                    Debtor and the first note includes a
13                                                                                  profit sharing provision, and (b) the
                                                                                    second note for $14,000,040 was
14                                                                                  later modified to $7 million, both of
                                                                                    which call into question the amount
                                                                                    that was actually loaned to the
15                                                                                  Debtor, (2) books and records
                                                                                    currently available to the Debtor do
16                                                                                  not indicate that Inferno loaned
                                                                                    $17,925,585 to the Debtor, (3)
17                                                                                  despite the reduction of the second
                                                                                    note for $14,000,040 down to $7
18                                                                                  million, the interest calculation
                                                                                    attached to the POC includes 31
19                                                                                  months of interest totaling $2.901
                                                                                    million on the basis of a loan in the
20                                                                                  amount of $14,000,040, and (4) to
                                                                                    the extent any portion of the first
21                                                                                  note was for profit sharing, such
                                                                                    portion would be subject to
22                                                                                  recharacterization for the reasons
                                                                                    discussed above.
23
                                                                                    The Debtor also believes that there
24                                                                                  may be bases to object to the
                                                                                    secured status of the first note for
25                                                                                  $3,925,5453 because, (1) as noted,
                                                                                    the DOT recorded on 3/13/13 only
                                                                                    secured the second note for
26
                                                                                    $14,000,040, as the first note for
                                                                                    $3,925,5453 is not referenced until
27                                                                                  a Modification and Supplement to
                                                                                    Deed of Trust recorded on 11/10/15
28                                                                                  and the Debtor did not get any

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 1                 Secured Claim Per                                                Notes
                  Higher of Schedules of
                          POC
 2
       Creditor   POC        Secured        Estimated     Total Claim   Estimated
 3                                          Additional                    Claim
                                            Interest to                 Based on
                                           Closing Date                 Potential
 4                                                                      Objection
                                                                                    additional consideration for
 5                                                                                  allegedly providing security for the
                                                                                    first note over two and a half years
 6                                                                                  after the loan thereunder was
                                                                                    purportedly made and (2) the DOT
 7                                                                                  does not cover any alleged claim to
                                                                                    profit sharing under the first note.
 8
                                                                                    In addition, the Debtor and Inferno
 9                                                                                  entered into a “Memorandum of
                                                                                    Agreement” dated January 1, 2016
10                                                                                  pursuant to which that parties
                                                                                    (including Inferno) agreed that,
11                                                                                  prior to Inferno receiving any
                                                                                    payment, Inferno agrees that
12                                                                                  payments must first be made to all
                                                                                    outstanding loans and construction
13                                                                                  costs for the Property. As a result,
                                                                                    Inferno has contractually
14                                                                                  subordinated itself to all other loans
                                                                                    and construct costs for the Property.
                                                                                    A true and correct copy of the
15                                                                                  foregoing Memorandum of
                                                                                    Agreement is attached as Exhibit
16                                                                                  “6” hereto.
17                                                                                  I am informed and believe that,
                                                                                    weeks ago the Debtor’s counsel
18                                                                                  requested that Inferno’s counsel
                                                                                    send documentation regarding the
19                                                                                  funding of the purported loans. I
                                                                                    am informed and believe that,
20                                                                                  despite the foregoing, it was not
                                                                                    until March 7, 2022 (i.e., a mere
21                                                                                  day before the deadline to file the
                                                                                    Sale Motion) that Inferno’s counsel
22                                                                                  sent such documentation, so the
                                                                                    Debtor has not had time to analyze
23                                                                                  it. However, it is notable that, in the
                                                                                    email transmittal of the
24                                                                                  documentation that was sent to the
                                                                                    Debtor’s counsel and forwarded to
25                                                                                  me, Inferno’s counsel admitted that
                                                                                    Inferno had not yet found
                                                                                    documentation regarding funding of
26
                                                                                    $7 million of the alleged loan from
                                                                                    Inferno. A true and correct copy of
27                                                                                  the 3/7/22 email from Inferno’s
                                                                                    counsel to the Debtor’s counsel that
28                                                                                  was forwarded to me is attached

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 1                        Secured Claim Per                                                         Notes
                         Higher of Schedules of
                                 POC
 2
       Creditor          POC        Secured        Estimated      Total Claim       Estimated
 3                                                 Additional                         Claim
                                                   Interest to                      Based on
                                                  Closing Date                      Potential
 4                                                                                  Objection
                                                                                                    hereto as Exhibit “4” without
 5                                                                                                  exhibits.
 6

 7

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13     YOGI Securities   15      $21,943,053.75     $632,134.92   $22,575,188.67   $18,000,000.00   Per the POC and the attachments
       Holdings, LLC
                                                                                                    thereto:Note dated 10/16/18 for
14                                                                                                  $30,188,235 provides, inter alia,
                                                                                                    that (1) the loan was to be paid in
15                                                                                                  full upon the sale of the Debtor's
                                                                                                    property or the Hillcrest Property
16                                                                                                  and that payments would also be
                                                                                                    due as the Londonderry Property,
17                                                                                                  Bellagio Property, Carcassonne
                                                                                                    Property, and Stone Ridge Property
18                                                                                                  were sold (with the Hillcrest
                                                                                                    Property, Londonderry Property,
19                                                                                                  Bellagio Property, Carcassonne
                                                                                                    Property, and Stone Ridge Property
20                                                                                                  as defined in the note and
                                                                                                    collectively referred to here as the
21                                                                                                  "Other Properties"), (2) at least in
                                                                                                    regard to the Londonderry Property,
22                                                                                                  Bellagio Property, Carcassonne
                                                                                                    Property, and Stone Ridge Property,
                                                                                                    the DOT's for those properties were
23
                                                                                                    provided by entities other than the
                                                                                                    Debtor. The Debtor believes that
24                                                                                                  there may be bases to object to a
                                                                                                    material amount of the claim,
25                                                                                                  because (1) the language of the note
                                                                                                    appears to indicate that such loan
26                                                                                                  was related to the Debtor's Property
                                                                                                    and at least four properties (the
27                                                                                                  Londonderry Property, Bellagio
                                                                                                    Property, Carcassonne Property,
28                                                                                                  and Stone Ridge Property) owned

                                                                      46
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 1                 Secured Claim Per                                                Notes
                  Higher of Schedules of
                          POC
 2
       Creditor   POC        Secured        Estimated     Total Claim   Estimated
 3                                          Additional                    Claim
                                            Interest to                 Based on
                                           Closing Date                 Potential
 4                                                                      Objection
                                                                                    by entities other than the Debtor
 5                                                                                  which calls into question the
                                                                                    amount that was actually loaned to
 6                                                                                  the Debtor, (2) $5.2 million of the
                                                                                    loan was to be advanced upon
 7                                                                                  request by the Debtor and only if
                                                                                    there were no defaults and there is
 8                                                                                  no indication in the books and
                                                                                    records currently available to the
 9                                                                                  Debtor that this occurred, (3) books
                                                                                    and records currently available to
10                                                                                  the Debtor do not indicate that
                                                                                    YOGI loaned $30,188,235 to the
11                                                                                  Debtor, (4) four of the Other
                                                                                    Properties (the Hillcrest Property,
12                                                                                  Bellagio Property, Carcassonne
                                                                                    Property, and Londonderry
13                                                                                  Property) providing for a pay down
                                                                                    on the note sold, yet YOGI did not
14                                                                                  collect the required pay down
                                                                                    amounts per the note (a) Hillcrest
                                                                                    Property sold for $38.3 million,
15                                                                                  note required payment in full, only
                                                                                    $2.917 million received and applied
16                                                                                  to loan balance by YOGI), (b)
                                                                                    Bellagio Property sold for $36
17                                                                                  million, note required payment of
                                                                                    $10 million, only $2.5 million
18                                                                                  received and applied to loan balance
                                                                                    by YOGI), (c) Carcassonne
19                                                                                  Property sold for $36 million, note
                                                                                    required payment of $15 million,
20                                                                                  only $4.310 million received and
                                                                                    applied to loan balance by YOGI),
21                                                                                  and (d) Londonderry Property sold
                                                                                    for $26 million, note required
22                                                                                  payment of $10 million, only
                                                                                    $6.013 million received and applied
23                                                                                  to loan balance by YOGI), and (5)
                                                                                    one of the Other Properties (the
24                                                                                  Stone Ridge Property) providing for
                                                                                    a pay down on the note sold for
25                                                                                  $9.95 million, yet YOGI did not
                                                                                    collect any payment upon the close
                                                                                    of that sale (at least the attachment
26
                                                                                    to the POC does not show any pay
                                                                                    down) (property sold for $9.95
27                                                                                  million, note required a $5 million
                                                                                    pay down, $0 received and applied
28                                                                                  to loan balance by YOGI).

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 1                         Secured Claim Per                                                       Notes
                          Higher of Schedules of
                                  POC
 2
       Creditor           POC        Secured        Estimated       Total Claim     Estimated
 3                                                  Additional                        Claim
                                                    Interest to                     Based on
                                                   Closing Date                     Potential
 4                                                                                  Objection

 5                                                                                                 The property sale information set
                                                                                                   forth above was obtained from
 6                                                                                                 online searches at redfin.com,
                                                                                                   Zillow.com, and similar other
 7                                                                                                 websites that show sales dates and
                                                                                                   prices.
 8
                                                                                                   The Debtor understands that it is
 9                                                                                                 possible that the pay downs were
                                                                                                   less than required by the note based
10                                                                                                 on the sale price for the Other
                                                                                                   Properties and the position of
11                                                                                                 YOGI's liens on the Other
                                                                                                   Properties. However, additional
12                                                                                                 information is needed and the fact
                                                                                                   that the pay down from the Bellagio
13                                                                                                 Property was exactly $2.5 million
                                                                                                   calls into question whether YOGI
14                                                                                                 was maximizing recoveries from the
                                                                                                   Other Properties, which may be a
                                                                                                   basis for equitable subordination.
15                                                                                                 The Debtor believes that there may
                                                                                                   be a basis to object to the secured
16                                                                                                 status of a portion of the loan as a
                                                                                                   constructively fraudulent transfer to
17                                                                                                 the extent the loan rolled up prior
                                                                                                   loans that were not made to the
18                                                                                                 Debtor and/or and secured them
                                                                                                   with the Property.
19     American Truck     14         $188,087.09   Not Calculated     $188,087.09    $188,087.09   Mechanic's Lien
       & Tool Rentals
       Inc.
20     J&E Texture,       13         $284,086.99   Not Calculated     $284,086.99    $284,086.99   Mechanic's Lien
       Inc.
21     Hilldun             9       $5,000,000.00             NA     $5,000,000.00          $0.00   On March 7, 2022, the Debtor and
       Corporation
                                                                                                   Hilldun filed their stipulation
22                                                                                                 providing that Hilldun’s claim was
                                                                                                   subject to bona fide dispute for the
23                                                                                                 purposes of Section 363(f)(4).
       JMS Air                        $51,290.00   Not Calculated      $51,290.00     $51,290.00   Mechanic's Lien
       Conditioning
24     Calgrove Rentals                    $0.00   Not Calculated           $0.00          $0.00   Mechanic's Lien
       Inc.
25     BMC West LLC                    $2,399.00   Not Calculated       $2,399.00      $2,399.00   Mechanic's Lien
       City of Los                         $0.00   Not Calculated           $0.00          $0.00
26     Angeles
       Parquet by Dian                $40,846.00   Not Calculated      $40,846.00     $40,846.00   Mechanic's Lien
27     Powertek           16          $40,480.00   Not Calculated      $40,480.00     $40,480.00   Mechanic's Lien
       Electric Inc.
       Kennco              6          $85,560.17   Not Calculated      $85,560.17     $85,560.17   Mechanic's Lien
28     Plumbing, Inc.


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 1                        Secured Claim Per                                                            Notes
                         Higher of Schedules of
                                 POC
 2
       Creditor         POC         Secured        Estimated        Total Claim        Estimated
 3                                                 Additional                            Claim
                                                   Interest to                         Based on
                                                  Closing Date                         Potential
 4                                                                                     Objection
       Kazemi &          24          $59,173.34   Not Calculated        $59,173.34       $59,173.34    Mechanic's Lien Not Attached to
 5     Associates
                                                                                                       POC
       Constructors
                                                                                                       Ledger attached to POC makes it
 6                                                                                                     look like creditor was paid in full or
                                                                                                       over paid.
 7            TOTALS            $195,771,797.67                    $203,690,894.48   $158,277,382.91

 8

 9                     13.     Unfortunately, before the Property could be fully completed and sold (either as a
10    fully completed or nearly completed project), the Debtor’s primary secured lender, Hankey, as well as
11    a number of other junior secured lenders and mechanic’s lien holders initiated a multitude of state
12    court actions against the Debtor seeking, among other things, to recover amounts allegedly owed and
13    to foreclose on the Property.               In connection with its action, Hankey sought and obtained the
14    appointment of a receiver for the Property (the “Receiver”). In addition, Hankey had a foreclosure
15    sale of the Property set for October 27, 2021.
16                     14.     In order to protect its substantial equity in the Property and address myriad
17    litigation and other claims against it, the Debtor filed its bankruptcy case on the Petition Date of
18    October 26, 2021, which stayed the foreclosure sale.                           It was imperative for the Debtor regain
19    possession and control over the Property from the Receiver, and to obtain the breathing spell afforded
20    by the automatic stay, not only to stop the foreclosure and protect the equity in the Property, but also
21    to provide time and a means for the Debtor to sell the Property.
22                     15.     As a precursor to selling the Property, the Debtor had to regain possession and
23    control of the Property from the Receiver. To that end, immediately after the Petition Date, the
24    Debtor’s counsel demanded that the Receiver, among other things, (1) turnover the Property and
25    other property of the estate and (2) to cease exercising control over such estate property. As can be
26    seen from the docket, soon after the Petition Date, the Debtor, with the assistance of its counsel and
27    SCP, quickly negotiated an interim stipulation with Hankey and the Receiver regarding access to the
28    Property to facilitate efforts to employ brokers and market and sell the Property. Based on the efforts

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 1    of the Debtor’s counsel and SCP, the Receiver voluntarily turned over the Property and all other
 2    estate property to the Debtor as of December 1, 2021.
 3                16.     The Debtor’s intent before and after the Petition Date was to market and sell the
 4    Property for the highest price possible under the circumstances in order to maximize the distribution
 5    to creditors and exit bankruptcy through a plan or structured dismissal.
 6                17.     On December 12, 2021, the Debtor filed an application (the “Employment
 7    Application”) [Dkts. 74, 78, and 81] to (a) employ the Debtor Brokers as real estate brokers pursuant
 8    to 11 U.S.C. § 327(a), with compensation determined pursuant to 11 U.S.C. § 328, pursuant to the
 9    terms of the Residential Listing Agreement (the “Listing Agreement”) between the Debtor and the
10    Brokers that was attached to the Employment Application, (b) employ Concierge Auctions, LLC
11    (“Concierge” or the “Auctioneer”) as auctioneer pursuant to 11 U.S.C § 327(a), with compensation
12    determined pursuant to 11 U.S.C. § 328, pursuant to the terms of the Auction Agreement (the
13    “Auction Agreement”) between the Debtor and the Auctioneer, which is attached to the Employment
14    Application, and (c) approve the payment of compensation to the Brokers and the Auctioneer from
15    escrow upon closing.
16                18.     As set forth in the Employment Application and relevant here, (a) pursuant to the
17    Listing Agreement, on a sale price up to $175 million, the Debtor Brokers are entitled to a
18    commission of 1% of the sale price (plus 1% payable to any Buyer Broker) and (b) pursuant to the
19    Auction Agreement, the Auctioneer is entitled to a fee of 12% of the sale price (the “Buyer’s
20    Premium”) to be paid by the Buyer (not the Debtor) separately from the sale price, provided that, on
21    a sale equal to or less than $225 million, the Auctioneer would rebate 9.5% of the 12% Buyer’s
22    Premium to the Debtor’s estate and retain only 2.5% of the Buyer’s Premium.
23                19.     On January 1, 2022, the Court entered an order (the “Employment Order”) [Dkt.
24    104] approving the Employment Application, the compensation provided for thereunder, and
25    payment of such compensation from escrow on closing.
26                20.     On December 29, 2021, the Debtor filed its Bid Procedures Motion to approve the
27    Bid Procedures for an Auction of the Property [Dkt. 88]. On January 10, 2022, the Court entered its
28    order granting the Bid Procedures Motion [Dkt. 105], which Bid Procedures were amended by a

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 1    further order of the Court entered on January 14, 2022 [Dkt. 115] (the foregoing orders are referred to
 2    as the Bid Procedures Orders herein). Pursuant to the Bid Procedures Orders, the scheduling for the
 3    Auction and the instant Sale Motion were/are as follows:
 4
       February 28, 2022 through March 3, 2022         Online Auction for the Property to be conducted by
 5                                                     the Auctioneer.
       March 8, 2022                                   Deadline for the Debtor to file and serve the Sale
 6                                                     Motion.
       March 15, 2022, at 12:00 p.m. (Pacific)         Deadline for any parties in interest to file and serve
 7                                                     any oppositions to the Sale Motion.
 8     March 16, 2022                                  Deadline for any parties in interest to file and serve
                                                       any replies to any oppositions to the Sale Motion.
 9     March 18, 2022, at 11:00 a.m. (Pacific)         Hearing on the Sale Motion
       March 21, 2022 (unless extended by              Closing Date
10     agreement between the Debtor and the buyer)
11

12                 21.    As set forth in the Exposure Report (the “Exposure Report”) attached hereto as
13    Exhibit “3” (which can also be accessed here with hyperlinks to various publications and documents
14    referenced in the Exposure Report), which I am informed and believe was prepared by the Auctioneer
15    and is accurate, and the annexed declarations of Chad Roffers and Branden Williams, the Property
16    was extensively marketed through, among other things, (a) the Property being exposed in 171
17    countries, (b) 83,740 property views, 197,602 web page views, and 16,800 film views on the
18    Auctioneer’s website, (c) numerous email blasts to the Auctioneer’s private client group, select
19    billionaires, targeted owners of high value properties, and subscriber lists as large as 160,000
20    members, which email blasts included access to a high-quality catalogue for the Property, (d)
21    numerous publications by media outlets regarding the Property, (e) listings on the MLS,
22    Luxuryrealestate.com, Juwai.com, Zillow.com, Realtor.com, Sothebys.com, (f) a feature commercial
23    shown in the lead up to the Super Bowl, and (g) social media campaigns on Facebook, Google,
24    Instagram.
25                 22.    I am informed and believe that the foregoing marketing efforts, as well as the pre-
26    Petition Date marketing efforts by the Debtor’s Brokers, resulted in 40 qualified showings of the
27    Property by the Auctioneer, 20 showings of the Property by the Debtor’s Brokers (8 by Compass and
28    12 by TBHE), and five Bidders that qualified for bidding at the Auction by submitting the documents

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 1    and $250,000 Bidder Deposit required by the Bid Procedures.
 2                23.    The extensive marketing of the Property achieved results. I am informed and
 3    believe that, consistent with the Court-approved Bid Procedures, the Auctioneer conducted the
 4    Auction of the Property starting on February 28, 2022 and ending on March 3, 2022. I am informed
 5    and believe that the bidding on the Property was as follows:
 6
                  PADDLE #       BID AMOUNT             TIME BID PLACED
 7
                  7 #618043      $126,000,000           (WINNING BID by the Buyer) 6:10PM 03.03.2022
 8
                  6 #618043      $120,000,000           6:02PM 03.03.2022
 9                5 #463985      $100,000,000           6:02PM 03.03.2022
10                4 #618043       $90,000,000           5:58PM 03.03.2022
11                3 #463985      $70,000,000            2:43PM 03.03.2022

12                2 #423367      $60,000,000            4:12PM 03.01.2022
                  1 #222270      $50,000,000            (STARTING BID) 02.28.2022)
13

14                24.    After the Auction, the Debtor and the Buyer executed the Purchase Agreement, a

15    true and correct copy of which is attached hereto as Exhibit “2.” The attached Purchase Agreement

16    includes the form of the Supplemental Addendum approved by the Court signed by the Debtor but not

17    the Buyer. The Buyer requested that Debtor execute an Supplemental Addendum to the Purchase

18    Agreement that was different from the Court-approved Supplemental Addendum, because it was

19    amended by the Buyer to provide that the Buyer’s remedies will not be limited to those in the Court-

20    approved Bid Procedures if the Debtor sells the Property to any party other than the Buyer. Because

21    the sale is subject to approval of this Court and, in the event that the Court may theoretically order a

22    sale to another party if another offer is presented and viewed as more beneficial to the estate by the

23    Court, the Debtor was unwilling to execute such amended Supplemental Addendum and takes the

24    position that the amendments are material changes to the Court-approved Supplemental Addendum.

25                25.    The form of the Purchase Agreement, other than the Purchase Price and identity of

26    the Buyer, which was required to be used by all Bidders, was prepared and approved by the Court

27    before the Auction pursuant to the Bid Procedures Order. Further, the Property was sold pursuant to

28    an Auction conducted in accordance with the Court-approved Bid Procedures. Thus, in my opinion,

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 1    the terms of the Purchase Agreement are the result of more than arms-length negotiations between the
 2    Debtor and the Buyer. Further, I am informed and believe that, other than in connection with the
 3    proposed sale of the Property (which, again, was conducted by the Auctioneer pursuant to the Court-
 4    approved Bid Procedures), the Buyer has no prior connections with the Debtor or its current non-
 5    Member manager, SCP. Also, I have no basis to believe that the Auction and resulting winning bid by
 6    the Buyer were the product of any collusion.
 7                 26.    As noted above, the Debtor’s exit strategy is based on the sale of the Property to
 8    generate funds to pay creditors. After substantial marketing of the Property and an Auction conducted
 9    pursuant to the Bid Procedures, the Purchase Price offered by the Buyer is the highest and best binding
10    offer received by the Debtor. I believe that the already limited pool of buyers with the means to
11    purchase the Property may have been further reduced due to the conflict in Ukraine and related
12    sanctions against Russia, which may have taken potential Russian, Ukrainian, Chinese and other
13    international buyers out of the market. It is unfortunate that the Purchase Price will not generate
14    sufficient funds to pay all allowed claims in full and likely not to pay allowed Secured Claims in full.
15    However, in the absence of the approval of the proposed sale, the distribution on allowed claims
16    would likely be much lower, because, among other things, (a) the Debtor would continue to incur
17    huge per deim interest in the approximate amount of $50,000 on the senior Secured Claims asserted
18    by Hankey, (b) the Debtor would have to pay an extension fee of $126,000 on the DIP Loan, (c) the
19    Debtor would continue to incur large administrative claims arising from the costs associated with
20    securing, insuring, and maintaining the Property, as well as for material ongoing services provided by
21    estate professionals, and (d) the Debtor would continue to incur bi-yearly property taxes in the
22    approximate amount of $700,000. There is also the possibility that the Debtor never gets an offer as
23    high as the Purchase Price offered by the Buyer. The proposed sale provides an assured result and
24    allows the debtor to curtail substantial secured and administrative claims.
25                 27.    Based on the foregoing, in an exercise of my business judgment, I have concluded
26    that the proposed sale furthers the Debtor’s exit strategy and is in the best interests of the estate and its
27    creditors.
28

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 1                 28.     As noted above, the Debtor’s Brokers and the Auctioneer engaged in expansive
 2    marketing efforts regarding the sale of the Property. Those efforts resulted in the current $126 million
 3    offer for the Property, which will result in gross sale proceed in the amount of $137.97 million after
 4    the payment of the $11.97 million Rebate from the Auctioneer. That offer was obtained after a three
 5    day Auction conducted pursuant to the Bid Procedures approved by the Court, which were designed
 6    and approved as a means to ensure that the highest price possible was obtained for Property under the
 7    circumstances. Based on the foregoing, in an exercise of my business judgment, I believe that that the
 8    Purchase Price represents fair and reasonable value for the Property in today’s marketplace.
 9                 29.      The Debtor reached out to the alleged lenders asserting Secured Claims – Hankey,
10    Inferno, Yogi, and Hilldun (the “Lenders”) – to inquire as to whether each would consent to the
11    proposed sale to the Buyer. Some or all of the Lenders may consent, either affirmatively or via non-
12    opposition to the Sale Motion. In addition, since the secured claim of the Los Angeles County Tax
13    Collector will be paid in full, I expect it will consent to the proposed sale by one of the foregoing
14    means. The Debtor has not reached out to the numerous mechanics’ lien creditors listed in the
15    Secured Claims Summary – American Truck & Tool Rental, J&E Texture, Inc., JMS Air, Calgrove
16    Rentals, BMC West, Parquet by Dan, Powertek Electric, Kennco Plumbing, and Kazemi & Associates
17    (the “Construction Creditors”), but some or all of them may also consent to the proposed sale or not
18    oppose the Motion.
19                 30.     Since many alleged Secured Creditors may consent to the proposed sale and/or be
20    “out of the money,” the Debtor has not expended additional estate resources to prepare formal
21    complaints and initiate litigation in regard to various the alleged Secured Claims. However, as set
22    forth in the Secured Claims Summary Chart there are factual grounds establishing a bona fide dispute
23    as to the Secured Claims asserted by Hankey (other than its claim for the DIP Loan), Inferno, and
24    YOGI, which assert approximately $142 million in alleged Secured Claims. The Debtor and Hilldun
25    filed a stipulation providing that Hilldun’s claim was subject to a bona fide dispute such that Section
26    363(f)(4) is satisfied as to its claim.
27                 31.     In addition to the foregoing specific disputes, the priority of all of the Secured
28    Claims (other than the secured claim of Hankey for the DIP Loan and the Los Angeles County Tax

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 1    Collector) vis-à-vis one another are likely subject to bona fide dispute. The reason for the foregoing is
 2    that there are nine Construction Creditors. As set forth in the Title Report and Secured Claims
 3    Summary Chart, the liens of the Construction Creditors are generally recorded later in time from the
 4    liens of the Lenders. However, I am informed that Cal. Civ. Code § 8450 provides that a mechanic’s
 5    lien priority relates back to the time of commencement of work, not the date of the recordation of the
 6    lien. Construction Creditor J&E Texture, Inc. has already asserted that its mechanic’s lien has priority
 7    over all other secured claims other than Hankey’s claim for the DIP Loan. See 3/7/22 letter from J&E
 8    Texture, Inc.’s counsel to Debtor’s counsel, a copy of which was provided to me, a true and correct
 9    copy of which is attached hereto as Exhibit “4.”
10                32.      Pursuant to the Sale Motion, the Debtor is requesting authority to pay from the
11    proceeds of the sale of the Property out of escrow on closing: (a) the outstanding balance of the DIP
12    Loan provided by Hankey, which is secured by a first priority lien and which DIP Loan and first
13    priority lien were approved by a prior order of the Court (approximately $12,059,500), (b) Hankey’s
14    senior receivership certificate loan, which was an advance of funds on a senior secured basis to the
15    pre-petition receivership estate, as evidenced by Hankey’s Proof of Claim No 19 in the asserted
16    amount of $848,511, (c) Hankey’s first priority pre-petition loan in the principal amount of $82.5
17    million, subject to accounting to be received from Hankey, as described in Hankey’s Proof of Claim
18    No. 20, (d) the claims of any taxing authorities or governmental units (as defined in 11 U.S.C. §
19    101(27) apportioned to the Debtor prior to the close of the sale that are secured by liens included in
20    the non-Excepted Items (approximately $2.488 million), (e) a commission equal to two percent (2%)
21    of the Purchase Price to be paid to and split equally between (i) the Debtor’s Brokers, whose
22    employment and one percent (1%) commission were previously approved by the Court’s Employment
23    Order, and (ii) the Buyer’s Brokers, whose one percent (1%) commission was previously approved by
24    the Court’s Employment Order, with any split between the Debtor’s Brokers and the Buyer’s Brokers
25    to be determined by them ($2.520 million), and (f) any other customary escrow closing fees and
26    charges allocated to the Debtor (approximately $630,000).
27                33.     The hearing on the Sale Motion is scheduled for March 18, 2022. Under the
28    Purchase Agreement and the Court approved Bid Procedures, the Buyer is required to close by March

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 1    21, 2022. It is important that the sale close as soon as possible (a) to avoid a breach of the Purchase
 2    Agreement, (b) to reduce the chances that the Buyer (or successful Overbidder approved by the Court)
 3    fails to close due to the passage of time, (c) to limit the accrual of additional interest, taxes, and
 4    upkeep expenses that have to be paid by the estate, and (d) to avoid the need for the Debtor to exercise
 5    the term extension option under the DIP Loan, which would result in the estate incurring an extension
 6    fee of $126,000.
 7                I declare and verify under penalty of perjury that the foregoing is true and correct to the
 8     best of my knowledge.
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 1                                  DECLARATION OF CHAD ROFFERS
 2                I, CHAD ROFFERS, hereby declare as follows:

 3                1.     I am over 18 years of age. I have personal knowledge of the facts set forth below

 4        and, if called to testify, would and could competently testify thereto.

 5                2.     I am the President of Concierge Auctions, LLC (“Concierge” or the “Auctioneer”)

 6     and have access to its books and records.

 7                3.     I make this declaration in support of the Sale Motion to which this declaration is

 8     attached. Capitalized terms not defined herein have the same meanings as set forth in the Sale

 9     Motion.

10                4.     As set forth in the Exposure Report (the “Exposure Report”) attached hereto as

11     Exhibit “3” (which can also be accessed here with hyperlinks to various publications and documents

12     referenced in the Exposure Report), which was prepared by Concierge, the Property was extensively

13     marketed through, among other things, (a) the Property being exposed in 171 countries, (b) 83,740

14     property views, 197,602 web page views, and 16,800 film views on Concierge’s website, (c)

15     numerous email blasts to Concierge’s private client group, select billionaires, targeted owners of high

16     value properties, and subscriber lists as large as 160,000 members, which email blasts included

17     access to a high-quality catalogue for the Property, (d) numerous publications by media outlets

18     regarding the Property, (e) listings on the MLS, Luxuryrealestate.com, Juwai.com, Zillow.com,

19     Realtor.com, Sothebys.com, (f) a feature commercial shown in the lead up to the Super Bowl, and (g)

20     social media campaigns on Facebook, Google, Instagram.

21                5.      The foregoing marketing efforts, as well as the pre-Petition Date marketing efforts

22     that I understand were undertaken by the Debtor’s Brokers, resulted in 40 qualified showings of the

23     Property by Concierge, 20 showings of the Property by the Debtor’s Brokers (8 by Compass and 12

24     by TBHE), and five Bidders that qualified for bidding at the Auction by submitting the documents

25     and $250,000 Bidder Deposit required by the Bid Procedures.

26                6.     The extensive marketing of the Property achieved results. Consistent with the

27     Court-approved Bid Procedures, Concierge conducted the Auction of the Property starting on

28     February 28, 2022 and ending on March 3, 2022. The bidding on the Property was as follows:

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 1
                 PADDLE #       BID AMOUNT            TIME BID PLACED
 2
                 7 #618043      $126,000,000          (WINNING BID by the Buyer) 6:10PM 03.03.2022
 3
                 6 #618043      $120,000,000          6:02PM 03.03.2022
 4               5 #463985      $100,000,000          6:02PM 03.03.2022
 5               4 #618043      $90,000,000           5:58PM 03.03.2022
 6               3 #463985      $70,000,000           2:43PM 03.03.2022

 7               2 #423367      $60,000,000           4:12PM 03.01.2022
                 1 #222270      $50,000,000           (STARTING BID) 02.28.2022)
 8

 9               I declare and verify under penalty of perjury that the foregoing is true and correct to the

10     best of my knowledge.

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 1                                DECLARATION OF BRANDEN WILLIAMS
 2                I, BRANDEN WILLIAMS, hereby declare as follows:

 3                1.      I am over 18 years of age. I have personal knowledge of the facts set forth below

 4     and, if called to testify, would and could competently testify thereto.

 5                2.      I am a principal of The Beverly Hills Estates (“TBHE”), a leading real estate firm

 6     in Los Angeles that specializes in, among other things, architecturally significant and one-of-a-kind

 7     properties. My wife, Rayni, and I are recognized as L.A.’s highest-performing real estate team based

 8     on our sales record, including a career totaling over $8.7 billion in sales.

 9                3.      I make this declaration in support of the Sale Motion to which this declaration is

10     attached. Capitalized terms not defined herein have the same meanings as set forth in the Sale

11     Motion.

12                4.      As set forth in the Exposure Report (the “Exposure Report”) attached hereto as

13     Exhibit “3” (which can also be accessed here with hyperlinks to various publications and documents

14     referenced in the Exposure Report), the Property was extensively marketed through, among other

15     things, (a) the Property being exposed in 171 countries, (b) 83,740 property views, 197,602 web page

16     views, and 16,800 film views on the Auctioneer’s website, (c) numerous email blasts to the

17     Auctioneer’s private client group, select billionaires, targeted owners of high value properties, and

18     subscriber lists as large as 160,000 members, which email blasts included access to a high-quality

19     catalogue for the Property, (d) numerous publications by media outlets regarding the Property, (e)

20     listings on the MLS, Luxuryrealestate.com, Juwai.com, Zillow.com, Realtor.com, Sothebys.com, (f) a

21     feature commercial shown in the lead up to the Super Bowl, and (g) social media campaigns on

22     Facebook, Google, Instagram.

23                5.       The foregoing marketing efforts, as well as the pre-Petition Date marketing efforts

24     by TBHE and Compass, resulted in 40 qualified showings of the Property by the Auctioneer, 8

25     showings of the Property by Compass, 12 showings of the Property by TBHE, and, as I am informed

26     and believe, five Bidders that qualified for bidding at the Auction by submitting the documents and

27     $250,000 Bidder Deposit required by the Bid Procedures.

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 1                6.        I believe that the already limited pool of buyers with the means to purchase the
 2     Property may have been further reduced due to the conflict in Ukraine and related sanctions against
 3     Russia, which may have taken potential Russian, Ukrainian, Chinese and other international buyers
 4     out of the market.
 5                I declare and verify under penalty of perjury that the foregoing is true and correct to the
 6     best of my knowledge.
 7                Executed on this 8th day of March 2022, at Los Angeles, California.
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              Chicago Title Company
                                                              725 South Figueroa Street, Suite 200, Los Angeles, CA 90017
                                                                           Phone: (213) 488-4300 ● Fax: (213) 488-4377



                                    Issuing Policies of Chicago Title Insurance Company

ORDER NO.: 00166345-994-LT2-1TW                               Main Office Line: (213) 488-4300
Chicago Title Company / Los Angeles
                                                              Title Officer: Ted Tan/Jennifer Wright (LA/Comm)
725 S. Figueroa St., Suite 200
                                                              Title Officer Phone: (213) 488-4394
Los Angeles, CA 90017
                                                              Title Officer Fax: (213) 488-4360
ATTN: Mike Slinger
                                                              Title Officer Email: TeamX77@ctt.com
Email: mike.slinger@ctt.com
REF:

PROPERTY:          944 ARIOLE WAY, LOS ANGELES, CA



                                                 PRELIMINARY REPORT
In response to the application for a policy of title insurance referenced herein, Chicago Title Company hereby
reports that it is prepared to issue, or cause to be issued, as of the date hereof, a policy or policies of title
insurance describing the land and the estate or interest therein hereinafter set forth, insuring against loss which
may be sustained by reason of any defect, lien or encumbrance not shown or referred to as an exception herein
or not excluded from coverage pursuant to the printed Schedules, Conditions and Stipulations or Conditions of
said policy forms.
The printed Exceptions and Exclusions from the coverage and Limitations on Covered Risks of said policy or
policies are set forth in Attachment One. The policy to be issued may contain an arbitration clause. When the
Amount of Insurance is less than that set forth in the arbitration clause, all arbitrable matters shall be arbitrated at
the option of either the Company or the Insured as the exclusive remedy of the parties. Limitations on Covered
Risks applicable to the CLTA and ALTA Homeowner’s Policies of Title Insurance which establish a Deductible
Amount and a Maximum Dollar Limit of Liability for certain coverages are also set forth in Attachment One.
Copies of the policy forms should be read. They are available from the office which issued this report.
This report (and any supplements or amendments hereto) is issued solely for the purpose of facilitating the
issuance of a policy of title insurance and no liability is assumed hereby. If it is desired that liability be assumed
prior to the issuance of a policy of title insurance, a Binder or Commitment should be requested.
The policy(s) of title insurance to be issued hereunder will be policy(s) of Chicago Title Insurance Company, a
Florida corporation.
Please read the exceptions shown or referred to herein and the exceptions and exclusions set forth in
Attachment One of this report carefully. The exceptions and exclusions are meant to provide you with
notice of matters which are not covered under the terms of the title insurance policy and should be
carefully considered.
It is important to note that this preliminary report is not a written representation as to the condition of title
and may not list all liens, defects and encumbrances affecting title to the land.

Chicago Title Company



By:
      Authorized Signature




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              Chicago Title Company
                                                             725 South Figueroa Street, Suite 200, Los Angeles, CA 90017
                                                                          Phone: (213) 488-4300 ● Fax: (213) 488-4377



                                                 PRELIMINARY REPORT


EFFECTIVE DATE:                       February 4, 2022 at 7:30 a.m.

ORDER NO.: 00166345-994-LT2-1TW

The form of policy or policies of title insurance contemplated by this report is:

         Preliminary Report Only

1.       THE ESTATE OR INTEREST IN THE LAND HEREINAFTER DESCRIBED OR REFERRED TO
         COVERED BY THIS REPORT IS:

         A Fee

2.       TITLE TO SAID ESTATE OR INTEREST AT THE DATE HEREOF IS VESTED IN:

         CRESTLLOYD, LLC, a California limited liability company, in receivership by Order of the Superior Court
         of California, County of Los Angeles, West District, Case No. 21SMCV01113, a certified copy thereof
         being recorded July 20, 2021 as Instrument No. 2021-1113331 of Official Records, wherein Theodore
         Lanes was duly appointed as receiver, subject to the terms, provisions and restrictions set out in said
         Order, and subject to proceedings pending in the bankruptcy court where a petition for relief was filed
         October 26, 2021 on behalf of Crestlloyd, LLC in U.S. District, Court Central District of California, Case
         No. B18205.

3.       THE LAND REFERRED TO IN THIS REPORT IS DESCRIBED AS FOLLOWS:

         See Exhibit A attached hereto and made a part hereof.




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YOUR REFERENCE:                                                             ORDER NO.: 00166345-994-LT2-1TW


                                                        EXHIBIT “A”

                                                     LEGAL DESCRIPTION
THE LAND REFERRED TO HEREIN BELOW IS SITUATED IN THE CITY OF LOS ANGELES, IN THE COUNTY
OF LOS ANGELES, STATE OF CALIFORNIA, AND IS DESCRIBED AS FOLLOWS:

PARCEL 1:

LOTS 1 AND 2 OF TRACT NO. 22727, IN THE CITY OF LOS ANGELES, COUNTY OF LOS ANGELES, STATE
OF CALIFORNIA, AS PER MAP RECORDED IN BOOK 623 PAGE(S) 81 TO 83 INCLUSIVE OF MAPS, IN THE
OFFICE OF THE COUNTY RECORDER OF SAID COUNTY.

EXCEPTING THEREFROM THAT PORTION OF SAID LOTS LYING WESTERLY OF THE FOLLOWING
DESCRIBED LINE:

BEGINNING AT A POINT IN THE NORTHWESTERLY TERMINUS OF AIROLE WAY, 30 FEET WIDE, AS
SHOWN ON SAID MAP, DISTANT THEREON SOUTH 76° 06' 07" 'WEST 2.86 FEET FROM THE MOST
NORTHERLY CORNER THEREOF; THENCE LEAVING SAID TERMINUS ALONG A CURVE CONCAVE
WESTERLY, HAVING A RADIUS OF 361.97 FEET AND CONCENTRIC WITH THAT CERTAIN CURVE IN THE
WESTERLY LINE OF SAID LOT 1 HAVING A RADIUS OF 349.83 FEET; THENCE NORTHERLY 22.69 FEET
ALONG SAID CURVE THROUGH A CENTRAL ANGLE OF 03° 35' 48" TO THE BEGINNING OF A COMPOUND
CURVE, CONCAVE SOUTHWESTERLY AND HAVING A RADIUS OF 175.66 FEET; THENCE
NORTHWESTERLY 119.88 FEET ALONG SAID CURVE THROUGH A CENTRAL ANGLE OF 39° 06' 53";
THENCE NORTH 56° 36' 22" WEST 7.97 FEET TO THE BEGINNING OF A CURVE CONCAVE
NORTHEASTERLY AND HAVING A RADIUS OF 90.80 FEET; THENCE NORTHWESTERLY 71.18 FEET
ALONG SAID CURVE THROUGH A CENTRAL ANGLE OF 44° 55' 04"; THENCE NORTH 11° 41' 18" WEST
208.55 FEET TO THE BEGINNING OF A CURVE CONCAVE EASTERLY AND HAVING A RADIUS OF 35.90
FEET; THENCE NORTHERLY 34.44 FEET ALONG SAID CURVE THROUGH A CENTRAL ANGLE OF 56° 32'
34"; THENCE NORTH 44° 51' 16" EAST 42.37 FEET TO THE CURVED SOUTHEASTERLY LINE OF
STRADELLA ROAD, 40 FEET WIDE, AS SHOWN ON SAID MAP.

PARCEL 2:

THAT PORTION OF LOT 3 IN BLOCK 3 OF TRACT NO. 9745, IN THE CITY OF LOS ANGELES, COUNTY OF
LOS ANGELES, STATE OF CALIFORNIA, AS PER MAP RECORDED IN BOOK 141 PAGES 93 TO 96
INCLUSIVE OF MAPS, IN THE OFFICE OF THE COUNTY RECORDER OF SAID COUNTY, LYING
NORTHERLY OF THE FOLLOWING DESCRIBED LINE:

BEGINNING AT A POINT IN THE EASTERLY LINE OF SAID LOT, DISTANCE THEREON SOUTH 13° 13' 20"
EAST 34.33 FEET FROM THE NORTHERLY TERMINUS OF THAT CERTAIN COURSE IN SAID EASTERLY
LINE SHOWN ON SAID MAP AS HAVING A BEARING AND LENGTH OF NORTH 13° 13' 20" WEST 106.35
FEET; THENCE NORTH 89° 27' 20" WEST 214.07 FEET, MORE OR LESS, TO A POINT IN THE WESTERLY
LINE OF SAID LOT, DISTANT SOUTHERLY THEREON 54.93 FEET FROM THE NORTHERLY TERMINUS OF
THAT CERTAIN CURVE IN SAID WESTERLY LINE HAVING A LENGTH OF 115.83 FEET.



APN: 4369-026-021




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                                                     EXCEPTIONS
AT THE DATE HEREOF, ITEMS TO BE CONSIDERED AND EXCEPTIONS TO COVERAGE IN ADDITION TO
THE PRINTED EXCEPTIONS AND EXCLUSIONS IN SAID POLICY FORM WOULD BE AS FOLLOWS:

A1.      Property taxes, which are a lien not yet due and payable, including any assessments collected with taxes
         to be levied for the fiscal year 2022-2023.

A.       Property taxes, including any personal property taxes and any assessments collected with taxes are as
         follows:

         Tax Identification No.:      4369-026-021
         Fiscal Year:                 2021-2022
         1st Installment:             $701,465.73, Paid (payment late and penalty applies)
         Penalty:                     $70,146.57
         2nd Installment:             $701,465.71, Unpaid
         Penalty:                     $70,156.57

B.       Said property has been declared tax defaulted for non-payment of delinquent taxes for the fiscal year
         2020

         APN No.:                     4369-026-021

         Amounts to redeem for the above-stated fiscal year (and subsequent years if any) are:

         Amount:                      $1,832,407.68 by February 28, 2022

C.       An assessment by the improvement district shown below:

         Series:                      AD #1
         District:                    County of Los Angeles
         For:                         MRCA-Brush Fire Clear’g Dist #1
         Bond issued:                 August 6, 2003

         Said assessment is collected with the county/city property taxes.

         Said assessment is also disclosed by a Notice of Amended Assessment, recorded January 26, 2015 as
         Instrument No. 2015-089995 of Official Records.

D.       The herein described property lies within the boundaries of a Community Facilities District (CFD) as
         follows:

         CFD No:                      2016-1
         For:                         Fire Prevention, Wildlife Corridor and Open Space Protection and other
                                      associated purposes
         Disclosed by:                Notice of Special Tax Lien
         Recording Date:              January 13, 2017
         Recording No.:               20170055098, Official Records

         This property, along with all other parcels in the CFD, is liable for an annual special tax. This special tax is
         included with and payable with the general property taxes of the County of Los Angeles.




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YOUR REFERENCE:                                                                       ORDER NO.: 00166345-994-LT2-1TW


                                                  EXCEPTIONS
                                                   (Continued)

E.      The lien of supplemental or escaped assessments of property taxes, if any, made pursuant to the
        provisions of Chapter 3.5 (commencing with Section 75) or Part 2, Chapter 3, Articles 3 and 4,
        respectively, of the Revenue and Taxation Code of the State of California as a result of the transfer of title
        to the vestee named in Schedule A or as a result of changes in ownership or new construction occurring
        prior to Date of Policy.

F.      The herein described property lies within the boundaries of a Community Facilities District (CFD) as
        follows:

        CFD No:                  2020-1
        For:                     Local Fire Prevention, Water Quality and Open Space Measure and other
                                 associated purposes
        Disclosed by:            Notice of Special Tax Lien
        Recording Date:          February 10, 2021
        Recording No.:           2021-0235371, Official Records

        This property, along with all other parcels in the CFD, is liable for an annual special tax. This special tax is
        included with and payable with the general property taxes of the County of Los Angeles.

1.      Water rights, claims or title to water, whether or not disclosed by the public records.

2.      Easement(s) for the purpose(s) shown below and rights incidental thereto as delineated or as offered for
        dedication, on the map of said Tract No. 22727;

        Purpose:                 Drainage
        Affects:                 That portion of said land as shown on said map

3.      Covenants, conditions and restrictions but omitting any covenants or restrictions, if any, including but not
        limited to those based upon race, color, religion, sex, sexual orientation, familial status, marital status,
        disability, handicap, national origin, citizenship, immigration status, primary language, ancestry, source of
        income, gender, gender identity, gender expression, medical condition or genetic information, as set forth
        in applicable state or federal laws, except to the extent that said covenant or restriction is permitted by
        applicable law, as set forth in the document

        Recording Date:          November 13, 1947
        Recording No:            1860, Official Records

        Said covenants, conditions and restrictions provide that a violation thereof shall not defeat the lien of any
        mortgage or deed of trust made in good faith and for value.

        Modification(s) of said covenants, conditions and restrictions

        Recording Date:          February 7, 1949
        Recording No:            2309, Official Records

        Modification(s) of said covenants, conditions and restrictions

        Recording Date:          April 15, 1949
        Recording No:            2654, Official Records




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                                                EXCEPTIONS
                                                 (Continued)

4.      Covenant and agreement wherein the owners agree to hold said Land as one parcel and not to sell any
        portion thereof separately. Said covenant is expressed to run with the Land and be binding upon future
        owners.

        Recording Date:         June 22, 1981
        Recording No.:          81-620826, Official Records

        Reference is hereby made to said document for full particulars.

5.      An instrument entitled Master Covenant and Agreement

        Executed by:            Michael t. Walkup and Edith A. Press
        In favor of:            City of Los Angeles
        Recording Date:         December 22, 1994
        Recording No:           XX-XXXXXXX, Official Records

        Reference is hereby made to said document for full particulars.

6.      Matters contained in that certain document

        Entitled:               Certificate of Compliance
        Dated:                  L.A. No. 94-062
        Executed by:            City of Los Angeles Department of City Planning
        Recording Date:         December 22, 1994
        Recording No:           XX-XXXXXXX, Official Records

        Reference is hereby made to said document for full particulars.

7.      A deed of trust to secure an indebtedness in the amount shown below,

        Amount:                 $14,040,000.00
        Dated:                  March 13, 2013
        Trustor/Grantor         Crestlloyd LLC, a California limited liability company
        Trustee:                First American Title Insurance Company, a California corporation
        Beneficiary:            Inferno Realty, L.P., as to an undivided $7,040,000.00 and Maybach Corporation
                                Holdings, Inc., as to an undivided $7,000,000.00 interest, as tenants in common
        Recording Date:         March 13, 2013
        Recording No:           20130384037, Official Records

        By various assignments, the beneficial interest thereunder is now held of record in:

        Assignee:               Inferno Investment Inc.
        Recording Date:         November 10, 2015
        Recording No:           20151375607, Official Records

        An agreement to modify the terms and provisions of said deed of trust as therein provided

        Executed by:            Crestlloyd, LLC, a California Limited Liability Company and Inferno Investment
                                Inc.
        Recording Date:         November 10, 2015
        Recording No:           20151375608, Official Records




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                                                 EXCEPTIONS
                                                  (Continued)



         An agreement recorded November 6, 2018 as Instrument No. 20181122920, Official Records which
         states that this instrument was subordinated to the document or interest described in the instrument

         Recording Date:         November 6, 2018
         Recording No.:          20181122917, Official Records

8.       Covenant and agreement wherein the owners agree to hold said Land as one parcel and not to sell any
         portion thereof separately. Said covenant is expressed to run with the Land and be binding upon future
         owners.

         Recording Date:         September 5, 2013
         Recording No.:          20131298666, Official Records

         Reference is hereby made to said document for full particulars.

9.       An instrument entitled Master Covenant and Agreement Regarding On-Site BMP Maintenance

         Executed by:            Nile Niami
         In favor of:            City of Los Angeles
         Recording Date:         September 24, 2013
         Recording No:           20131385742, Official Records

         Reference is hereby made to said document for full particulars.

10.      An instrument entitled Master Covenant and Agreement Regarding On-Site BMP Maintenance

         Executed by:            Nile Niami
         In favor of:            City of Los Angeles
         Recording Date:         February 7, 2014
         Recording No:           20140139714, Official Records

         Reference is hereby made to said document for full particulars.

11.      An irrevocable offer to dedicate an easement over a portion of said Land for

         Purpose(s):             Public street
         Recording Date:         June 4, 2014
         Recording No:           20140578201, Official Records

         Said offer was accepted by resolution, a certified copy of which was recorded April 10, 2015 as
         Instrument No. 20150395929, of Official Records..

12.      An instrument entitled Covenant and Agreement Regarding Maintenance of Building

         Executed by:            Nile Niami
         In favor of:            City of Los Angeles
         Recording Date:         February 17, 2016
         Recording No:           20160172858, Official Records

         Reference is hereby made to said document for full particulars.



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                                                  EXCEPTIONS
                                                   (Continued)

13.      A deed of trust to secure an indebtedness in the amount shown below,

         Amount:                  $82,500,000.00
         Dated:                   October 25, 2018
         Trustor/Grantor          Crestlloyd, LLC, a California limited liability company
         Trustee:                 Chicago Title Company
         Beneficiary:             Hankey Capital, LLC, a California limited liability company
         Recording Date:          November 6, 2018
         Recording No:            20181122917, Official Records

         An agreement to modify the terms and provisions of said deed of trust as therein provided

         Recording Date:          August 31, 2020
         Recording No:            20201030024 of Official Records

         A notice of default under the terms of said trust deed

         Executed by:             Chicago Title Company
         Recording Date:          March 5, 2021
         Recording No:            2021-0367447 of Official Records

         A notice of trustee’s sale under said deed of trust

         Executed by:                     Chicago Title Company, trustee
         Date, Time and Place of Sale:    July 12, 2021 at 11:00 am by the fountain located at 400 Civic Center
                                          Plaza, Pomona, CA 91766
         Recording Date:                  June 14, 2021
         Recording No:                    2021-0934061 of Official Records

14.      Matters contained in that certain document

         Entitled:                Memorandum of Agreement
         Executed by:             Hankey Capital, LLC, a California limited liability company and Crestlloyd, LLC, a
                                  California limited liability company
         Recording Date:          November 6, 2018
         Recording No:            20181122919, Official Records

         Recording Dare:          August 31, 2020
         Recording No.:           20201030294 of Official Records

         Reference is hereby made to said document for full particulars.

15.      A deed of trust to secure an indebtedness in the amount shown below,

         Amount:                  $30,188,235.00
         Dated:                   October 16, 2018
         Trustor/Grantor          Crestlloyd, LLC, a California limited liability company
         Trustee:                 Chicago Title Company
         Beneficiary:             YOGI Securities Holdings, LLC, a Nevada limited liability company
         Recording Date:          November 7, 2018
         Recording No:            20181126580, Official Records




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                                                  EXCEPTIONS
                                                   (Continued)

16.      A deed of trust to secure an indebtedness in the amount shown below,

         Amount:                  $6,196,810.64
         Dated:                   September 18, 2019
         Trustor/Grantor          Crestlloyd, LLC, a California limited liability company
         Trustee:                 Chicago Title Company
         Beneficiary:             YOGI Securities Holdings, LLC, a Nevada limited liability company
         Recording Date:          September 23, 2019
         Recording No:            20190989746, Official Records

         The effect of a Substitution of Trustee and Full Reconveyance, recorded January 14, 2021 as Instrument
         No. 2021-076458 of Official Records.

         (Note: We will require evidence of the full payment or satisfaction of said deed of trust as there does not
         appear to be an off-setting transaction of record.)

17.      An instrument entitled Covenant and Agreement Regarding Maintenance of Building

         Executed by:             Crestlloyd, LLC
         In favor of:             City of Los Angeles
         Recording Date:          December 2, 2019
         Recording No:            20191317943, Official Records

         Reference is hereby made to said document for full particulars.

18.      Any rights of the parties in possession of a portion of, or all of, said Land, which rights are not disclosed
         by the public records.

19.      Matters which may be disclosed by an inspection and/or by a correct ALTA/NSPS Land Title Survey of
         said Land that is satisfactory to the Company, and/or by inquiry of the parties in possession thereof.

20.      A claim of mechanic’s lien or materialman’s lien

         Claimant:                American Truck & Tool Rentals Inc./American Rentals
         Amount:                  $97,050.34
         Recording Date:          June 29, 2020
         Recording No:            20200709010 of Official Records

         A Notice of Pending Action to foreclose said lien

         County:                  Los Angeles
         Court:                   Superior
         Case No.:                20SMCV01229 (consolidated with 20SMCV01264)
         Recording Date:          May 5, 2021
         Recording No:            2021-0717597 of Official Records




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                                                 EXCEPTIONS
                                                  (Continued)

21.      A claim of mechanic’s lien or materialman’s lien

         Claimant:               J&E Texture, Inc.
         Amount:                 $214,147.50
         Recording Date:         June 30, 2020
         Recording No:           20200712043 of Official Records

         A Notice of Pending Action to foreclose said lien

         County:                 Los Angeles
         Court:                  Superior
         Case No.:               20SMCV01229
         Recording Date:         December 14, 2020
         Recording No:           2020-01647158 of Official Records

         A Notice of Pending Action to foreclose said lien

         County:                 Los Angeles
         Court:                  Superior
         Case No.:               20SMCV01229 (consolidated with 20SMCV01264)
         Recording Date:         May 5, 2021
         Recording No:           2021-0717597 of Official Records

22.      A deed of trust to secure an indebtedness in the amount shown below,

         Amount:                 $5,000,000.00
         Dated:                  February 11, 2020
         Trustor/Grantor         CRESTLLOYD, LLC, a California limited liability company
         Trustee:                Pacific Coast Title Company
         Beneficiary:            Hilldun Corporation, a New York corporation
         Recording Date:         September 4, 2020
         Recording No:           20201058770 of Official Records

23.      A claim of mechanic’s lien or materialman’s lien

         Claimant:               JMS Air Conditioning and Appliance Services, Inc.
         Amount:                 $51,290.00
         Recording Date:         May 6, 2021
         Recording No:           2021-0722265 of Official Records

24.      A claim of mechanic’s lien or materialman’s lien

         Claimant:               Calgrove Rentals Inc.
         Amount:                 $12,338.95
         Recording Date:         June 1, 2021
         Recording No:           2021-0868958 of Official Records




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                                                 EXCEPTIONS
                                                  (Continued)



25.      A claim of mechanic’s lien or materialman’s lien

         Claimant:               BMC West LLC
         Amount:                 $2,398.60
         Recording Date:         July 16, 2021
         Recording No:           2021-1102584 of Official Records

26.      A Receiver’s Certificate #1

         In favor of:            Hankey Capital, LLC and Theodore Lanes, in his capacity as Receiver
         Amount:                 $577,745.00
         Case No.:               21SMCV01113 Superior Court Los Angeles County
         Recording Date:         July 23, 2021
         Recording No:           2021-1136088 of Official Records

27.      A Notice of Pending Lien

         Executed by:            City of Los Angeles
         Recording Date:         January 31, 2020
         Recording No:           2020-0124042 of Official Records

28.      A claim of mechanic’s lien or materialman’s lien

         Claimant:               Parquet By Dian
         Amount:                 $40,846.00
         Recording Date:         September 8, 2021
         Recording No:           2021-1373746 of Official Records

29.      A claim of mechanic’s lien or materialman’s lien

         Claimant:               Powertek Electric, Inc.
         Amount:                 $40,480.00
         Recording Date:         September 23, 2021
         Recording No:           2021-1455960 of Official Records

30.      A claim of mechanic’s lien or materialman’s lien

         Claimant:               Kennco Plumbing, Inc.
         Amount:                 $85,560.17
         Recording Date:         October 5, 2021
         Recording No:           2021-1508207 of Official Records

         A Notice of Pending Action to foreclose said lien

         County:                 Los Angeles
         Court:                  Superior
         Case No.:               21SMCV01656
         Recording Date:         October 21, 2021
         Recording No:           20211585116 of Official Records




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                                               EXCEPTIONS
                                                (Continued)



31.      A Chapter 11 Petition

         Debtor’s Name:          Crestlloyd, LLC
         Recording Date:         November 8, 2021
         Recording No:           20211666304 of Official Records

32.      ANY LIEN OR RIGHT TO A LIEN FOR SERVICES, LABOR OR MATERIAL NOT SHOWN BY THE
         PUBLIC RECORDS.

33.      A deed of trust to secure an indebtedness in the amount shown below,

         Amount:                 $12,000,000.00 and $120,000.00
         Dated:                  December 13, 2021
         Trustor/Grantor         Crestlloyd, LLC, a California limited liability company, debtor and debtor in
                                 possession in a pending Chapter 11 bankruptcy case commenced on October
                                 26, 2021
         Trustee:                Chicago Title Company
         Beneficiary:            Hankey Capital, LLC, a California limited liability company
         Recording Date:         January 26, 2022
         Recording No:           20220103108, Official Records



       PLEASE REFER TO THE “INFORMATIONAL NOTES” AND “REQUIREMENTS” SECTIONS WHICH
             FOLLOW FOR INFORMATION NECESSARY TO COMPLETE THIS TRANSACTION.

                                            END OF EXCEPTIONS




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                                              REQUIREMENTS SECTION

1.       Unrecorded matters which may be disclosed by an Owner’s Affidavit or Declaration. A form of the
         Owner’s Affidavit/Declaration is attached to this Preliminary Report/Commitment. This
         Affidavit/Declaration is to be completed by the record owner of the land and submitted for review prior to
         the closing of this transaction. Your prompt attention to this requirement will help avoid delays in the
         closing of this transaction. Thank you.

         The Company reserves the right to add additional items or make further requirements after review of the
         requested Affidavit/Declaration.

2.       The Company will require the following documents for review prior to the issuance of any title insurance
         predicated upon a conveyance or encumbrance from the entity named below:

         Limited Liability Company:            Crestlloyd, LLC, a California limited liability company

         a)        A copy of its operating agreement, if any, and all amendments, supplements and/or modifications
                   thereto, certified by the appropriate manager or member.

         b)        If a domestic Limited Liability Company, a copy of its Articles of Organization and all amendments
                   thereto with the appropriate filing stamps.

         c)        If the Limited Liability Company is member-managed, a full and complete current list of members
                   certified by the appropriate manager or member.

         d)        A current dated certificate of good standing from the proper governmental authority of the state in
                   which the entity is currently domiciled.

         e)        If less than all members, or managers, as appropriate, will be executing the closing documents,
                   furnish evidence of the authority of those signing.

         f)        If Limited Liability Company is a Single Member Entity, a Statement of Information for the Single
                   Member will be required.

         g)        Each member and manager of the LLC without an Operating Agreement must execute in the
                   presence of a notary public the Certificate of California LLC (Without an Operating Agreement)
                   Status and Authority form.

3.       In order to complete this report, the Company requires a Statement of Information to be completed by the
         following party(s),

         Party(s):                    All Individual Parties

         The Company reserves the right to add additional items or make further requirements after review of the
         requested Statement of Information.

         NOTE: The Statement of Information is necessary to complete the search and examination of title under
               this order. Any title search includes matters that are indexed by name only, and having a
               completed Statement of Information assists the Company in the elimination of certain matters
               which appear to involve the parties but in fact affect another party with the same or similar name.
               Be assured that the Statement of Information is essential and will be kept strictly confidential to
               this file.




                                                     END OF REQUIREMENTS




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                                           REQUIREMENTS
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                                        INFORMATIONAL NOTES SECTION


1.       The Company is not aware of any matters which would cause it to decline to attach CLTA Endorsement
         Form 116 indicating that there is located on said Land Single Family Residential property, known as 944
         Ariole Way, located within the city of Los Angeles, California, , to an Extended Coverage Loan Policy.

2.       Note: The policy of title insurance will include an arbitration provision. The Company or the insured may
         demand arbitration. Arbitrable matters may include, but are not limited to, any controversy or claim
         between the Company and the insured arising out of or relating to this policy, any service of the Company
         in connection with its issuance or the breach of a policy provision or other obligation. Please ask your
         escrow or title officer for a sample copy of the policy to be issued if you wish to review the arbitration
         provisions and any other provisions pertaining to your Title Insurance coverage.

3.       Notice: Please be aware that due to the conflict between federal and state laws concerning the
         cultivation, distribution, manufacture or sale of marijuana, the Company is not able to close or insure any
         transaction involving Land that is associated with these activities.




                                             END OF INFORMATIONAL NOTES

Ted Tan/Jennifer Wright (LA/Comm)/tt6




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                                                              Wire Fraud Alert
         This Notice is not intended to provide legal or professional advice. If you have any questions, please consult with a lawyer.

All parties to a real estate transaction are targets for wire fraud and many have lost hundreds of thousands of dollars
because they simply relied on the wire instructions received via email, without further verification. If funds are to be
wired in conjunction with this real estate transaction, we strongly recommend verbal verification of wire
instructions through a known, trusted phone number prior to sending funds.

In addition, the following non‐exclusive self‐protection strategies are recommended to minimize exposure to possible wire
fraud.

          NEVER RELY on emails purporting to change wire instructions. Parties to a transaction rarely change wire
           instructions in the course of a transaction.
          ALWAYS VERIFY wire instructions, specifically the ABA routing number and account number, by calling the party
           who sent the instructions to you. DO NOT use the phone number provided in the email containing the instructions,
           use phone numbers you have called before or can otherwise verify. Obtain the phone number of relevant
           parties to the transaction as soon as an escrow account is opened. DO NOT send an email to verify as the
           email address may be incorrect or the email may be intercepted by the fraudster.
          USE COMPLEX EMAIL PASSWORDS that employ a combination of mixed case, numbers, and symbols. Make
           your passwords greater than eight (8) characters. Also, change your password often and do NOT reuse the same
           password for other online accounts.
          USE MULTI-FACTOR AUTHENTICATION for email accounts. Your email provider or IT staff may have specific
           instructions on how to implement this feature.

For more information on wire‐fraud scams or to report an incident, please refer to the following links:
                 Federal Bureau of Investigation:                                              Internet Crime Complaint Center:
                          http://www.fbi.gov                                                              http://www.ic3.gov




Wire Fraud Alert                                                                                                                                Page 1
Original Effective Date: 5/11/2017
Current Version Date: 5/11/2017                                                                                            WIRE0016 (DSI Rev. 12/07/17)
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               Chicago Title Company
                                                               725 South Figueroa Street, Suite 200, Los Angeles, CA 90017
                                                                            Phone: (213) 488-4300 ● Fax: (213) 488-4377



                                                Notice of Available Discounts

Pursuant to Section 2355.3 in Title 10 of the California Code of Regulations Fidelity National Financial, Inc. and its
subsidiaries ("FNF") must deliver a notice of each discount available under our current rate filing along with the
delivery of escrow instructions, a preliminary report or commitment. Please be aware that the provision of this
notice does not constitute a waiver of the consumer's right to be charged the filed rate. As such, your transaction
may not qualify for the below discounts.
You are encouraged to discuss the applicability of one or more of the below discounts with a Company
representative. These discounts are generally described below; consult the rate manual for a full description of
the terms, conditions and requirements for such discount. These discounts only apply to transactions involving
services rendered by the FNF Family of Companies. This notice only applies to transactions involving property
improved with a one-to-four family residential dwelling.
Not all discounts are offered by every FNF Company. The discount will only be applicable to the FNF Company
as indicated by the named discount.
FNF Underwritten Title Company                                Underwritten by FNF Underwriters
CTC – Chicago Title company                                   CTIC – Chicago Title Insurance Company
CLTC – Commonwealth Land Title Company                        CLTIC - Commonwealth Land Title Insurance Company
FNTC – Fidelity National Title Company of California          FNTIC – Fidelity National Title Insurance Company
FNTCCA - Fidelity National Title Company of California        FNTIC - Fidelity National Title Insurance Company
TICOR – Ticor Title Company of California                     CTIC – Chicago Title Insurance Company
LTC – Lawyer’s Title Company                                  CLTIC – Commonwealth Land Title Insurance Company
SLTC – ServiceLink Title Company                              CTIC – Chicago Title Insurance Company

Available Discounts
DISASTER LOANS (CTIC, CLTIC, FNTIC)
The charge for a Lender's Policy (Standard or Extended coverage) covering the financing or refinancing by an
owner of record, within twenty-four (24) months of the date of a declaration of a disaster area by the government
of the United States or the State of California on any land located in said area, which was partially or totally
destroyed in the disaster, will be fifty percent (50%) of the appropriate title insurance rate.

CHURCHES OR CHARITABLE NON-PROFIT ORGANIZATIONS (CTIC, FNTIC)
On properties used as a church or for charitable purposes within the scope of the normal activities of such
entities, provided said charge is normally the church's obligation the charge for an owner's policy shall be fifty
percent (50%) to seventy percent (70%) of the appropriate title insurance rate, depending on the type of coverage
selected. The charge for a lender's policy shall be forty (40%) to fifty percent (50%) of the appropriate title
insurance rate, depending on the type of coverage selected.




Notice of Available Discounts (Rev. 01-15-20)                                           Last Saved: February 22, 2022 by CH2
MISC0164 (DSI Rev. 03/12/20)                                                              Escrow No.: 00166345-994-LT2-1TW
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                                              FIDELITY NATIONAL FINANCIAL, INC.
                                                       PRIVACY NOTICE
Effective August 1, 2021

Fidelity National Financial, Inc. and its majority-owned subsidiary companies (collectively, “FNF,” “our,” or “we”) respect and are
committed to protecting your privacy. This Privacy Notice explains how we collect, use, and protect personal information, when and to
whom we disclose such information, and the choices you have about the use and disclosure of that information.

A limited number of FNF subsidiaries have their own privacy notices. If a subsidiary has its own privacy notice, the privacy notice will
be available on the subsidiary’s website and this Privacy Notice does not apply.

Collection of Personal Information
FNF may collect the following categories of Personal Information:
 contact information (e.g., name, address, phone number, email address);
 demographic information (e.g., date of birth, gender, marital status);
 identity information (e.g. Social Security Number, driver’s license, passport, or other government ID number);
 financial account information (e.g. loan or bank account information); and
 other personal information necessary to provide products or services to you.

We may collect Personal Information about you from:
 information we receive from you or your agent;
 information about your transactions with FNF, our affiliates, or others; and
 information we receive from consumer reporting agencies and/or governmental entities, either directly from these entities or through
  others.

Collection of Browsing Information
FNF automatically collects the following types of Browsing Information when you access an FNF website, online service, or application
(each an “FNF Website”) from your Internet browser, computer, and/or device:
 Internet Protocol (IP) address and operating system;
 browser version, language, and type;
 domain name system requests; and
 browsing history on the FNF Website, such as date and time of your visit to the FNF Website and visits to the pages within the FNF
  Website.

Like most websites, our servers automatically log each visitor to the FNF Website and may collect the Browsing Information described
above. We use Browsing Information for system administration, troubleshooting, fraud investigation, and to improve our websites.
Browsing Information generally does not reveal anything personal about you, though if you have created a user account for an FNF
Website and are logged into that account, the FNF Website may be able to link certain browsing activity to your user account.

Other Online Specifics
Cookies. When you visit an FNF Website, a “cookie” may be sent to your computer. A cookie is a small piece of data that is sent to your
Internet browser from a web server and stored on your computer’s hard drive. Information gathered using cookies helps us improve
your user experience. For example, a cookie can help the website load properly or can customize the display page based on your
browser type and user preferences. You can choose whether or not to accept cookies by changing your Internet browser settings. Be
aware that doing so may impair or limit some functionality of the FNF Website.

Web Beacons. We use web beacons to determine when and how many times a page has been viewed. This information is used to
improve our websites.

Do Not Track. Currently our FNF Websites do not respond to “Do Not Track” features enabled through your browser.

Links to Other Sites. FNF Websites may contain links to unaffiliated third-party websites. FNF is not responsible for the privacy
practices or content of those websites. We recommend that you read the privacy policy of every website you visit.

Use of Personal Information
FNF uses Personal Information for three main purposes:
 To provide products and services to you or in connection with a transaction involving you.
 To improve our products and services.
 To communicate with you about our, our affiliates’, and others’ products and services, jointly or independently.

When Information Is Disclosed
We may disclose your Personal Information and Browsing Information in the following circumstances:
 to enable us to detect or prevent criminal activity, fraud, material misrepresentation, or nondisclosure;
 to nonaffiliated service providers who provide or perform services or functions on our behalf and who agree to use the information only
  to provide such services or functions;

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 to nonaffiliated third party service providers with whom we perform joint marketing, pursuant to an agreement with them to jointly
  market financial products or services to you;
 to law enforcement or authorities in connection with an investigation, or in response to a subpoena or court order; or
 in the good-faith belief that such disclosure is necessary to comply with legal process or applicable laws, or to protect the rights,
  property, or safety of FNF, its customers, or the public.

The law does not require your prior authorization and does not allow you to restrict the disclosures described above. Additionally, we
may disclose your information to third parties for whom you have given us authorization or consent to make such disclosure. We do not
otherwise share your Personal Information or Browsing Information with nonaffiliated third parties, except as required or permitted by
law. We may share your Personal Information with affiliates (other companies owned by FNF) to directly market to you. Please see
“Choices with Your Information” to learn how to restrict that sharing.

We reserve the right to transfer your Personal Information, Browsing Information, and any other information, in connection with the sale
or other disposition of all or part of the FNF business and/or assets, or in the event of bankruptcy, reorganization, insolvency,
receivership, or an assignment for the benefit of creditors. By submitting Personal Information and/or Browsing Information to FNF, you
expressly agree and consent to the use and/or transfer of the foregoing information in connection with any of the above described
proceedings.

Security of Your Information
We maintain physical, electronic, and procedural safeguards to protect your Personal Information.

Choices With Your Information
If you do not want FNF to share your information among our affiliates to directly market to you, you may send an “opt out” request as
directed at the end of this Privacy Notice. We do not share your Personal Information with nonaffiliates for their use to direct market to
you without your consent.

Whether you submit Personal Information or Browsing Information to FNF is entirely up to you. If you decide not to submit Personal
Information or Browsing Information, FNF may not be able to provide certain services or products to you.

For California Residents: We will not share your Personal Information or Browsing Information with nonaffiliated third parties, except as
permitted by California law. For additional information about your California privacy rights, please visit the “California Privacy” link on
our website (https://fnf.com/pages/californiaprivacy.aspx) or call (888) 413-1748.

For Nevada Residents: You may be placed on our internal Do Not Call List by calling (888) 714-2710 or by contacting us via the
information set forth at the end of this Privacy Notice. Nevada law requires that we also provide you with the following contact
information: Bureau of Consumer Protection, Office of the Nevada Attorney General, 555 E. Washington St., Suite 3900, Las Vegas,
NV 89101; Phone number: (702) 486-3132; email: BCPINFO@ag.state.nv.us.
For Oregon Residents: We will not share your Personal Information or Browsing Information with nonaffiliated third parties for
marketing purposes, except after you have been informed by us of such sharing and had an opportunity to indicate that you do not want
a disclosure made for marketing purposes.

For Vermont Residents: We will not disclose information about your creditworthiness to our affiliates and will not disclose your personal
information, financial information, credit report, or health information to nonaffiliated third parties to market to you, other than as
permitted by Vermont law, unless you authorize us to make those disclosures.

Information From Children
The FNF Websites are not intended or designed to attract persons under the age of eighteen (18).We do not collect Personal
Information from any person that we know to be under the age of thirteen (13) without permission from a parent or guardian.

International Users
FNF’s headquarters is located within the United States. If you reside outside the United States and choose to provide Personal
Information or Browsing Information to us, please note that we may transfer that information outside of your country of residence. By
providing FNF with your Personal Information and/or Browsing Information, you consent to our collection, transfer, and use of such
information in accordance with this Privacy Notice.

FNF Website Services for Mortgage Loans
Certain FNF companies provide services to mortgage loan servicers, including hosting websites that collect customer information on
behalf of mortgage loan servicers (the “Service Websites”). The Service Websites may contain links to both this Privacy Notice and the
mortgage loan servicer or lender’s privacy notice. The sections of this Privacy Notice titled When Information is Disclosed, Choices with
Your Information, and Accessing and Correcting Information do not apply to the Service Websites. The mortgage loan servicer or
lender’s privacy notice governs use, disclosure, and access to your Personal Information. FNF does not share Personal Information
collected through the Service Websites, except as required or authorized by contract with the mortgage loan servicer or lender, or as
required by law or in the good-faith belief that such disclosure is necessary: to comply with a legal process or applicable law, to enforce
this Privacy Notice, or to protect the rights, property, or safety of FNF or the public.




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Your Consent To This Privacy Notice; Notice Changes
By submitting Personal Information and/or Browsing Information to FNF, you consent to the collection and use of the information in
accordance with this Privacy Notice. We may change this Privacy Notice at any time. The Privacy Notice’s effective date will show the
last date changes were made. If you provide information to us following any change of the Privacy Notice, that signifies your assent to
and acceptance of the changes to the Privacy Notice.

Accessing and Correcting Information; Contact Us
If you have questions, would like to correct your Personal Information, or want to opt-out of information sharing for affiliate marketing,
visit FNF’s Opt Out Page or contact us by phone at (888) 714-2710 or by mail to:

                                                     Fidelity National Financial, Inc.
                                                         601 Riverside Avenue,
                                                       Jacksonville, Florida 32204
                                                        Attn: Chief Privacy Officer




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                                               ATTACHMENT ONE (Revised 05-06-16)

                                                      CALIFORNIA LAND TITLE ASSOCIATION
                                                      STANDARD COVERAGE POLICY – 1990
                                                           EXCLUSIONS FROM COVERAGE
The following matters are expressly excluded from the coverage of this policy and the Company will not pay loss or damage, costs, attorneys' fees or
expenses which arise by reason of:
1. (a) Any law, ordinance or governmental regulation (including but not limited to building or zoning laws, ordinances, or regulations) restricting,
           regulating, prohibiting or relating (i) the occupancy, use, or enjoyment of the land; (ii) the character, dimensions or location of any improvement
           now or hereafter erected on the land; (iii) a separation in ownership or a change in the dimensions or area of the land or any parcel of which
           the land is or was a part; or (iv) environmental protection, or the effect of any violation of these laws, ordinances or governmental regulations,
           except to the extent that a notice of the enforcement thereof or a notice of a defect, lien, or encumbrance resulting from a violation or alleged
           violation affecting the land has been recorded in the public records at Date of Policy.
     (b) Any governmental police power not excluded by (a) above, except to the extent that a notice of the exercise thereof or notice of a defect, lien
           or encumbrance resulting from a violation or alleged violation affecting the land has been recorded in the public records at Date of Policy.
2. Rights of eminent domain unless notice of the exercise thereof has been recorded in the public records at Date of Policy, but not excluding from
     coverage any taking which has occurred prior to Date of Policy which would be binding on the rights of a purchaser for value without knowledge.
3. Defects, liens, encumbrances, adverse claims or other matters:
     (a) whether or not recorded in the public records at Date of Policy, but created, suffered, assumed or agreed to by the insured claimant;
     (b) not known to the Company, not recorded in the public records at Date of Policy, but known to the insured claimant and not disclosed in writing
           to the Company by the insured claimant prior to the date the insured claimant became an insured under this policy;
     (c) resulting in no loss or damage to the insured claimant;
     (d) attaching or created subsequent to Date of Policy; or
     (e) resulting in loss or damage which would not have been sustained if the insured claimant had paid value for the insured mortgage or for the
           estate or interest insured by this policy.
4. Unenforceability of the lien of the insured mortgage because of the inability or failure of the insured at Date of Policy, or the inability or failure of any
     subsequent owner of the indebtedness, to comply with the applicable doing business laws of the state in which the land is situated.
5. Invalidity or unenforceability of the lien of the insured mortgage, or claim thereof, which arises out of the transaction evidenced by the insured
     mortgage and is based upon usury or any consumer credit protection or truth in lending law.
6. Any claim, which arises out of the transaction vesting in the insured the estate of interest insured by this policy or the transaction creating the
     interest of the insured lender, by reason of the operation of federal bankruptcy, state insolvency or similar creditors' rights laws.

                                            EXCEPTIONS FROM COVERAGE - SCHEDULE B, PART I
This policy does not insure against loss or damage (and the Company will not pay costs, attorneys' fees or expenses) which arise by reason of:
1. Taxes or assessments which are not shown as existing liens by the records of any taxing authority that levies taxes or assessments on real
     property or by the public records.
     Proceedings by a public agency which may result in taxes or assessments, or notices of such proceedings, whether or not shown by the records of
     such agency or by the public records.
2. Any facts, rights, interests, or claims which are not shown by the public records but which could be ascertained by an inspection of the land or
     which may be asserted by persons in possession thereof.
3. Easements, liens or encumbrances, or claims thereof, not shown by the public records.
4. Discrepancies, conflicts in boundary lines, shortage in area, encroachments, or any other facts which a correct survey would disclose, and which
     are not shown by the public records.
5. (a) Unpatented mining claims; (b) reservations or exceptions in patents or in Acts authorizing the issuance thereof; (c) water rights, claims or title to
     water, whether or not the matters excepted under (a), (b) or (c) are shown by the public records.
6. Any lien or right to a lien for services, labor or material not shown by the public records.


                                       CLTA HOMEOWNER'S POLICY OF TITLE INSURANCE (12-02-13)
                                           ALTA HOMEOWNER'S POLICY OF TITLE INSURANCE
                                                                       EXCLUSIONS
In addition to the Exceptions in Schedule B, You are not insured against loss, costs, attorneys' fees, and expenses resulting from:
1. Governmental police power, and the existence or violation of those portions of any law or government regulation concerning:
     a. building;
     b. zoning;
     c. land use;
     d. improvements on the Land;
     e. land division; and
     f.     environmental protection.
     This Exclusion does not limit the coverage described in Covered Risk 8.a., 14, 15, 16, 18, 19, 20, 23 or 27.
2. The failure of Your existing structures, or any part of them, to be constructed in accordance with applicable building codes. This Exclusion does not
     limit the coverage described in Covered Risk 14 or 15.
3. The right to take the Land by condemning it. This Exclusion does not limit the coverage described in Covered Risk 17.
4. Risks:
     a. that are created, allowed, or agreed to by You, whether or not they are recorded in the Public Records;
     b. that are Known to You at the Policy Date, but not to Us, unless they are recorded in the Public Records at the Policy Date;

Attachment One – CA (Rev. 05-06-16)                                                                                                                 Page 1
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express permission from the California Land Title Association.
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     c. that result in no loss to You; or
     d. that first occur after the Policy Date - this does not limit the coverage described in Covered Risk 7, 8.e., 25, 26, 27 or 28.
5.   Failure to pay value for Your Title.
6.   Lack of a right:
     a. to any land outside the area specifically described and referred to in paragraph 3 of Schedule A; and
     b. in streets, alleys, or waterways that touch the Land.
     This Exclusion does not limit the coverage described in Covered Risk 11 or 21.
7.   The transfer of the Title to You is invalid as a preferential transfer or as a fraudulent transfer or conveyance under federal bankruptcy, state
     insolvency, or similar creditors’ rights laws.
8.   Contamination, explosion, fire, flooding, vibration, fracturing, earthquake, or subsidence.
9.   Negligence by a person or an Entity exercising a right to extract or develop minerals, water, or any other substances.

                                                       LIMITATIONS ON COVERED RISKS
Your insurance for the following Covered Risks is limited on the Owner’s Coverage Statement as follows:
         For Covered Risk 16, 18, 19, and 21 Your Deductible Amount and Our Maximum Dollar Limit of Liability shown in Schedule A.
The deductible amounts and maximum dollar limits shown on Schedule A are as follows:
                                                                                                                Our Maximum Dollar
                                                              Your Deductible Amount                              Limit of Liability
           Covered Risk 16:                1.00% of Policy Amount Shown in Schedule A or $2,500.00                  $ 10,000.00
                                                                 (whichever is less)
           Covered Risk 18:                1.00% of Policy Amount Shown in Schedule A or $5,000.00                  $ 25,000.00
                                                                 (whichever is less)
           Covered Risk 19:                1.00% of Policy Amount Shown in Schedule A or $5,000.00                  $ 25,000.00
                                                                 (whichever is less)
           Covered Risk 21:                1.00% of Policy Amount Shown in Schedule A or $2,500.00                   $ 5,000.00
                                                                 (whichever is less)


                                                       2006 ALTA LOAN POLICY (06-17-06)
                                                         EXCLUSIONS FROM COVERAGE
The following matters are expressly excluded from the coverage of this policy, and the Company will not pay loss or damage, costs, attorneys' fees, or
expenses that arise by reason of:
1. (a) Any law, ordinance, permit, or governmental regulation (including those relating to building and zoning) restricting, regulating, prohibiting, or
           relating to
           (i) the occupancy, use, or enjoyment of the Land;
           (ii) the character, dimensions, or location of any improvement erected on the Land;
           (iii) the subdivision of land; or
           (iv) environmental protection;
           or the effect of any violation of these laws, ordinances, or governmental regulations. This Exclusion 1(a) does not modify or limit the coverage
           provided under Covered Risk 5.
     (b) Any governmental police power. This Exclusion 1(b) does not modify or limit the coverage provided under Covered Risk 6.
2. Rights of eminent domain. This Exclusion does not modify or limit the coverage provided under Covered Risk 7 or 8.
3. Defects, liens, encumbrances, adverse claims, or other matters
     (a) created, suffered, assumed, or agreed to by the Insured Claimant;
     (b) not Known to the Company, not recorded in the Public Records at Date of Policy, but Known to the Insured Claimant and not disclosed in
           writing to the Company by the Insured Claimant prior to the date the Insured Claimant became an Insured under this policy;
     (c) resulting in no loss or damage to the Insured Claimant;
     (d) attaching or created subsequent to Date of Policy (however, this does not modify or limit the coverage provided under Covered Risk 11, 13 or
           14); or
     (e) resulting in loss or damage that would not have been sustained if the Insured Claimant had paid value for the Insured Mortgage.
4. Unenforceability of the lien of the Insured Mortgage because of the inability or failure of an Insured to comply with applicable doing-business laws of
     the state where the Land is situated.
5. Invalidity or unenforceability in whole or in part of the lien of the Insured Mortgage that arises out of the transaction evidenced by the Insured
     Mortgage and is based upon usury or any consumer credit protection or truth-in-lending law.
6. Any claim, by reason of the operation of federal bankruptcy, state insolvency, or similar creditors’ rights laws, that the transaction creating the lien
     of the Insured Mortgage, is
     (a) a fraudulent conveyance or fraudulent transfer, or
     (b) a preferential transfer for any reason not stated in Covered Risk 13(b) of this policy.
7. Any lien on the Title for real estate taxes or assessments imposed by governmental authority and created or attaching between Date of Policy and
     the date of recording of the Insured Mortgage in the Public Records. This Exclusion does not modify or limit the coverage provided under Covered
     Risk 11(b).
The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from Coverage, the
Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:

                                                         EXCEPTIONS FROM COVERAGE
{Except as provided in Schedule B - Part II,{ t{or T}his policy does not insure against loss or damage, and the Company will not pay costs, attorneys’
fees or expenses, that arise by reason of:



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         Case 2:21-bk-18205-DS                    Doc 142 Filed 03/08/22 Entered 03/08/22 16:34:22                                        Desc
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                                                                         {PART I
{The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from Coverage,
the Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:
1. (a) Taxes or assessments that are not shown as existing liens by the records of any taxing authority that levies taxes or assessments on real
     property or by the Public Records; (b) proceedings by a public agency that may result in taxes or assessments, or notices of such proceedings,
     whether or not shown by the records of such agency or by the Public Records.
2. Any facts, rights, interests, or claims that are not shown by the Public Records but that could be ascertained by an inspection of the Land or that
     may be asserted by persons in possession of the Land.
3. Easements, liens or encumbrances, or claims thereof, not shown by the Public Records.
4. Any encroachment, encumbrance, violation, variation, or adverse circumstance affecting the Title that would be disclosed by an accurate and
     complete land survey of the Land and not shown by the Public Records.
5. (a) Unpatented mining claims; (b) reservations or exceptions in patents or in Acts authorizing the issuance thereof; (c) water rights, claims or title to
     water, whether or not the matters excepted under (a), (b), or (c) are shown by the Public Records.
6. Any lien or right to a lien for services, labor or material not shown by the Public Records.}

                                                                         PART II
In addition to the matters set forth in Part I of this Schedule, the Title is subject to the following matters, and the Company insures against loss or
damage sustained in the event that they are not subordinate to the lien of the Insured Mortgage:}


                                                  2006 ALTA OWNER’S POLICY (06-17-06)
                                                       EXCLUSIONS FROM COVERAGE
The following matters are expressly excluded from the coverage of this policy, and the Company will not pay loss or damage, costs, attorneys' fees, or
expenses that arise by reason of:
1. (a) Any law, ordinance, permit, or governmental regulation (including those relating to building and zoning) restricting, regulating, prohibiting, or
          relating to
          (i) the occupancy, use, or enjoyment of the Land;
          (ii) the character, dimensions, or location of any improvement erected on the Land;
          (iii) the subdivision of land; or
          (iv) environmental protection;
          or the effect of any violation of these laws, ordinances, or governmental regulations. This Exclusion 1(a) does not modify or limit the coverage
          provided under Covered Risk 5.
     (b) Any governmental police power. This Exclusion 1(b) does not modify or limit the coverage provided under Covered Risk 6.
2. Rights of eminent domain. This Exclusion does not modify or limit the coverage provided under Covered Risk 7 or 8.
3. Defects, liens, encumbrances, adverse claims, or other matters
     (a) created, suffered, assumed, or agreed to by the Insured Claimant;
     (b) not Known to the Company, not recorded in the Public Records at Date of Policy, but Known to the Insured Claimant and not disclosed in
          writing to the Company by the Insured Claimant prior to the date the Insured Claimant became an Insured under this policy;
     (c) resulting in no loss or damage to the Insured Claimant;
     (d) attaching or created subsequent to Date of Policy (however, this does not modify or limit the coverage provided under Covered Risk 9 and 10);
          or
     (e) resulting in loss or damage that would not have been sustained if the Insured Claimant had paid value for the Title.
4. Any claim, by reason of the operation of federal bankruptcy, state insolvency, or similar creditors’ rights laws, that the transaction vesting the Title
     as shown in Schedule A, is
     (a) a fraudulent conveyance or fraudulent transfer; or
     (b) a preferential transfer for any reason not stated in Covered Risk 9 of this policy.
5. Any lien on the Title for real estate taxes or assessments imposed by governmental authority and created or attaching between Date of Policy and
     the date of recording of the deed or other instrument of transfer in the Public Records that vests Title as shown in Schedule A.
The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from Coverage, the
Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:

                                                         EXCEPTIONS FROM COVERAGE
This policy does not insure against loss or damage, and the Company will not pay costs, attorneys’ fees or expenses, that arise by reason of:
{The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from Coverage,
the Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:
1. (a) Taxes or assessments that are not shown as existing liens by the records of any taxing authority that levies taxes or assessments on real
     property or by the Public Records; (b) proceedings by a public agency that may result in taxes or assessments, or notices of such proceedings,
     whether or not shown by the records of such agency or by the Public Records.
2. Any facts, rights, interests, or claims that are not shown in the Public Records but that could be ascertained by an inspection of the Land or that
     may be asserted by persons in possession of the Land.
3. Easements, liens or encumbrances, or claims thereof, not shown by the Public Records.
4. Any encroachment, encumbrance, violation, variation, or adverse circumstance affecting the Title that would be disclosed by an accurate and
     complete land survey of the Land and that are not shown by the Public Records.
5. (a) Unpatented mining claims; (b) reservations or exceptions in patents or in Acts authorizing the issuance thereof; (c) water rights, claims or title to
     water, whether or not the matters excepted under (a), (b), or (c) are shown by the Public Records.
6. Any lien or right to a lien for services, labor or material not shown by the Public Records. }
7. {Variable exceptions such as taxes, easements, CC&R’s, etc. shown here.}


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                ALTA EXPANDED COVERAGE RESIDENTIAL LOAN POLICY – ASSESSMENTS PRIORITY (04-02-15)
                                                         EXCLUSIONS FROM COVERAGE
The following matters are expressly excluded from the coverage of this policy and the Company will not pay loss or damage, costs, attorneys’ fees or
expenses which arise by reason of:
1. (a) Any law, ordinance, permit, or governmental regulation (including those relating to building and zoning) restricting, regulating, prohibiting, or
           relating to
           (i) the occupancy, use, or enjoyment of the Land;
           (ii) the character, dimensions, or location of any improvement erected on the Land;
           (iii) the subdivision of land; or
           (iv) environmental protection;
           or the effect of any violation of these laws, ordinances, or governmental regulations. This Exclusion 1(a) does not modify or limit the coverage
           provided under Covered Risk 5, 6, 13(c), 13(d), 14 or 16.
     (b) Any governmental police power. This Exclusion 1(b) does not modify or limit the coverage provided under Covered Risk 5, 6, 13(c), 13(d), 14
           or 16.
2. Rights of eminent domain. This Exclusion does not modify or limit the coverage provided under Covered Risk 7 or 8.
3. Defects, liens, encumbrances, adverse claims, or other matters
     (a) created, suffered, assumed, or agreed to by the Insured Claimant;
     (b) not Known to the Company, not recorded in the Public Records at Date of Policy, but Known to the Insured Claimant and not disclosed in
           writing to the Company by the Insured Claimant prior to the date the Insured Claimant became an Insured under this policy;
     (c) resulting in no loss or damage to the Insured Claimant;
     (d) attaching or created subsequent to Date of Policy (however, this does not modify or limit the coverage provided under Covered Risk 11, 16,
           17, 18, 19, 20, 21, 22, 23, 24, 27 or 28); or
     (e) resulting in loss or damage that would not have been sustained if the Insured Claimant had paid value for the Insured Mortgage.
4. Unenforceability of the lien of the Insured Mortgage because of the inability or failure of an Insured to comply with applicable doing-business laws of
     the state where the Land is situated.
5. Invalidity or unenforceability in whole or in part of the lien of the Insured Mortgage that arises out of the transaction evidenced by the Insured
     Mortgage and is based upon usury, or any consumer credit protection or truth-in-lending law. This Exclusion does not modify or limit the coverage
     provided in Covered Risk 26.
6. Any claim of invalidity, unenforceability or lack of priority of the lien of the Insured Mortgage as to Advances or modifications made after the Insured
     has Knowledge that the vestee shown in Schedule A is no longer the owner of the estate or interest covered by this policy. This Exclusion does not
     modify or limit the coverage provided in Covered Risk 11.
7. Any lien on the Title for real estate taxes or assessments imposed by governmental authority and created or attaching subsequent to Date of
     Policy. This Exclusion does not modify or limit the coverage provided in Covered Risk 11(b) or 25.
8. The failure of the residential structure, or any portion of it, to have been constructed before, on or after Date of Policy in accordance with applicable
     building codes. This Exclusion does not modify or limit the coverage provided in Covered Risk 5 or 6.
9. Any claim, by reason of the operation of federal bankruptcy, state insolvency, or similar creditors’ rights laws, that the transaction creating the lien
     of the Insured Mortgage, is
     (a) a fraudulent conveyance or fraudulent transfer, or
     (b) a preferential transfer for any reason not stated in Covered Risk 27(b) of this policy.
10. Contamination, explosion, fire, flooding, vibration, fracturing, earthquake, or subsidence.
11. Negligence by a person or an Entity exercising a right to extract or develop minerals, water, or any other substances.




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SUPPLEMENTAL ADDENDUM TO CALIFORNIA RESIDENTIAL PURCHASE AGREEMENT AND
         JOINT ESCROW INSTRUCTIONS DATED AS OF FEBRUARY 10, 2022
   BETWEEN CRESTLLOYD, LLC, DEBTOR IN POSSESSION, THROUGH ITS MANAGER,
              SIERRACONSTELLATION PARTNERS, LLC, AS SELLER,
                   AND Richard
                       _________________________,
                               Saghian or approved assignee AS BUYER

    1. Supplemental Addendum Provisions Prevail. This Supplemental Addendum (the “Addendum”) modifies
       the Residential Purchase Agreement and Joint Escrow Instructions (C.A.R. Form RPA, Revised 12/21)
       (the “Agreement”). In the event of any conflict between any of the provisions of the Agreement and/or
       this Addendum, this Addendum shall be deemed to be paramount and shall prevail.

    2. Definitions. All capitalized terms used in this Addendum which are not defined in this Addendum shall
       have the meanings ascribed to them in the Agreement.

    3. Bankruptcy Court Approval. The parties acknowledge that Seller filed for bankruptcy protection on
       October 26, 2021 under chapter 11 of title 11 of the United States Code §§ 101, et seq. (the “Bankruptcy
       Code”) and is a Chapter 11 debtor in possession of the Property in its bankruptcy case pending in the
       United States Bankruptcy Court for the Central District of California (the “Court”) (Case No. 2:21-bk-
       18205-DS). The parties acknowledge that any sale of the Property is subject to the approval of the Court
       and requires the entry of an order of the Court approving the sale which will be obtained by Seller as soon
       as reasonably practicable after the Auction.

    4. Buyer’s Premium. In addition to the accepted high bid for the Property acknowledged by the auctioneer
       Concierge Auctions, LLC (“Concierge”) at auction (the “High Bid”) and approved by the Court, Buyer
       shall pay a fee at Closing to Concierge in an amount equal to twelve percent (12%) of the High Bid (the
       “Buyer’s Premium”). Upon Closing, Buyer irrevocably directs Escrow Holder to hold such funds and to
       pay Concierge the Buyer’s Premium, less any amounts owed to Seller.

    5. Earnest Money. Buyer shall deliver, as its initial earnest money deposit, an amount equal to twelve percent
       (12%) of the total purchase price for the Property, less the bidder’s deposit of TWO HUNDRED AND
       FIFTY THOUSAND ($250,000.00) U.S. DOLLARS submitted prior to the auction (the “Deposit”). The
       Deposit shall be wired to Chartwell Escrow for receipt no later than 5:00 p.m. ET on the second business
       day after the conclusion of the Auction. Except as provided herein, Buyer acknowledges and agrees that
       upon execution of the Agreement, the Deposit becomes Non-Refundable.

    6. Title Insurance/Certain Closing Costs. ________________
                                                    Chicago Title      shall act as the title insurance issuer and
       Chartwell Escrow shall act as the closing agent for this transaction (the “Title Company” or “Escrow
       Holder”). The Seller shall pay for the title search and a standard owner’s CLTA title insurance policy.
       The Buyer shall pay the conveyance tax on the deed. Except as expressly provided otherwise in the
       Agreement, all other closing costs shall be allocated in accordance with the norms in the county and state
       where the Property is located. In the event Buyer chooses to order title through a title company other than
       the company designated by Seller or to order broader ALTA coverage, Buyer shall be solely responsible
       for the costs of such title search and title insurance and/or for the incremental costs for broader ALTA
       coverage.

    7. Acceptance of Property. To the fullest extent permitted by applicable law, Buyer accepts the Property in
       its “AS IS, WITH ALL FAULTS” condition at the time of Closing. Buyer acknowledges that it has had
       the opportunity to conduct all due diligence and investigation of the Property (including but not limited
       to title, survey, and physical condition) that it desires prior to signing this Agreement. Buyer waives all
Buyer's Initials (________) (________)                                          Seller’s Initials (________) (________)
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        right to rescind or cancel the Agreement to the fullest extent allowed under applicable law. Buyer has no
        right to rescind or cancel and waives all such rights including, but not limited to, rights under Cal. Civil
        Code Section 1102.3.

        The Seller will convey the Property by warranty deed without any representations or warranties
        whatsoever, including, without limitation, representations or warranties as to oil and mineral rights, city
        or government agency notifications regarding work to be done, physical condition, compliance with state,
        city or federal statutes, codes, ordinances, or regulations, geological stability, zoning, suitability for
        improvement, and fire insurance policies to cover any improvements on the Property, nor any assurances
        regarding the subdividability of the Property, provided, however, that the Seller shall be required to deliver
        good and marketable title to the Buyer or any Back-Up Buyer.

    8. Additional Conditions of Sale:

            a. THE BUYER’S PURCHASE OF THE PROPERTY IS A CASH TRANSACTION WITH NO
               CONTINGENCIES OR CONDITIONS OF ANY KIND, including, without limitation, a
               contingency for financing, due diligence or inspections, except that the Seller is required to (y)
               obtain Court approval and the entry of an order of the Court approving the sale of the Property to
               the Buyer that is not subject to a stay pending appeal and (z) deliver good and marketable title to
               the Property to the Buyer.

            b. The sale of the Property is subject to Court approval after notice to the United States Trustee, all
               creditors, and all parties in interest as required by the Bankruptcy Code, Federal Rules of
               Bankruptcy Procedure, and Local Bankruptcy Rules, which approval will be obtained by Owner
               as soon as reasonably practicable after the completion of the Auction.

            c. The Property will be conveyed subject to standard allocations and any and all easements,
               restrictions, rights and conditions of record and rights of way, against, on or regarding the Property.
               Title, however, is to be transferred free and clear of all liens, claims and encumbrances except
               those non-monetary liens and encumbrances set forth on that certain preliminary title report
               prepared by Chicago Title Company and dated as of November 16, 2021, a copy of which has been
               delivered to Buyer.

            d. If for any reason, or no reason whatsoever, the Seller is unable to deliver good and marketable title
               to the Property to the Bidder, the Bidder’s sole remedy shall be the return of any money that it has
               deposited toward the purchase of the Property.

    9. Disclosures. To the extent that Seller is obligated to deliver disclosures or other documents to Buyer by
       law or under the Agreement, Buyer acknowledges having received all such disclosures and documents
       prior to the Auction of the Property and/or waives the right to such disclosures, to the fullest extent allowed
       under applicable law. Buyer waives all rights to rescind the Agreement or to pursue remedies or penalties
       against Seller (including repairs) under applicable law.

    10. Default. NOTWITHSTANDING ANYTHING TO THE CONTRARY IN THE AGREEMENT, IF
        BUYER IS IN DEFAULT, THE DEPOSIT SHALL BE RETAINED BY SELLER AND BY
        CONCIERGE PER THE TERMS OF THE AUCTION AGREEMENT BETWEEN SELLER AND
        CONCIERGE AND THE BIDDER TERMS AND CONDITIONS BETWEEN BUYER AND
Buyer's Initials (________) (________)                                             Seller’s Initials (________) (________)
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        CONCIERGE, TO THE FULLEST EXTENT PERMITTED BY APPLICABLE LAW. BUYER
        SHALL BE RESPONSIBLE FOR THE PAYMENT OF ANY REMAINING BUYER’S PREMIUM
        TO CONCIERGE, AND SELLER MAY RECOVER SUCH DAMAGES AS MAY BE PROPER;
        OR SELLER MAY ELECT TO TREAT THIS AGREEMENT AS BEING IN FULL FORCE AND
        EFFECT AND SELLER SHALL HAVE THE RIGHT TO SPECIFIC PERFORMANCE OR
        DAMAGES OR BOTH.

    11. Disputes; Venue. The parties agree to submit all controversies, disputes, claims and matters of difference
        arising out of or relating to the Agreement and/or this Addendum, including but not limited to its
        enforcement, scope and/or interpretation, as a core proceeding exclusively in the Court and agree to submit
        to personal jurisdiction in the Court, sitting without a jury, which is expressly waived. In the event of any
        such Court action, the prevailing party shall be entitled to reimbursement from the non-prevailing party
        of all reasonable attorney’s fees and costs/expenses of the prevailing party and any award of the Court
        will include costs and reasonable attorneys’ fees to the prevailing party.

    12. Third-Party Beneficiary. Seller and Buyer designate Concierge as a third-party beneficiary of this
        Agreement, having the right to enforce any of the provisions that pertain to Concierge.

    13. Severability. Whenever possible, each provision of the Agreement and this Addendum shall be interpreted
        in such manner as to be effective and valid under applicable law, but if any provision of the Agreement is
        held to be prohibited by or invalid under applicable law, such provision shall be ineffective only to the
        extent of such prohibition or invalidity, without invalidating the remainder of the Agreement.

       IN WITNESS WHEREOF, Seller and Buyer have signed this Addendum as of the day and year first
above written.
SELLER:                                                               BUYER:
CRESTLLOYD, LLC, DEBTOR IN POSSESSION

    BY: SIERRACONSTELLATION PARTNERS, LLC,
      ITS MANAGER

__________________________________                                    ____________________________
By: Lawrence R. Perkins                                                Richard Saghian or approved assignee
Its: Authorized Signatory




Buyer's Initials (________) (________)                                             Seller’s Initials (________) (________)
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                    EXHIBIT "3"
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                                        EXPOSURE REPORT



                                                  The One

                                          Bel Air, Los Angeles, California




Marketing

Exposure
Your property is being exposed to an audience of millions worldwide through our robust marketing and sales

platform including print collateral, email communication, and print and digital advertising.



Your property is being marketed to the following primary and feeder markets: Los Angeles and Greater

Southern California; New York City, New York; Dallas, Houston, and Austin, Texas; Miami, Fort Lauderdale, and

Palm Beach, Florida; Aspen, Telluride, and Vail, Colorado; Park City, Utah; Vancouver and Toronto, Canada;

London, United Kingdom; Indonesia; Hong Kong, China; Mexico; and The Middle East (Taiwan, Saudi Arabia,

Russia, Israel, Lebanon, Dubai, Thailand, Pakistan, Kazakhstan).




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Key Performance

Metrics
Our unique approach to marketing your property is designed to deliver certain results predicated on

performance against average projections. Below is you property's performance to date:



   PROSPECTS: 2,863

    (Projection: 1,000–1,200)


   QUALIFIED SHOWINGS: 40

    (Projection: 20–30)


   REGISTERED BIDDERS: 5

    (Projection: 3–7)




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Website

Performance
Your property is being displayed on the Concierge Auctions website, including a detailed description,

photography,   lm, digital marketing materials, and diligence documents since its launch.



To date, your property has received the following activity:



   PROPERTY VIEWS: 83,740


   PAGE VIEWS: 197,602


   FILM VIEWS: 16,800



791 REGIONS:

Top 10 | California, Texas, Florida, England, Michigan, New York, Illinois, New South Whales, Ontario, and
Colorado.



171 COUNTRIES:

Top 10 | United States, Canada, Australia, United Kingdom, Germany, France, Italy, the Netherlands, Brazil,
and Denmark.




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Digital Ad &

Organic Social

Campaign
Your tailored digital advertising strategy featuring your property is reaching global and geo-targeted buyer

prospects and brokers throughout multiple channels of paid search, social media, display and retargeting ads

via Google and Facebook campaigns in your target markets. In addition, properties on our platform are

receiving exposure on Concierge Auctions’ global social media channels including Facebook and Instagram. By

creating engaging content in varying media formats, we generate inbound tra     c, cultivate leads, and further

the reach of awareness of this opportunity. Below is a breakdown of the reach and engagement your

properties have received to date on each platform.




   FACEBOOK CAMPAIGN:

    202,910 REACH

    381 CLICKS


   GOOGLE CAMPAIGN:

    61,825 IMPRESSIONS

    841 CLICKS


   FACEBOOK POST(S):

    21,386 REACH

    1,521 ENGAGEMENT


   INSTAGRAM POST(S):

    17,423 IMPRESSIONS

    1,511 ENGAGEMENT




1. Property Collateral

An informational property piece (spec card) and a catalogue were designed and printed for on site

distribution, as well as made available digitally on the property webpage.



   Property Spec Cards: Your property is featured in printed informational pieces, made available for local

    market distribution, as well as direct mailed within target markets with a home valuation overlay.


   Catalogue: Your property is cover-featured andincluded in a high-quality, perfect-bound catalogue printed

    and made available for on-site distribution in your primary market. The catalogue is additionally made

    available in markets of same-issue properties with concurrent exposure cycles, and direct mailed to

    members of the Concierge Auctions' Private Client Group (including preferred agents), select Billionaires in




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the US, and to targeted owners of $10M-plus properties across the US. The catalogue is additionally

digitally distributed via an eblast to Concierge Auctions' subscribers. Click   here to view.




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2. Database & Email Communication

Concierge Auctions Database, Private Client Group, and Subscriber Outreach



Your property is being marketed to buyer prospects, agents, and brokers in a series of Concierge Auctions’ e-

blasts via our Auction Alert® and drip campaign emails, as well as targeted direct sales outreach to members

of our global database from like-kind auctions and our Private Client Lists.



Plus, recipients clicking through from e-blasts or other mediums leading to/on the property pages on

ConciergeAuctions.com are receiving additional ads on Facebook and across the Google Display Network. With

over 2 million Display Network sites, the entire Google Display Network reaches over 90% of Internet users

worldwide.



Agent Email Communication



A preview event email invitation was sent to key market real estate agents, featuring information about the

property, the auction, and the event. E-blasts were also made available to agents for distribution to their

clients and other agents for the property.



   1/7 — General Auction Eblast was sent to the agent for distribution.


   1/8 — Auction Alert® "Just Launched" sent to 160,000+ subscribers. Click here to view.


   1/9 — Standalone Auction Alert® sent to 160,000+ subscribers. Click here to view.


   1/17 — Standalone "Featured Film" email sent to campaign members. Click here to view.


   1/13, 1/19, 1/26, 2/3, 2/10, 2/17, 2/24 — Cumulative Film and 3D Tour emails have been sent weekly to

                                                                 ,
    subscribers. Click to view 1/13, 1/19, 1/26, 2/3, 2/10, 2/17 2/24


   1/15, 1/22, 1/29, 2/5, 2/12, 2/19, 2/26   — Weekly Auction Alert® sent to 120,000+ subscribers. Click to view
                                     ,
    1/15, 1/22, 1/29, 2/5, 2/12, 2/19 2/26.


   2/1 — Preview Event invite for The One went to 48,900+ real estate agents in the key markets of Los

    Angeles, Orange County, San Francisco, and San Diego and historical prospect subscribers from likekind

    sales. Click here to view.


   1/11 — "Concierge Catalogue" email was sent to 160,000+ subscribers. Click here to view.


   2/25 — Auction Alert® "Going, Going, Gone" will be sent to 160,000+ subscribers. Click here to view.


   2/28 — "Bidding Now Open" email was sent to campaign prospects and over 88,500 agents in the primary

    target markets of: Los Angeles, Orange County, San Francisco, San Diego, CA; New York; Dallas, Houston,

    Austin, TX; Miami, Palm Beach, Fort Lauderdale, FL; Aspen, Telluride, Vail, CO. Click here to view.




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3. Press

Your property was included in a monthly lineup release distributed via the national US wire.



   12/29 — EIN: Click   hereto view release.

Property pitched by Relevance International in New York to key market media during the exposure period.

Additional initiatives include: facilitation of any/all incoming media inquiries, arranging team comments and

interviews, and clipping and monitoring press. Pitched to the following publications:



   Forbes


   Fortune


   Barron's


   Businessweek


   CNN Money


   Mansion Global


   Realtor.com


   6sqft


   Observer


   Abode2


   PrimeRes


   Departures


   Elite Traveler


   Robb Report


   Esquire


   GQ


   Luxe Magazine


   Luxury Daily


   Travel + Leisure


   Town & Country


   Beverly Hills Courier


   Los Angeles Business Journal


   Los Angeles Daily News


   Los Angeles Times


   LA Weekly


   Orange County Register


   Orange County Review


   OC Weekly




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   OC Post


   Malibu Times


   The Local Malibu


   The San Diego Union-Tribune


   Times of San Diego


   Santa Barbara News-Press


   Santa Barbara Independent


   San Jose City Times


   The Mercury News


   The New York Times


   New York Post


   Real Estate Weekly


   New York Business Journal


   Dan’s Papers


   The East Hampton Star


   The Southampton Press


   Dallas Morning News


   Dallas Business Journal


   Houston Business Journal


   The Austin-American Statesman


   Austin Business Journal


   Miami Herald


   South Florida Sun Sentinel


   South Florida Business Journal


   Tampa Bay Times


   Orlando Sentinel


   Palm Beach Post


   Palm Beach Daily News


   The Aspen Times


   Aspen Daily News


   Telluride Daily Planet


   Vail Daily


   Park Record


   Utah Business


   Provo Daily Herald


   Globe and Mail


   Toronto Star


   Vancouver Sun




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   LondonLondon Evening Standard


   The Sun


   The Sunday Times


   Metro


   The Jakarta Post


   Jakarta Globe


   Media Indonesia


   The Bali Times


   South China Morning Post


   Apple Daily, The Standard


   The Beijing News


   Shenzhen Daily


   Shanghai Daily


   Guangzhou Daily


   Daily Jang


   Taiwan News


   Taipei Times


   China Times


   Mexico: El Universal


   La Jornada


   El Norte


   Milenio


   Vallarta Nautica


   Vallarta Lifestyles


   Gulf News


   Khaleej Times


   Business 24-7


   The Moscow Times


   Moskovskij Komsomolets


   Komsomolskaya Pravda


   zvestia


   Kommersant


   Ekspress-K


   Diapazon.kz


   Kazakhstanskaya Pravda


   Arab News


   Saudi Gazette


   Asharq Al-Awsat




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   Haaretz


   Jerusalem Post


   Yedioth Ahronoth


   An-Nahar


   L'Orient-Le Jour


   Al Akhbar


   Bangkok Post


   Thai Rath


   The Thaiger


   The News International (Pakistan)


   Dawn (Pakistan)



Press for the property has also been generated in other publications throughout the exposure period.




   12/29 — Dirt — Full article


   12/29 — Mansion Global — Full article


   12/29 — Real Estate Weekly — Full article


   12/29 — The Real Deal — Full article


   12/29 — Yahoo Life — Full article


   12/29 — Yahoo! News — Full article


   12/30 — ArcaMax — Full article


   12/30 — autoevolution — Full article


   12/30 — Barron's — Full article


   12/30 — Bradenton Herald — Full article


   12/30 — Fox43 — Full article


   12/30 — Lipstick Alley — Full article


   12/30 — Luxuo — Full article


   12/30 — Myrtle Beach — Full article


   12/30 — The News & Observer — Full article


   12/30 — 12/30 — The Olympian — Full article


   12/31 — GlamTouch — Full article


   12/31 — NewsBreak — Full article


   12/31 — Nine — Full article


   12/31 — PourElles — Full article


   12/31 — TopFash — Full article


   1/1 — Los Angeles Times — Full article


   1/3 — Architectural Digest — Full article


   1/3 — Los Angeles Magazine — Full article




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   1/3 — People Magazine — Full article


   1/3 — Yahoo Sport UK — Full article


   1/3 — Yahoo! Sport — Full article


   1/4 — Inman News — Full article


   1/4 — Nine — Full article


   1/4 — Robb Report — Full article


   1/4 — Robb Report Newsletter — Full article


   1/4 — The Hollywood Reporter — Full article


   1/5 — Boss Hunting — Full article


   1/5 — Celebrity Net Worth — Full article


   1/5 — Like RE — Full article


   1/5 — Living, Etc. — Full article


   1/5 — Realtor.com — Full article


   1/5 — Uncrate — Full article


   1/6 — ABC7 — Full article


   1/6 — Bloomberg Law — Full article


   1/6 — California News Times — Full article


   1/6 — CNN Style — Full article


   1/6 — Complex Magazine — Full article


   1/6 — Hypebeast — Full article


   1/6 — Inside Edition — Full article


   1/6 — New York Post — Full article


   1/7 — CNBC — Full article


   1/7 — Global News — Full article


   1/7 — NBC Boston — Full article


   1/7 — NBC Chicago — Full article


   1/7 — NBC DFW — Full article


   1/7 — NECN — Full article


   1/7 — PrimeResi — Full article


   1/7 — Stu   — Full article


   1/7 — The Daily Mail — Full article


   1/7 — The Modesto Bee — Full article


   1/7 — The Sacramento Bee — Full article


   1/8 — Apartment Therapy — Full article


   1/8 — Midland Daily News — Full article


   1/8 — My San Antonio — Full article


   1/8 — NBC Connecticut — Full article


   1/8 — NBC Washington — Full article




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   1/8 — News Break — Full article


   1/8 — Oakland News Now — Full article


   1/8 — SF Gate — Full article


   1/9 — Barron's Penta — Full article


   1/9 — Business Insider — Full article


   1/9 — MarketWatch — Full article


   1/10 — Curiocity — Full article


   1/10 — Headslines Mania — Full article


   1/10 — Los Angeles Daily News — Full article


   1/10 — MSN Money — Full article


   1/10 — The Orange County Register — Full article


   1/10 — The Sun — Full article


   1/10 — Tittle Press — Full article


   1/10 — Top Ten Real Estate Deals — Full article


   1/11 — E-Architect — Full article


   1/11 — EurWeb — Full article


   1/11 — Evening Standard — Full article


   1/11 — Manchester TV — Full article


   1/11 — oicanadian — Full article


   1/11 — The Hollywood Times — Full article


   1/11 — Wealth Magazine — Full article


   1/11 — Yes! Weekly — Full article


   1/12 — AZ Family — Full article


   1/12 — Christabelle's Closet — Full article


   1/12 — Daily Hive — Full article


   1/12 — From Press — Full article


   1/12 — Inman News — Full article


   1/12 — Mental Floss — Full article


   1/12 — One News Page — Full article


   1/12 — PR Web UK — Full article


   1/12 — Silive — Full article


   1/12 — Street Insider — Full article


   1/13 —House Beauitful — Full article


   1/14 —Abode2 — Full article


   1/14 — Home Stratosphere — Full article


   1/14 — Paper Dabba — Full article


   1/14 — Santa Monica Mirror — Full article


   1/14 — Tatler Asia — Full article




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   1/14 — The Real Deal — Full article


   1/14 — The Richest — Full article


   1/14 — Westside Today — Full article


   1/14 — WKRC-TV — Full article


   1/15 — Llodo — Full article


   1/16 — Cottages and Gardens — Full article


   1/16 — Wealth Creation Investing — Full article


   1/17 — Yo! Venice — Full article


   1/18 — Dupont Registry — Full article


   1/18 — Los Angeles Times — Full article


   1/19 — Fox 5 San Diego — Full article


   1/20 — The Late Show with Stephen Colbert — Full article


   1/20 — Travel + LeisureYahoo! — Full article


   1/20 — Yahoo! — Full article


   1/21 — 7News — Full article


   1/21 — 8News Now — Full article


   1/21 — ArklaTex — Full article


   1/21 — Everything Lubbock — Full article


   1/21 — Fox31 — Full article


   1/21 — Fox8 — Full article


   1/21 — Khon2 — Full article


   1/21 — KTLA-TV — Full article


   1/21 — KXNews — Full article


   1/21 — Phil17 — Full article


   1/21 — Thrillist — Full article


   1/21 — WFXF Fox — Full article


   1/21 — WHNT-TV — Full article


   1/21 — WJTV — Full article


   1/21 — WoodTV8 — Full article


   1/21 — WSAV — Full article


   1/21 — Your Basin — Full article


   1/22 — Los Angeles Times — Full article


   1/23 — KFOR-TV — Full article


   1/25 — The Real Deal — Full article


   1/27 — Forbes — Full article


   1/28 — Fox59 — Full article


   1/28 — L'O    ciel USA — Full article


   1/28 — Moneycontrol — Full article




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   1/29 — ReallyList — Full article


   1/30 — Headtopics — Full article


   2/3 — Veranda — Full article


   2/7 — Le Figaro — Full article


   2/8 — FN Talk — Full article


   2/8 — Fox Business — Full article


   2/13 — Superbowl Feature — Video clip


   2/17 — Patch — Full article


   2/18 — Daily Mail Newspaper (UK) — Full article


   2/18 — Daily Mail Online (US) — Full article


   2/20 — Nine — Full article


   2/20 — France TV — Full article


   2/25 — Bloomberg — Full article


   2/28 — Mansion Global — Full article


   2/28 — The LA Times — Full article


   2/28 — Daily Mirror — Full article


   2/28 — Patch — Full article


   2/28 — CBS-LA — Full article


   2/28 — Inman News — Full article


   3/1 — 10 Tampa Bay — Full article


   3/1— Yahoo News UK — Full article


   3/1— The Richest — Full article


   3/2 — Barron's — Full article



Post Auction Press:

   3/3 — EIN: Click hereto view release.


   3/3 — LA Times — Full article


   3/3 — Wall Street Journal — Full article


   3/3 — Bloomberg.com — Full article


   3/3 — MyNewsLA.com — Full article




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4. Listing Sites

Property Listing Sites



Property listings featuring revised messaging and photography are running on LuxuryRealEstate.com

andJuwai.com. The     rst, an award-winning web site that currently provides access to over 62,000 multimillion

dollar homes and luxury homes for sale from around the world. This site has remained the No. 1 portal for

luxury properties since its launch. The second, the largest and most authoritative source for global property in

Chinese, spanning 89 countries.



   Luxuryrealestate.com — Click hereto view listing.


   Juwai.com — Clickhereto view listing.



Real Estate Listing Sites



New copy and photography was provided for use on the local MLS and other national real estate listing sites

to create fresh and consistent marketing across all platforms. Sample listings below.



   Zillow.com — Clickhereto view listing.


   Realtor.com — Click hereto view listing.



Sotheby's



Your property is included with featured presence on Sothebys.com, the world’s largest, most trusted, and

dynamic marketplace for art and luxury goods, via a standalone auction tile within the real estate department.



   Sothebys.com — Clickhereto view listing.




5. March Global Sale Highlights

The March Global Sale is being marketed to global buyers—via advertising, marketing, public relations, and

sales exposure via our proven platform—including:



   Property featured on Portfolio Sale collection page, with additional sale tile promotion on Current Auctions

    page on ConciergeAuctions.com.


   Property lifestyle messaging translated into Spanish, Italian, French, German, and Chinese.


   Inclusion in portfolio sale press release and global wire distribution.


   Inclusion in "March Global Sale" Auction Alert emails, sent to 160,000+ subscribers.




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                                                                                  1765 Greensboro Station Place, Suite 1000
                                                                                                   McLean, Virginia 22102

                                                                                                 Telephone: 703-749-1000
                                                                                                  Facsimile: 703-893-8029
                                                                                                       www.watttieder.com



                                                                                                         Jennifer Kneeland
                                             March 7, 2022                                       jkneeland@watttieder.com



VIA EMAIL
David B. Golubchik (dbg@lnbyg.com)
Todd M. Arnold (tma@lnbyg.com)
Levene, Neale, Bender, Yoo & Golubchik, L.L.P.
2818 La Cienega Avenue
Los Angeles, California 90034

      Re:      In re Crestlloyd, LLC (Bankr. C.D.Cal. 21-18205) – Outcome of the Auction of 944
               Airole Way, Los Angeles, California 90077 aka “The One” (the “Property”)

Dear David and Todd:

As you know, I represent J & E Texture, Inc. (“J&E”) in the above-referenced chapter 11
bankruptcy case filed by Crestlloyd, LLC (the “Debtor”). J&E holds a priority, pre-petition
mechanic’s lien against the Property ahead of all other pre-petition secured lenders. 1 I am writing
regarding the outcome of the March 3, 2022 auction (the “Auction”) of the Property.

It is my understanding that the Auction concluded and derived a price that is significantly less than
the total secured debt against the Property. This price shortfall appears to present an obstacle under
section 363(f)(3) of the Bankruptcy Code for the Debtor, as it must now obtain consent from the
creditors secured by the Property in order to sell it free and clear of all liens. See 11 U.S.C. §
363(f)(3); see also In re PW, LLC, 391 B.R. 25 (9th Cir. 2008).

As such, I ask that you confirm that J&E’s mechanic’s lien will be treated as having priority ahead
all pre-petition secured creditors, subordinate only to the interests of the post-petition DIP-
financing lender. Also, please let me know if the Debtor intends to go forward with the sale process
via confirmation of the Auction, or if the Debtor will attempt to close the sale under other
possibilities provided for under the Bankruptcy Code.

                                          Very truly yours,

                                          Watt, Tieder, Hoffar & Fitzgerald, L.L.P.

                                          /s/ Jennifer Kneeland

                                          Jennifer Kneeland

cc:         Robert Shaia, Esq.
            Marguerite Lee DeVoll, Esq.

1
 See J&E’s proof of claim no. 13 filed on January 7, 2022. See also Cal. Civ. Code § 8450 (providing that a
mechanic’s lien priority relates back to the time of commencement of work).
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Todd M. Arnold

From:                                      Kyra Andrassy <kandrassy@swelawfirm.com>
Sent:                                      Monday, March 7, 2022 9:43 AM
To:                                        David B. Golubchik
Cc:                                        Todd M. Arnold
Subject:                                   RE: Crestlloyd
Attachments:                               Summary of transfers from Inferno to crestlloyd.PDF; 04- Inferno Realty - FRB April 2013
                                           ($3 217 000 included in $6 431 000) (003).PDF; Documentation for 2 & 3.PDF; 05-
                                           Crestlloyd LLC - FRB - SBC - April 2013 (002).PDF; 06- Crestlloyd LLC - FRB - BMM -
                                           April 2013 (002).PDF; 07- 944 Airole Estate - FRB - SBC - July 2013 (002).PDF; 08- 944
                                           Airole Estate - FRB - SBC - Oct 2013 (002).PDF; 09- 944 Airole Estate - FRB - SBC - Dec
                                           2013 (002).PDF; 10- Crestlloyd LLC (944 Airole Interest reserve acct) FRB - BMM - Dec
                                           2013 (002).PDF; 11- 944 Airole Estate -FRB - SBC - Jan 2014 (002).PDF; 12- Crestlloyd
                                           LLC (944 Airole Interest reserve acct) - FRB - BMM - Jan 2014 (002).PDF; 13 14 15 16 17
                                           18 19 20 21 Inferno Realty -FRB - Jan to April 2014 (002).PDF


Attached are the documents gathered so far to substantiate Inferno’s claim. The first attachment contains reference
numbers for the various transactions, and those correspond to the documents attached. There are a couple of
transactions that we don’t have documentation for (such as where the original $7 million put in by Maybach was sent),
but the records for Crestlloyd and 944 Airole Estate should demonstrate that the funds went towards the property.

From: David B. Golubchik <DBG@lnbyg.com>
Sent: Monday, March 7, 2022 9:16 AM
To: Kyra Andrassy <kandrassy@swelawfirm.com>
Cc: Todd M. Arnold <TMA@lnbyg.com>
Subject: RE: Crestlloyd

Kyra,

The representative of that buyer sent an email yesterday that they will not proceed with the sale. So, unfortunately,
that is not on the table. If the Debtor receives any real offers, it intends to supplement the sale motion and provide any
such offers to the Court and let the Court decide.

The Debtor’s hope was to have a consensual sale and then deal with the claims and, as a result, the Debtor did not file
actions to dispute claims. Please let me know by noon today if your client’s position changes. Otherwise, we will have
to proceed with a disputed claim process. Incidentally, although we have asked for proof of funding long ago, we still
have not received it. I again ask that the information be provided to us.

Thanks


DAVID B. GOLUBCHIK, Esq.
LEVENE, NEALE, BENDER, YOO & GOLUBCHIK L.L.P.
2818 La Cienega Ave | Los Angeles, CA 90034
Phone 310 229 1234 | Direct 310 229 3393 | Mobile 310 490 0330
dbg@lnbyg.com | www.lnbyg.com



The preceding E-mail message is subject to Levene, Neale, Bender, Yoo & Golubchik L.L.P.'s
email policies which can be found at http://www.lnbyg.com/disclaimers.htm.

                                                                            1
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 Please consider the environment before printing this email

From: Kyra Andrassy <kandrassy@swelawfirm.com>
Sent: Monday, March 7, 2022 9:12 AM
To: David B. Golubchik <DBG@lnbyg.com>
Subject: Crestlloyd

Is there any hope for getting the higher offer under contract before you have to file your sale motion tomorrow? I think
Inferno will support the $160mm offer but will not support the result of the auction.




                                                               2
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  1                                 PROOF OF SERVICE OF DOCUMENT
  2   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
      address is: 2818 La Cienega Avenue, Los Angeles, CA 90034
  3
      A true and correct copy of the foregoing document entitled DEBTOR’S MOTION FOR AN ORDER: (1)
  4   APPROVING THE SALE OF THE DEBTOR’S REAL PROPERTY FREE AND CLEAR OF ALL LIENS,
      CLAIMS, ENCUMBRANCES, AND INTERESTS, WITH THE EXCEPTION OF ENUMERATED
  5   EXCLUSIONS; (2) FINDING THAT THE BUYER IS A GOOD FAITH PURCHASER; (3) AUTHORIZING
      AND APPROVING THE PAYMENT OF CERTAIN CLAIMS FROM SALE PROCEEDS; (4) WAIVING
  6   THE FOURTEEN-DAY STAY PERIOD SET FORTH IN BANKRUPTCY RULE 6004(h); AND (5)
      PROVIDING RELATED RELIEF; MEMORANDUM OF POINTS AND AUTHORITIES AND
  7   DECLARATIONS IN SUPPORT THEREOF will be served or was served (a) on the judge in chambers in
      the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:
  8
      1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
  9   controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
      hyperlink to the document. On March 8, 2022, I checked the CM/ECF docket for this bankruptcy case or
 10   adversary proceeding and determined that the following persons are on the Electronic Mail Notice List to
      receive NEF transmission at the email addresses stated below:
 11
               Kyra E Andrassy kandrassy@swelawfirm.com,
 12             lgarrett@swelawfirm.com;gcruz@swelawfirm.com;jchung@swelawfirm.com
               Todd M Arnold tma@lnbyg.com
 13            Jerrold L Bregman jbregman@bg.law, ecf@bg.law
               Marguerite Lee DeVoll mdevoll@watttieder.com, zabrams@watttieder.com
 14            Danielle R Gabai dgabai@danninggill.com, dgabai@ecf.courtdrive.com
               Thomas M Geher tmg@jmbm.com,
 15             bt@jmbm.com;fc3@jmbm.com;tmg@ecf.inforuptcy.com
               David B Golubchik dbg@lnbyg.com, stephanie@lnbyb.com
 16            James Andrew Hinds jhinds@hindslawgroup.com;mduran@hindslawgroup.com,
                mduran@hindslawgroup.com
 17            Robert B Kaplan rbk@jmbm.com
               Jane G Kearl jkearl@watttieder.com
 18            Jennifer Larkin Kneeland jkneeland@watttieder.com, zabrams@watttieder.com
               Michael S Kogan mkogan@koganlawfirm.com
 19            Noreen A Madoyan Noreen.Madoyan@usdoj.gov
               Ryan D O'Dea rodea@shulmanbastian.com, lgauthier@shulmanbastian.com
 20            Sharon Oh-Kubisch sokubisch@swelawfirm.com,
                gcruz@swelawfirm.com;1garrett@swelawfirm.com;jchung@swelawfirm.com
 21            Ronald N Richards ron@ronaldrichards.com, 7206828420@filings.docketbird.com
               Victor A Sahn vsahn@sulmeyerlaw.com,
 22             pdillamar@sulmeyerlaw.com;pdillamar@ecf.inforuptcy.com;vsahn@ecf.inforuptcy.com;c
                blair@sulmeyerlaw.com;cblair@ecf.inforuptcy.com
 23            William Schumacher wschumac@milbank.com, autodocketecf@milbank.com
               David Seror dseror@bg.law, ecf@bg.law
 24            Zev Shechtman zshechtman@DanningGill.com,
                danninggill@gmail.com;zshechtman@ecf.inforuptcy.com
 25            Mark Shinderman mshinderman@milbank.com,
                dmuhrez@milbank.com;dlbatie@milbank.com
 26            Lindsey L Smith lls@lnbyb.com, lls@ecf.inforuptcy.com
               United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
 27            Jessica Wellington jwellington@bg.law, ecf@bg.law

 28

       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
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  1   2. SERVED BY UNITED STATES MAIL: On March 8, 2022, I served the following persons and/or
      entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true
  2   and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
      addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
      completed no later than 24 hours after the document is filed.
  3
                                                                              Service information continued on attached page
  4
  5   3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
      EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR,
  6   on March 8, 2022, I served the following persons and/or entities by personal delivery, overnight mail
      service, or (for those who consented in writing to such service method), by facsimile transmission and/or
  7   email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight
      mail to, the judge will be completed no later than 24 hours after the document is filed.
  8
                                                           SERVED BY EMAIL
  9
         Buyer Agent                                               Buyer Advisors & Attorneys
 10      Hilton & Hyland/Stuart Vetterick                          Michael G. Burke, mgburke@sidley.com
         257 North Cañon Drive, 2nd Floor                          Erica Meierhans, erica.meierhans@fashionnova.com
 11      Reception                                                 Melissa Morton, mmorton@grfllp.com
         Beverly Hills, CA 90210                                   Samuel A. Newman, sam.newman@sidley.com
 12      Email: stuart@hiltonhyland.com
                                                                              Service information continued on attached page
 13
      I declare under penalty of perjury under the laws of the United States of America that the foregoing is
 14   true and correct.

 15    March 8, 2022                  Lourdes Cruz                                       /s/ Lourdes Cruz
       Date                              Type Name                                       Signature
 16
 17
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       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
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In re Crestlloyd, LLC
Professionals Service List
File No.: 9562



The Beverly Hills Estates              Compass/Aaron Kirman             Concierge
GREG LAPLANT                           Attn: Aaron Kirman               Chad Roffers, Chairman
Managing Director                      9378 Wilshire Blvd #200          228 Park Avenue S
8878 West Sunset Blvd. West            Beverly Hills, CA 90212          PMB 70835
Hollywood, CA 90069                                                     New York, NY 10003-1502

Concierge Counsel
Anthony (Nino) Capobianco
Capobianco Law Offices, P.C.
41990 Cook Street, Bldg. F, Suite
2006
Palm Desert, CA 92211
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In re Crestlloyd, LLC                      Debtor                                     Noreen A Madoyan
RSN, Secured Creditors                     Crestlloyd, LLC                            Office of the United States Trustee
File No. 9562                              c/o SierraConstellation Partners LLC       915 Wilshire Blvd., Suite 1850
                                           355 S. Grand Avenue Suite 1450             Los Angeles, CA 90017
                                           Los Angeles, CA 90071

Counsel For Receiver                       County of Los Angeles                      County of Los Angeles
Brutzkus Gubner Rozansky Seror             (MRCA-Brush Fire Clear’g Dist #1)          (Wildlife Corridor and Open Space
Weber LLP                                  200 North Main Street, 16th Fl             Protection)
David Seror/Jessica Wellington             Los Angeles, CA 90012                      c/o SCI Consulting Group
21650 Oxnard Street, Suite 500                                                        4745 Mangels Blvd.
Woodland Hills, CA 91367                                                              Fairfield, CA 94534
Los Angeles County Tax Collector          Counsel to Hankey Capital                   Inferno Investment Inc.
PO Box 54110                              Jeffer Mangels Butler & Mitchell LLP        Attn: Julien Remillard, President
Los Angeles, CA 90054                     Neil C. Erickson                            4-95 Kandahar, Mont Tremblant
                                          1900 Avenue of the Stars, 7th Floor         Quebec J8E 1E2, Canada
                                          Los Angeles, CA 90067

County of Los Angeles                      Rolls Scaffold, Inc.                       American Truck & Tool Rentals
(Local Fire Prevention, Water Quality      Michael Rolls, CEO                         Inc./American Rentals
and Open Space Measure )                   11351 County Dr. Ste B                     c/o Caprenos Inc., Cindee Wood,
c/o SCI Consulting Group                   Ventura, CA 93004                          Authorized Agent
4745 Mangels Blvd.                                                                    4345 Murphy Canyon Road #200
Fairfield, CA 94534                                                                   San Diego, CA 92123
YOGI Securities Holdings, LLC              Calgrove Rentals Inc.                      Hilldun Corporation
Steve Oshins, Authorized Agent             Guadalupe Gomez, President                 Jeffrey D. Kapelman, CEO
1645 Village Center Circle, Ste. 170       456 Glenoaks Blvd.                         225 West 35th St.
Las Vegas, NV 89131                        San Fernando, CA 91340                     New York, NY 10001


J&E Texture, Inc.                          City of Los Angeles                        BMC West LLC
Francisco Gonzalez, CEO                    Mike Feuer, City Attorney                  David Filtman, CEO
181 Exter Way                              City Hall East, Suite 800                  4800 Falls of Neuse Rd., Ste. 400
Corona, CA 92882                           Los Angeles, CA 90012                      Raleigh, NC 27609


JMS Air Conditioning and Appliance         Kennco Plumbing, Inc.                      Parquet By Dian
Services, Inc.                             Robert L. Kennedy, Jr., CEO                Dima Efros, CEO
Yosi Hesica, CEO                           21366 Placerita Canyon Rd.                 16601 S. Main St.
7640 Burnet Ave.                           Newhall, CA 91321                          Gardena, CA 90248
Van Nuys, CA 91405

Powertek Electric, Inc.                    County of Los Angeles (Wildlife Corridor   County of Los Angeles
Mike Moshrefi, CEO                         and Open Space Protection)/Clerk of the    (Local Fire Prevention, Water Quality
28364 S, Western Ave. #414                 Governing Board, Mountains Recreation      and Open Space Measure )
Rancho Palos Verdes, CA 90275              & Conservation Authority                   Conejo Recreation and Park District
                                           5750 Ramirez Canyon Road                   403 W Hillcrest Drive
                                           Malibu, CA 90265                           Thousand Oaks, CA 91360
YOGI Securities Holdings, LLC              American Truck & Tool Rentals              Buchalter, APC
c/o Daniel Wiesel, Esq.                    Inc./American Rental                       Jeffrey S. Wruble
Wolf, Rifkin, Shapiro, Schulman &          Tom Murray, CEO and President              1000 Wilshire Blvd., Suite 1500
Rabkin, LLP                                88 W. Victoria St.                         Los Angeles, CA 90017
11400 W. Olympic Blvd., 9th Fl.            Long Beach, CA 90805
Los Angeles, CA 90064-1582
Calgrove Rentals Inc.                      BMC West LLC                               Kennco Plumbing, Inc.
21627 Roscoe Bl.                           3250 N. San Fernando Rd.                   Robert L. Kennedy, Jr., CEO
Canoga Park, CA 91304                      Los Angeles, CA 90065                      26575 Ruether Ave.
                                                                                      Santa Clarita, CA 91350
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Los Angeles County Tax Collector      Los Angeles County Tax Collector   SHULMAN BASTIAN FRIEDMAN &
PO Box 54018                          225 N. Hill Street # 1             BUI LLP
Los Angeles, CA 90054                 Los Angeles, CA 90012              Ryan D. O'Dea
                                                                         100 Spectrum Center Drive, Ste. 600
                                                                         Irvine, CA 92618

MIKE FIELDS BRONZES LLC
2715 E. 36TH, APT 6203
SPOKANE, WA 99223
